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                        EXHIBIT
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                                               WA1300001



 1                        IN THE CIRCUIT COURT OF THE STATE OF OREGON
 2                                FOR THE COUNTY OF KLAMATH
 3       In the Matter of the Determination of the Relative Rights of the Waters of the Klamath River,
                                       A Tributary of the Pacific Ocean
 4

 5

 6    In re: WATERS OF THE KLAMATH                      Case No. WA1300001
      RIVER BASIN
 7                                                      EMERGENCY MOTION FOR
           Klamath Irrigation District,                 PRELIMINARY INJUNCTION
 8              Movant,

 9         v.

10         United States Bureau of Reclamation,
                 Respondent.
11

12
                                                 MOTION
13
                Pursuant to ORCP 79A(1)(a)(b), Klamath Irrigation District (“KID”) respectfully
14
      moves the court for an emergency preliminary injunction enjoining the United States
15
      Bureau of Reclamation (“Reclamation”) from knowingly and willfully using stored water
16
      contrary to the water rights determined in the Amended and Corrected Findings of Fact
17
      and Order of Determination (“ACFFOD”) unless or until this Court stays the ACFFOD
18
      pursuant to ORS 539.180. This motion is supported by the entire trial court file, the
19
      declarations of Nathan Rietmann, Gene Souza, Grant Knoll, Shane Cheyne, Justin Grant,
20
      Ken Schell, Andy King, Paul Crawford, and Rodney Cheyne submitted herewith, and the
21
      points and authorities provided below.
22
                                     POINTS AND AUTHORITIES
23
      A.        INTRODUCTION
24
                Klamath Irrigation District (“KID”) is bringing this emergency motion for
25
      preliminary injunction to enjoin the United States Bureau of Reclamation from brazenly
26
      usurping this Court’s authority and causing KID irreparable harm.
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 1             Right now, this court is reviewing the water rights determinations in the Amended
 2    and Corrected Findings of Fact and Order of Determination (“ACFFOD”) entered in the
 3    Klamath Adjudication. While this review is pending, water must be distributed in
 4    accordance with the ACFFOD pursuant to ORS 539.170 unless this Court grants a stay
 5    pursuant to ORS 539.180. Under ORS 539.180, a stay may only be issued if the
 6    requesting party posts a bond and agrees “to pay all damages that may accrue by reason
 7    of the [ACFFOD] not being enforced.”
 8             This court has not stayed the ACFFOD pursuant to ORS 539.180. However, the
 9    United States Bureau of Reclamation (“Reclamation”) is acting as though it is above the
10    law and planning to unlawfully divert 150,000 to 275,000 acre-feet of stored water from
11    Upper Klamath Lake contrary to the ACFFOD without so much as requesting, let alone
12    obtaining, a stay from this court pursuant to ORS 539.180.
13             This flagrant violation of the ACFFOD and usurpation of this Court’s authority
14    directly injures Klamath Irrigation District (“KID”) and its constituent members, which
15    own water rights to the stored water Reclamation is planning to unlawfully divert from
16    UKL contrary to the ACFFOD.
17             Many of these injuries will be irreparable. By distributing water contrary to the
18    ACFFOD without requesting and obtaining a stay pursuant to ORS 539.180, Reclamation
19    is depriving KID and its constituent landowners of their legal right to notice, opportunity
20    for hearing, and an impartial judicial determination from this Court on whether a stay of
21    the ACFFOD should be granted. Reclamation is also depriving KID and its constituents
22    of their right to have any stay conditioned upon Reclamation posting a bond and agreeing
23    “to pay all damages that may accrue by reason of the [ACFFOD] not being enforced.”
24             What is more, many Klamath farmers are already on the brink of insolvency due
25    to water shortages Reclamation has unlawfully caused in prior years. If Reclamation is
26    not restrained, and there is another season in which stored water is unlawfully diverted
      and flushed down the river contrary to the ACFFOD, it will likely cause a number of
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 1    farmers to go under. Legal damages from a takings case—which, if the most recent
 2    Klamath takings case is any indication, would take almost 20 years to conclude—would
 3    provide no relief to farmers who are forced to close their business or sell their land this
 4    year or next.
 5             The balance of the equities tips clearly in favor of granting an injunction. The law
 6    plainly requires stored water in UKL to be distributed in accordance with the ACFFOD
 7    unless this court grants a stay pursuant to ORS 539.180. Reclamation knows it must
 8    follow the ACFFOD unless a stay is obtained, and a bond is posted. Federal law says so;
 9    state law says so; the Solicitor’s Office of Interior says so; Reclamation’s prior
10    submissions to this court say so; and this Court has said so. Yet Reclamation still acts as
11    though abiding by the ACFFOD is merely optional for it.
12             Moreover, none of the interests Reclamation has in diverting stored water contrary
13    to the ACFFOD provide a reason for denying relief. Reclamation says it is flushing
14    stored water in UKL down the Klamath River contrary to the ACFFOD to fulfill its
15    obligations under the ESA. But the ESA does not give Reclamation any new authority to
16    violate the ACFFOD. Instead, it merely tells Reclamation to use whatever discretion it
17    already possesses to support endangered species.
18             Similarly, Reclamation sometimes says it is using stored water in UKL to fulfill
19    trust obligations it has to the Hoopa Valley and Yurok Tribes, both of which are located
20    in California. But Reclamation’s trust obligations to the tribes in California afford no
21    water rights to use stored water in UKL, as neither Tribe (nor Reclamation on their
22    behalf) has ever claimed a water right in UKL in the Klamath Adjudication.
23             The public interest requires Reclamation to follow the law. If Reclamation needs
24    water to meet its various environmental and trust obligations it can acquire that water
25    lawfully, not by usurping the power of this Court and unlawfully distributing stored water
26    to which KID owns the water rights under the ACFFOD. This is particularly true, where,
      as here, Reclamation’s unauthorized diversion of stored water to which KID owns the
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 1    water rights actually constitutes a crime under Oregon law. ORS 540.720 (“No person
 2    shall use without authorization water to which another person is entitled, or willfully
 3    waste water to the detriment of another.”); ORS 540.990(1) (“Violation of…ORS
 4    540.720…is a Class B misdemeanor”).
 5             For all of these reasons, KID requests that this Court grant injunctive relief
 6    enjoining Reclamation from distributing stored water in UKL except in accordance with
 7    the water rights determined in the ACFFOD, unless it first obtains a stay and posts a bond
 8    sufficient to cover “all damages” the stay might cause.
 9    B.       LEGAL STANDARD FOR PRELIMINARY INJUNCTIONS
10             ORCP 79 states that a preliminary injunction may be ordered “[w]hen it appears
11    that a party is entitled to relief demanded in a pleading,” and that relief “consists of
12    restraining the commission or continuance of some act, the commission or continuance of
13    which during the litigation would produce injury to the party seeking the relief.” ORCP
14    79(A)(1)(a). A preliminary injunction may also be ordered “[when it appears that the
15    party against whom a judgment is sought is doing or threatens, or is about to do, or is
16    procuring or suffering to be done, some act in violation of the rights of a party seeking
17    judgment concerning the subject matter of the action, and tending to render the judgment
18    ineffectual.” ORCP 71A(1)(b). A preliminary injunction requires five days’ notice to the
19    party against whom an injunction is sought. ORCP 79(C)(1).
20             “When determining whether to issue a preliminary injunction, courts consider,
21    among other things, the likelihood that the party requesting the injunction will ultimately
22    prevail on the merits of its claim and whether, if the injunction is not issued, the party
23    will be irreparably harmed during the litigation of the claim. Courts also balance the
24    harm to the movant against harm to the opposing party and the public if the injunction is
25    issued.” Elkhorn Baptist Church v. Brown, 366 Or. 506, 518–19 (2020). Put another
26    way, “[t]he office of a preliminary injunction is to preserve the status quo so that, upon
      the final hearing, full relief may be granted.” Oregon Educ. Ass’n v. Oregon Taxpayers
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 1    United PAC, 227 Or. App. 37, 45 (2009) (quoting State ex rel. v. Mart, 135 Or. 603, 613
 2    (1931)).
 3    C.       ARGUMENT
 4             1.         Water in UKL Reservoir Must be Distributed in Accordance with the
                          ACFFOD Issued by OWRD, Unless a Stay is Granted and a Bond is
 5                        Posted
 6             This Court is well aware of the historical background of the Klamath
 7    Adjudication. In 1975, the State of Oregon commenced a general stream adjudication of
 8    the waters of the Klamath Basin pursuant to ORS in Chapter 539. (Declaration of Nathan
 9    Rietmann (“Rietmann Dec.”), at ¶ 2.) The purpose of a general stream adjudication is to
10    quantify and determine all state and federal reserved water rights vested prior to the
11    adoption of Oregon’s 1909 water code. ORS 539.010.
12             Oregon law specifically grants OWRD authority to adjudicate federal reserved
13    water rights, in addition to water rights arising under state law. ORS 539.010(7) (“[T]he
14    Water Resources Department may adjudicate federal reserved rights.”). The State of
15    Oregon’s power to adjudicate federal reserved water rights in the Klamath Adjudication
16    has also been specifically confirmed by the Ninth Circuit Court of Appeals. United
17    States v. Oregon, 44 F.3d 758, 770 (9th Cir. 1994) (“We hold that the Klamath Basin
18    adjudication is in fact the sort of adjudication Congress meant to require the United States
19    to participate in when it passed the McCarran Amendment.”); see also White Mountain
20    Apache Tribe v. Hodel, 784 F2d 921, 924 (9th Cir. 1986) (“The state court does have the
21    authority to adjudicate tribal water rights. The Congress has said so . . . the United States
22    Supreme Court has said so . . . the Arizona Supreme Court has said so . . . and we have
23    said so. It is time that the Tribe accept the proposition as true.”). This ability to
24    adjudicate federal water rights is consistent with the U.S. Supreme Court’s recognition
25    that the purpose of Oregon’s general stream adjudication process is to obtain “a complete
26    ascertainment of all existing rights.” Pac. Live Stock Co. v. Lewis, 241 U.S. 440, 447–48
      (1916) (emphasis added). It is also consistent with the U.S. Supreme Court’s recognition
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 1    that in Oregon’s water adjudication process, “[a]ll claimants are required to appear and
 2    prove their claims; no one can refuse without forfeiting his claim, and all have the same
 3    relation to the proceeding.” Id. (emphasis added); see also ORS 539.210 (“Any claimant
 4    who fails to appear in the proceedings and submit proof of the claims of the claimant
 5    shall be barred and estopped from subsequently asserting any rights theretofore acquired
 6    upon the stream or other body of water embraced in the proceedings, and shall be held to
 7    have forfeited all rights to the use of the water theretofore claimed by the claimant.”).
 8             On March 6, 2013, thirty-eight (38) years after the State of Oregon initiated the
 9    Klamath Adjudication, the OWRD filed its Findings of Fact and Final Order of
10    Determination in Klamath County Circuit Court. (Rietmann Dec. at ¶ 3.) Subsequently,
11    on February 28, 2014, the State of Oregon entered an Amended and Corrected Findings
12    of Fact and Final Order of Determination (“ACFFOD”) with the Klamath County Circuit
13    Court.1 (Id. at ¶ 4.) Once the ACFFOD was entered, the state and federal water rights
14    comprehensively determined therein became fully enforceable, pursuant to ORS
15    537.130(4).
16             While the judicial phase of the Klamath Adjudication is pending, water in UKL
17    must be distributed in accordance with the ACFFOD. See ORS 539.170 (“While the
18    hearing of the order of the Water Resources Director is pending in the circuit court, and
19    until a certified copy of the judgment, order or decree of the court is transmitted to the
20    director, the division of water from the stream involved in the appeal shall be made in
21    accordance with the order of the director.”) (emphasis added). This requirement that
22    water be distributed in accordance with OWRD’s order pending completion of judicial
23    review has been specifically affirmed by the U.S. Supreme Court. Pac. Live Stock Co.,
24    241 U.S. at 447–48 (“[I]t is within the power of the [State of Oregon] to require that,
25
      1
       https://www.oregon.gov/OWRD/programs/WaterRights/Adjudications/KlamathRiverBa
26
      sinAdj/Pages/default.aspx

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 1    pending the final adjudication, the water shall be distributed according to the board’s
 2    order [i.e. Final Order of Determination], unless a suitable bond be given to stay its
 3    operation.”).
 4             Any party to the Klamath Adjudication that wishes may seek a stay from this
 5    Court, contingent upon judicial approval and the posting of “a bond or an irrevocable
 6    letter of credit issued by an insured institution as defined in ORS 706.008, . . . in such
 7    amount as the judge may prescribe, conditioned that the party will pay all damages that
 8    may accrue by reason of the determination not being enforced.” ORS 539.180. This
 9    Court has indeed heard and considered several requests for stays from several parties to
10    the Klamath Adjudication. (See Rietmann Dec., Exs. B–C.) Indeed, as this Court has
11    already noted, the bond must be large enough to pay all damages that may accrue from
12    the determination not being enforced, and the size of the bond does not limit the amount
13    of damages for which the movant may be liable. (Id. at Ex. C.) To date, Respondent
14    Reclamation has not moved to stay the ACFFOD’s determination of either its or KID’s
15    rights, and has not posted any bond to cover the damages that would be caused by such a
16    stay.
17             None of this is news to Reclamation. Reclamation is well aware of the fact that it
18    has no right to release this stored water. In fact, recent guidance issued by Reclamation
19    itself noted that, in light of the ACFFOD, Reclamation lacks the authority to divert stored
20    water for its own in-stream purposes:
21                        Using stored water that is otherwise subject to the beneficial
                          use by Klamath Project beneficiaries to augment or otherwise
22                        produce instream flows in the Klamath River, either in
                          Oregon or California, is not authorized under the ACFFOD.
23                        Reclamation therefore cannot release water previously stored
                          in priority and otherwise required for beneficial use by
24                        Klamath Project beneficiaries from Upper Klamath Lake for
                          the specific purposes of producing instream flows in the
25                        Klamath River either in Oregon or California.
26    (Rietmann Dec., Ex. F at 23 [emphasis added].) Reclamation itself has conceded that
      what it is doing is not lawful.
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 1             Reclamation is also fully aware of the enforceability of the ACFFOD and the
 2    requirements for a stay and a bond. In fact, Reclamation has specifically opposed prior
 3    attempts by water rights holders seeking a stay. (Id. at Ex. M.) In doing so, Reclamation
 4    noted that the rights found in the ACFFOD “are ‘in full force and effect’ at this time.”
 5    (Id. at 3.) Reclamation has argued that the bond amount cannot be nominal or “miserly,”
 6    noting that “[t]he intent of the statute [ORS 539.180] is clear from its plain language and
 7    context: a stay bond needs to be set in an amount to ensure the payment of the damages
 8    resulting from the stay.” (Id. at 9.) Further, Reclamation has noted in briefs to this Court
 9    that, because the ACFFOD is in full force and effect, “[t]he status quo is that the Project
10    water rights [found in the ACFFOD] are now enforceable. Oregon’s adjudication statutes
11    could not be more clear on this point.” (Id. at 45.)
12             Because Oregon statute and prior orders of this Court expressly state—and
13    Reclamation concedes—that the ACFFOD is fully enforceable unless and until a stay is
14    issued and a bond is posted, KID clearly has the legal right to an injunction preventing
15    Reclamation from violating the ACFFOD. This is particularly true where, as discussed
16    below, Reclamation has recently violated the ACFFOD during last year’s irrigation
17    season and has again made clear that it will do so this year as well.
18             2.         Reclamation is Not Abiding by the Water Rights Determined in the
                          ACFFOD, and Intends to Continue Violating Those Rights
19
                          a.   Reclamation has No Right Under the ACFFOD to Use Stored Water
20                             for Its Own Instream Purposes
21             In 2019 and 2020, Reclamation violated the terms of the ACFFOD by releasing
22    so-called “flushing flows”—i.e., water discharged for non-consumptive, instream uses
23    meant to benefit coho salmon in California—of stored water in UKL. (Souza Dec. at
24    ¶ 7.) These flushing flows were necessarily made from stored water in UKL, as the
25    discharge through the Link River Dam vastly exceeded the inflow into UKL at the time.
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 1    (Id. at ¶ 7.) These releases violated the ACFFOD, and were made without seeking a stay
 2    or posting the necessary bond.2
 3             The ACFFOD determined that “[t]he United States is the owner of a right to store
 4    water in Upper Klamath Lake to benefit the separate irrigation rights for the Klamath
 5    Reclamation Project.” This storage right authorizes Reclamation to store up to 486,828
 6    acre-feet per year in UKL reservoir between the elevations of 4,143’ and 4,136’ “for
 7    agricultural irrigation, stockwater and domestic uses.”     (Rietmann Dec. at Ex. A at
 8    KBA_ACFFFOD_07060.) The storage right does not give Reclamation the right to use
 9    the water that it stores for purposes of enhancing instream flows in the Klamath River.
10    Cookinham v. Lewis, 58 Or. 484, 492 (1911) (holding that a primary storage right “does
11    not include the right to divert and use stored water, which must be the subject of the
12    secondary permit”); see also Rietmann Dec., Ex. A at KBA_ACFFOD_07083–84
13    (explaining the principle that “the right to store water is distinct from the right to use
14    stored water”).
15             Accordingly, while the right store water in UKL reservoir is owned by
16    Reclamation, the secondary right to beneficially use the stored water is owned by KID
17    and other water right holders within the Klamath Project. (Rietmann Dec. at Ex. A at
18    KBA_ACFFOD_07083–84.) The ACFFOD provides that “[b]eneficial users within the
19    Klamath Project hold a 1905 water right to beneficially use the water that the United
20    States stores in Upper Klamath Lake reservoir for “irrigation, domestic and incidental
21    stock watering uses.”     (Rietmann Dec., Ex. A, at KBA_ACFFOD_007058, 007061,
22    007075–82.) The ACFFOD also recognizes that KID, and other irrigation districts within
23    the Klamath Project, “represent the beneficial users’ interests with respect to the
24    2
        Reclamation also has not acquired these rights through any other lawful means, such as
25    purchasing, leasing, or being granted limited licenses to use these rights. Although the
      water rights recognized for KID and the farmers it serves are for irrigation use, any water
26    rights that KID and its farmers hold which are not needed for irrigation may be leased
      instream pursuant to Sections 1 and 2, Chapter 445, Oregon Laws 2015 (codified as a
      note in the Oregon Revised Statutes immediately following ORS 539.170).
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 1    beneficial use component of the water rights recognized in [the ACFFOD].” (Id. at
 2    KBA_ACFFOD_007045, 007082.)
 3             KID’s secondary water rights to stored water in UKL reservoir cannot be “called”
 4    or curtailed by any water rights—even senior water rights—in the Klamath River. “Once
 5    water from a natural source has been legally stored, use of the stored water is subject only
 6    to the terms of the secondary permit that grants the right to use of stored water.” Op.
 7    Att’y Gen. OP-6308 (1989); see also ORS 540.210(3) (“The distribution and division of
 8    water shall be made according to the relative and respective rights of the various users
 9    from the ditch or Reservoir.”) (emphasis added); OAR 690-250-0150(4) (“Use of legally
10    stored water is governed by the water rights, if any, which call on that source of water.”);
11    Tudor v. Jaca, 178 Or. 126, 147–148 (1945) (impounded water may only be used to
12    satisfy the secondary right). Because of this, “legally stored water is not subject to call by
13    senior rights to natural flow, even if the stored water originated in that stream.” Op.
14    Att’y Gen. OP-6308 (1989) (emphasis added).
15             Although the ACFFOD does not grant Reclamation the right to use stored water in
16    UKL reservoir, and KID’s secondary water rights in UKL reservoir cannot be curtailed
17    based on any senior water right in the Klamath River, Reclamation is nevertheless
18    distributing vast quantities of stored water out of UKL reservoir through the Link River
19    Dam to provide enhanced instream flows in the Klamath River in California. In 2020,
20    starting on April 17, 2020, Reclamation released 32,889 acre-feet of stored water from
21    UKL reservoir for this purpose. (Souza Dec. at ¶ 7.) Reclamation then continued to
22    release an additional 90,414 acre-feet of stored water throughout the irrigation season for
23    its own instream purposes, totaling 123,303 acre-feet, without a call for that water from a
24    water rights holder. (Id. at ¶ 8.) This water would have been sufficient to irrigate another
25    45,668 acres of farmland. (Id.)
26             Reclamation is planning the same type of impermissible stored water releases for
      2021. Documents distributed by Reclamation in February 2021 show that, regardless of
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 1    the actual level of inflows into UKL, a large release is planned for mid-April. (Souza
 2    Dec., Ex. C at 16.) This type of a release, which vastly exceeds the amount of inflow into
 3    UKL at that time, is not natural or live flow. (Souza Dec. at ¶ 14.) Instead, it is—
 4    obviously and necessarily—the release of previously stored water. Moreover, this large
 5    spike in releases is not in response to an expected sudden and temporary call for water
 6    from a water rights holder, but rather for Reclamation’s own in-stream purposes to
 7    provide additional water for juvenile salmon.         (Souza Dec. at ¶ 15.)     Similarly,
 8    Reclamation has indicated that it intends to continue discharging stored water throughout
 9    the irrigation season for its own in-stream purposes, without a call from any holder of a
10    right to use stored water. (Souza Dec. at ¶ 16.) It is clear Reclamation intends to violate
11    the ACFFOD during the 2021 irrigation season as well.
12                        b.   No Stay has been Sought and No Bond has been Posted
13             As set out above, Reclamation is well aware the ACFFOD is in effect and controls
14    the distribution of water in UKL, unless and until a stay is issued and whatever bond this
15    Court orders is posted. Reclamation participated in prior requests for a stay by filing
16    briefs and submitting arguments to this Court (see Rietmann Dec., Ex. M), and was
17    served with this Court’s opinions and orders noting the necessity of a stay and a bond.
18    (Id., Exs. B and C.)
19             Nevertheless, Reclamation has decided to grant itself a stay of the ACFFOD, and
20    continue acting as though it has no effect. Reclamation has not sought nor received an
21    order granting a stay of any part of the ACFFOD, nor has it posted a bond that would
22    cover “all damages” arising from such a stay. Because no stay has been issued and no
23    bond has been posted, as expressly required by both statutory law and orders of this
24    court, KID’s case is meritorious and an injunction against further deprivations should
25    issue.
26    ///

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                          c.   A preliminary injunction is necessary to maintain the status quo, and
 1                             entitlement to an injunction is clearly set forth in Oregon statutes
 2             As Reclamation has previously realized, Oregon statutes create a unique situation
 3    insofar as they specifically require water to be distributed in accordance with the
 4    ACFFOD during the pendency of the proceeding—absent a stay and corresponding
 5    bond—irrespective of the ultimate outcome of the litigation. To quote Reclamation’s
 6    prior briefs, ““[t]he status quo is that the Project water rights [found in the ACFFOD] are
 7    now enforceable. Oregon’s adjudication statutes could not be more clear on this point.”
 8    (Rietmann Dec., Ex. M, at 45.) In that sense, therefore, the likelihood of prevailing on
 9    the underlying claims is wholly immaterial to whether KID is entitled to injunctive relief
10    now. While review of the ACFFOD is pending, KID is entitled to have water distributed
11    in accordance with the water rights determined in the ACFFOD unless this court grants a
12    stay pursuant to ORS 539.180, irrespective of whether the ultimate decree modifies or
13    changes the ACFFOD.
14             This makes perfect sense in light of such a complex water adjudication. OWRD
15    took almost four decades to reach the decision in the ACFFOD. This litigation has
16    already been pending for approximately seven years. Even a conservative estimate of the
17    litigation suggests it will take another eight or ten years to complete. Therefore, how
18    water is distributed in the interim—a period which may itself span two decades—is of
19    great importance to the water rights holders. The ultimate judgment or decree in this case
20    will never govern how water was to be distributed here, today, in 2021. Thus, the
21    relevant question is whether KID is likely to prevail on its claim in this motion that
22    Reclamation may not knowingly distribute stored water contrary to the water rights
23    determinations in the ACFFOD unless Reclamation obtains a stay from this court
24    pursuant to ORS 539.180. The law on this “could not be more clear on this point,” as
25    Reclamation has pointed out. (Rietmann Dec., Ex. M at 45.)
26    ///

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 1             Specifically, ORS 539.130(4) states:
 2                        The determination of the department [i.e. ACFFOD] shall be in full force
                          and effect from the date of its entry in the records of the department, unless
 3                        and until its operation shall be stayed by a stay bond as provided by ORS
                          539.180
 4
 5             ORS 539.170 states:
 6                        While the hearing of the order of the Water Resources Director is pending
                          in the circuit court, and until a certified copy of the judgment, order or
 7                        decree of the court is transmitted to the director, the division of water from
                          the stream involved in the appeal shall be made in accordance with the
 8                        order of the director [i.e. ACFFOD].”
 9             ORS 539.180 states in relevant part:
10                        At any time after the determination of the Water Resources Director has
                          been entered of record, the operation thereof may be stayed in whole or in
11                        part by any party by filing a bond or an irrevocable letter of credit issued by
                          an insured institution as defined in ORS 706.008 in the circuit court
12                        wherein the determination is pending, in such amount as the judge may
                          prescribe, conditioned that the party will pay all damages that may accrue
13                        by reason of the determination not being enforced.
14             It is beyond dispute that KID has an existing statutory right to have the ACFFOD
15    enforced as it is now during the pendency of the judicial phase of the Klamath
16    Adjudication. Reclamation has conceded as much.
17                        d.     Regardless of how the Court determines the exceptions Reclamation
                                 has filed, Reclamation’s current use would still not be allowed
18
19             What is more, this particular dispute will ultimately be found in KID’s favor,
20    regardless of how this Court rules on the exceptions before it. Even after this case is fully
21    resolved, Reclamation would still not be permitted to do what it is presently doing under
22    Oregon law. Reclamation has not asserted any claim that it has a right to use the water it
23    stores in UKL for instream purposes in the Klamath River. While Reclamation has
24    claimed that the Project’s use rights should be held in its name, and not directly by the
25    irrigators, it has not filed any exception to KID’s water rights asserting stored water in
26    UKL may be used for instream purposes, rather than irrigation.                        Given that

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 1    Reclamation has never claimed the right to use stored water in UKL for instream
 2    purposes during the 46-years the adjudication has been pending, KID will prevail on its
 3    claim, to the extent that it asserts that the right to use stored water is specifically the right
 4    to use stored water for irrigation. There simply is no dispute in this proceeding in regard
 5    to whether Reclamation stores water in UKL for irrigation use within the Klamath Project
 6    or for purposes of providing instream flows in the Klamath River. It is the former, and
 7    Reclamation has never suggested differently.
 8             3.         KID and Its Members Suffer Significant, and Irreparable, Injury as a
                          Result of Reclamation’s Refusal to Abide by the Terms of the
 9                        ACFFOD
10             Both KID and its members suffer serious, extensive, and often irreparable injury to
11    their rights when Reclamation simply ignores the ACFFOD and releases stored water
12    without a corresponding water right, thereby flouting the law and this Court’s jurisdiction
13    to decided whether the ACFFOD shall be enforced or stayed while its review is pending.
14    The unauthorized release of stored water obviously detrimentally impacts KID and all of
15    its members, as less water is therefore available to be used in irrigation.
16             The most serious effects are felt by KID’s members. Numerous irrigators within
17    KID will not survive another year of severe water restrictions. (Crawford Dec. at ¶ 22;
18    King Dec. at ¶ 11 [“If Reclamation again flushes the stored water down the river this
19    year, and I receive no, or only a very small amount of water, I will almost certainly have
20    to file for bankruptcy.”]; Knoll Dec. at ¶ 12 [“If the Bureau flushes our water down the
21    river this year, and I am unable to irrigate this year, I will likely have to consider filing
22    for bankruptcy, or selling parts of the farm and equipment to make it through the year.”];
23    Grant Dec. at ¶ 18 [“If there is no or very little water this year, my business will not be
24    able to survive this year.”].) Indeed, some have already begun liquidating significant
25    portions of their business to stay afloat. (Schell Dec. at ¶¶ 7–11 [noting he is liquidating
26    his cow herd because of the difficulties finding feed for them when pasture fields cannot
      be irrigated].) Even those who may be able to survive this year will be on the brink of
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 1    bankruptcy. (See S. Cheyne Dec. at ¶¶ 17–18 [noting that if Reclamation creates another
 2    water shortage this year, it will “fully deplete my available cash reserves for the farm,”
 3    and if there is another water shortage next year, “I would certainly need to file for
 4    bankruptcy”]; Knoll Dec. at ¶ 12 [“If I am able to get some water, I might be able to
 5    squeak by through this year, but I certainly could not make it through two more years like
 6    that.”]; Grant Dec. at ¶ 18; Schell Dec. at ¶ 16 [noting he may be able to make it through
 7    a few more years, but only because he is “liquidating half of my business . . . If
 8    Reclamation actually prevents us from irrigating t all, it won’t even be that long”].)
 9             Farming, as a business, requires significant up-front expenses and obligations to
10    prepare for and produce the crop, with virtually no income for months or years until the
11    returns from the crop’s productions are realized. (Crawford Dec. at ¶ 17 [“The biggest
12    expenses I have during the year are for mortgages, leases, fertilizer, and pesticides. Most
13    of these are fixed costs, in that they must be incurred before I know what my yields will
14    be that year or even what fields will be able to be irrigated.”]; Knoll Dec. at ¶ 8 [“The
15    vast majority of these expenses—approximately 75 percent of them—must be paid up-
16    front before irrigation even begins.”]; Grant Dec. at ¶ 14 [noting most costs “must be
17    incurred before the irrigation season even begins”].)         Klamath farmers undertook
18    significant costs in the form of land rental obligations, mortgage payments, operating
19    loans, equipment loans, water assessments, infrastructure, and expenditures for seed,
20    fertilizer, pesticides, fuel, and other necessary items long before Reclamation indicated it
21    intended to release stored water in 2021 for its own purposes and not for irrigation. (See
22    Crawford Dec. at ¶ 17; King Dec. at ¶ 8 [“[M]ost of the expenses I have associated with
23    farming a particular area are already incurred by the time I learn that Reclamation plans
24    to flush our stored water down the river.”].) Many Klamath farmers do not operate with a
25    large profit margin, which leaves them particularly vulnerable when Reclamation violates
26    the law by flushing stored water down the river without a right to do so. (Crawford Dec.
      at ¶¶ 16, 18 [noting that, of the $480,000 in gross revenue generated in a year,
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 1    approximately $450,000 must go to pay expenses]; King Dec. at ¶ 7; Knoll Dec. at ¶ 9
 2    [noting he must get at least a 75 percent yield to break even]; Grant Dec. at ¶ 13 [profit
 3    margin of 20-25%].)
 4             When Reclamation makes unilateral decisions to seize these water rights it does
 5    not own by releasing stored water for the benefit of individuals or obligations that have
 6    no right to use that water, it cripples these farmers. (Crawford Dec. at ¶ 22 [noting
 7    business       “likely could not survive” another water shortage, and “I would need to
 8    consider bankruptcy, or beginning to liquidate some of the equipment and property I own
 9    to cover my expenses”]; King Dec. at ¶ 7 [with significant water shortage, “I will not be
10    able to break even”]; Schell Dec. at ¶ 15 [noting losses in successive years due to
11    Reclamation-caused water shortages].) Farmers are left with no way to pay off the
12    expenses and debts they undertook to prepare the land for farming. (See Crawford Dec.
13    at ¶ 22.) Many farmers are forced to work additional jobs to subsidize their farms, which
14    are already a full-time job. (See Crawford Dec. at ¶ 20; S. Cheyne Dec. at ¶ 14 [noting he
15    has worked full-time as a project manager since 2010]; Schell Dec. at ¶¶ 14–15.)        Nor
16    are these impacts limited to the year in which Reclamation actually takes the water:
17    many of the crops in the Klamath Basin are actually on multi-year rotations, and water
18    shortages in any particular year have multi-year effects. (See. S. Cheyne Dec. at ¶ 8
19    [noting his farm rotates an alfalfa field every four to seven years; “The younger stands
20    may be able to survive a season of water shortage, but will last significantly fewer
21    seasons, because of the water stress.”]; Crawford Dec. at ¶ 13 [“Because I will be unable
22    to irrigate 240 acres of my land this year due to Reclamation-induced water shortages,
23    those crops will die. I will need to replant them next year. That means that, for alfalfa
24    crops that I planted this year, I will have twice the expenses initially.”]; Knoll Dec. at ¶
25    11 [noting some of his crops are “more sensitive to water shortages” and that if he is
26    “unable to water the rye grass I planted last year, it won’t survive the year”].)

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 1             Additionally, when water shortages cause crop shortages, the businesses that
 2    Klamath farmers supply turn elsewhere to get the crops they need. (See Crawford Dec. at
 3    ¶ 19 [“Not only is having water necessary to keep the multi-year crops alive, but it’s
 4    critical for me to have product to supply my customers. A significant amount of business
 5    goes to only a few customers. If I’m unable to supply my customers with the hay and
 6    alfalfa I farm, they need to go elsewhere to purchase it.”].) Often, these customers are
 7    difficult or impossible to get back. (Crawford Dec. at ¶ 19 [“Because they need a
 8    consistent supply of [my crops], they are unlikely to switch back to me if I cannot
 9    consistently provide it. If I lose these customers, they cannot readily be replaced, since
10    these business relationship are cultivated over a number of years.”].)This is compounded
11    by the fact that, just last year, Reclamation undertook a similar seizure of water rights,
12    releasing massive amounts of stored water for its own instream purposes. (Souza Dec. at
13    ¶¶ 6–8, 11.) When water shortages are perpetuated over successive growing seasons, the
14    increased likelihood of bankruptcy or foreclosure increases dramatically. (Crawford Dec.
15    at ¶ 11 [noting that, because of Reclamation-induced water shortages, “I was barely able
16    to scrape by last year”].) Farmers are at serious risk of permanent and irreparable
17    injury—such as bankruptcy and the loss of farms and land—if Reclamation is not
18    enjoined from violating the ACFFOD.
19             The water shortages caused by Reclamation releasing stored water for its own
20    instream purposes also cause emotional harm to the farmers in the Klamath Project. (See
21    S. Cheyne Dec. at ¶ 20 [noting these shortages are “extremely stressful” because he does
22    not “know whether I will be able to make ends meet when they happen”; noting also prior
23    water restrictions almost “bankrupted” him, and it “took me more than a decade to
24    recover from that”]; Schell Dec. at ¶¶ 11, 13 [noting difficulty of deciding to liquidate
25    cow herd he has maintained for 50 years].)         Reclamation’s continued flouting of
26    established water rights has caused multi-generational farming families to sincerely doubt
      the continued viability of farming in the Klamath Basin. (See S. Cheyne Dec. at ¶¶ 3, 21
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 1    [family has been farming here since the early 1900s; “Several of my children have
 2    expressed interest in running the business, but with the consistent water shortages, I do
 3    not feel like I can recommend this business to them in the Klamath Basin as a career
 4    decision. I’ve told them that if they want to farm, they should look for land elsewhere.”];
 5    Knoll Dec. at ¶ 13 [“Farming is a tradition in my family. . . . All three of my oldest
 6    children are interest in agriculture nd love farming. I would like to be able to pass the
 7    farm onto them someday.”].) As one farmer put it, while “[c]ontinuing this heritage is
 8    important to me . . . I’ve told [my children] that if they want to farm, they should look for
 9    land elsewhere.” (See S. Cheyne Dec. at ¶¶ 3, 21; see also Knoll Dec. at ¶ 14 [“I don’t
10    know whether, as a parent, I should encourage [my kids] to stay in the Klamath area . . . I
11    can’t encourage my kids to go into a business that has been so difficult and volatile for
12    me.”].)
13             Aside from the tangible physical losses that follow Reclamation’s flouting of the
14    ACFFOD, KID and its members are deprived of valuable and important legal rights as
15    well. The ACFFOD is fully enforceable unless and until a stay is issued by this Court.
16    See ORS 539.170. Critically, Reclamation’s seizure of water rights under the ACFFOD
17    prevents KID from the right to have the issue of whether a stay is warranted determined
18    by this Court. As Reclamation itself has previously argued, whether to issue a stay is
19    always a matter of discretion for this Court. (Rietmann Dec., Ex. M, at 16–18.) Forcing
20    Reclamation to move for a stay, should it need one, provides KID with due process, and
21    the ability to contest or dispute particular arguments Reclamation might make for or
22    against implementation of the ACFFOD.            By simply taking KID’s water rights,
23    Reclamation becomes the decision-maker, and usurps this Court’s proper authority.
24             Additionally, even if a stay is warranted, this Court has already held that no stay
25    may be granted except upon the posting of a bond and an agreement to pay “all damages”
26    that may be caused by the stay. (Rietmann Dec., Exs. B and C.) This language is quite
      broad, and intended to cover any harm that might fall on KID and its members as the
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 1    result of a stay in this litigation. That includes not only the value of the water itself, but
 2    the significant amount of consequential damages that will accrue if Reclamation
 3    continues to release stored water for unauthorized purposes. (See id. [noting that the
 4    obligation to “pay all damages that may accrue by reason of the determination not being
 5    enforced” is “in addition to the bond,” and the bond “does not limit or cap that
 6    obligation,” subjecting those who would seek a stay “to a significant liability”].) This
 7    requirement—both the posting of the bond and the agreement to pay damages—provide
 8    significant considerations to KID and its members’ adjudicated rights. It ensures all
 9    parties are clear where damages will lie in the event they occur. And the provision of a
10    bond ensures that certain amounts of money will be reserved to cover the farmers’ losses.
11             Lastly, whether or not the ACFFOD is presently enforceable impacts other legal
12    rights and obligations which impact KID and Reclamation. While discussed in more
13    detail below, if the ACFFOD is presently enforceable, Reclamation has only very narrow
14    discretion in releasing previously stored water, because it may not do so differently than
15    the ACFFOD dictates and cannot use stored water for in-stream ESA purposes. Just a
16    few months ago, Reclamation and the Office of the Solicitor reached that very
17    conclusion, noting “[t]o the extent Reclamation releases water previously appropriated
18    and stored in priority from Upper Klamath Lake for a beneficial use, including in the
19    State of California, the use must be consistent with the ACFFOD or applicable federal
20    law.” (See Rietmann Dec., Exs. D, E, and F.) Because of this, Reclamation “cannot
21    release water previously stored in priority and otherwise required for beneficial use by
22    Klamath Project beneficiaries from Upper Klamath Lake for the specific purposes of
23    producing instream flows in the Klamath River.”           (Id. at 23.)    Determinations of
24    discretion by Reclamation impact how Reclamation operates the Klamath Project,
25    including whether it purchases or leases KID’s water rights for in-stream purposes (as
26    opposed to merely seizing them).

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 1             Reclamation’s failure to abide by the terms of the ACFFOD has and is causing
 2    numerous severe and irreparable injuries, including the imminent loss or bankruptcy of a
 3    number of family farms; the loss of KID’s legal right to have stays determined by this
 4    court; and the loss of a bond to cover “all damages” associated with the stay.
 5    Additionally, whether the ACFFOD is presently enforceable impacts how Reclamation
 6    discharges its other legal responsibilities in operating the Klamath Project.
 7             4.         The Endangered Species Act Does Not Authorize the Use of Stored
                          Water in UKL Without a Water Right
 8
 9             Reclamation may contend the Endangered Species Act empowers it to use stored
10    water in UKL reservoir for instream purposes without a water right. This contention is
11    wholly without merit.
12             It is well-established that the ESA imposes obligations on federal agencies, but
13    does not expand the authority of agencies to act beyond the power the agency otherwise
14    possesses. See Sierra Club v. Babbitt, 65 F.3d 1502, 1510 (9th Cir. 1995) (“[The ESA]
15    directs agencies to ‘utilize their authorities’ to carry out the ESA’s objectives; it does not
16    expand the powers conferred on an agency by its enabling act.’”) (quoting Platte River
17    Whooping Crane v. FERC, 962 F.2d 27, 34 (D.C. Cir. 1992)).                 The D.C. Circuit
18    described as “far-fetched” the argument that the general consultation requirements of the
19    ESA expand agencies’ authority to act beyond their enabling acts. See Platte River
20    Whooping Crane, 962 F.2d at 34. This principle has not only been upheld by the Ninth
21    and D.C. Circuits, but also the Fifth Circuit. See Am. Forest & Paper Ass’n v. U.S. EPA,
22    137 F.3d 291, 299 (5th Cir. 1998) (“We agree that the ESA serves not as a font of new
23    authority, but as something far more modest: a directive to agencies to channel their
24    existing authority in a particular direction.”)
25             The Supreme Court recently weighed in on an analogous issue in National
26    Association of Home Builders v. Defenders of Wildlife (“Home Builders”), 551 U.S. 644
      (2007). At issue in Home Builders was a conflict between the ESA’s consultation
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 1    requirement under 16 U.S.C. § 1536(a)(2) and a requirement under the Clean Water Act
 2    that the EPA turn over authority to issue discharge permits to a state if the state met nine
 3    specified criteria. Home Builders, 551 U.S. at 651–52. The Ninth Circuit held the ESA
 4    required the agency to consider whether turning over this authority to the states would
 5    create jeopardy for an endangered species, even though the requirement to turn over
 6    authority was mandatory if the nine criteria were met. Id. at 655–57. The Supreme
 7    Court, noting the Circuit split on the issue created by this holding and the D.C. Circuit’s
 8    holding in Platte River Whooping Crane, reversed. Id. at 657. In doing so, it noted that
 9    the ESA’s general consulting obligation under 16 U.S.C. § 1536(a)(2) does not effect an
10    implied repeal of previously-enacted statutes. Id. at 662–66. As such, it imposes no
11    consultation obligation on agency actions that are mandatory, and can only apply where
12    the actions of the agency are discretionary. Id. at 666–67.
13             The Supreme Court’s holding in Home Builders establishes an important principle
14    that supports the holdings of Sierra Club, Platte River Whooping Crane, and American
15    Forest & Paper Association by analogy. Where an agency lacks discretion, there is no
16    requirement to consult under Section 7 of the ESA. See Cottonwood Envtl. Law Ctr. v.
17    U.S. Forest Serv., 789 F.3d 1075, 1086–87 (9th Cir. 2015) (“[I]f an agency has no
18    discretion to take any action that might benefit the threatened species, Section 7
19    consultation would be ‘a meaningless exercise.’”) (quoting Envtl. Prot. Info. Ctr. v.
20    Simpson Timber Co., 255 F.3d 1073, 1085 (9th Cir. 2001)); see also Home Builders, 551
21    U.S. at 669 (noting the ESA’s “no-jeopardy duty covers only discretionary agency
22    actions and does not attach to actions . . . that an agency is required by statute to
23    undertake once certain specified triggering events have occurred”). This is because the
24    ESA does not grant the agency any additional powers to act it did not already possess.
25    Am. Forest & Paper Ass’n, 137 F.3d at 299; Sierra Club, 65 F.3d at 1510; Platte River
26    Whooping Crane, 962 F.2d at 34. Instead, the ESA requires the agency to discharge the
      discretionary powers it was given in other statutes in accordance with the ESA. 16
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 1    U.S.C. § 1536(a)(2). Similarly, an agency’s non-discretionary obligations or duties under
 2    other statutes are not modified, discharged, or excused by the consultation and no-
 3    jeopardy requirements of the ESA.
 4             The ESA does not modify, remove, or discharge the other obligations Reclamation
 5    has under the Reclamation Act, which require it to act in accordance with state water law
 6    in the purchase, condemnation, “control, appropriation, use, or distribution of water.”
 7    See California v. United States, 438 U.S. 645, 674–75 (1978) (“The legislative history of
 8    the Reclamation Act of 1902 makes it abundantly clear that Congress intended to defer to
 9    the substance, as well as the form, of state water law.”).                More particularly, the
10    Reclamation Act states:
11                        Nothing in this Act shall be construed as affecting or intended
                          to affect or to in any way interfere with the laws of any State or
12                        Territory relating to the control, appropriation, use, or
                          distribution of water used in irrigation, or any vested right
13                        acquired thereunder, and the Secretary of the Interior, in
                          carrying out the provisions of this Act, shall proceed in
14                        conformity with such laws, and nothing herein shall in any way
                          affect any right of any State or of the Federal Government or of
15                        any landowner, appropriator, or user of water in, to, or from
                          any interstate stream or the waters thereof.
16
17    43 U.S.C. § 383. Thus, while Reclamation is specifically given the authority to condemn
18    property rights—such as the right in Oregon to use water, see ORS 307.010(1)(b)(D)—
19    where necessary, see 43 U.S.C. § 421 (Reclamation may “acquire any rights or property”
20    deemed necessary “by purchase or condemnation under judicial process”), it does not
21    have the right to do so without complying with the Reclamation Act, which requires
22    adherence to state law. As set forth in Sierra Club, Platte River Whooping Crane, and
23    American Forest & Paper Association, and supported by the Supreme Court’s decision in
24    Home Builders, the ESA does not expand the authority of an agency to take actions it is
25    not otherwise empowered to take. Thus, the ESA does not entitle Reclamation to use
26    stored water in UKL reservoir without a water right; rather it creates an obligation that
      Reclamation use its discretionary powers to avoid jeopardy to endangered species. It is
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 1    the Reclamation Act that empowers Reclamation to acquire Oregon water rights through
 2    purchase or condemnation. See 43 U.S.C. § 421. However, such rights must be acquired
 3    in accordance with state law. See 43 U.S.C. § 383; California v. United States, 438 U.S.
 4    at 674–75.
 5             Reclamation’s own interpretation of its discretion supports this conclusion. As
 6    mentioned above, recent guidance from the Office of the Solicitor and Reclamation’s
 7    own reassessment of its discretion has concluded that it lacks discretion to release stored
 8    water from UKL other than for the beneficial use of KID and other irrigators. (See
 9    Rietmann Dec., Ex. F at 23; Rietmann Dec., Ex. E at 5–6 [concluding that Reclamation
10    lacks discretion to modify or independently determine the amount of water necessary for
11    beneficial use].
12             Additionally, if Reclamation truly requires water for some purpose other than what
13    is set forth in the ACFFOD, Reclamation may compensate KID or others to lease their
14    water rights instream. Alternatively, Reclamation may purchase KID’s water rights and
15    lease them instream itself in accordance with law. In the past, Reclamation has obtained
16    limited licenses authorizing it to use stored water in UKL for instream purposes in
17    accordance with law with the tacit agreement of KID and other Project irrigators. (Souza
18    Dec. at Exs. A and B.) But now, Reclamation is simply usurping this Court’s authority
19    and granting itself a de facto stay of the ACFFOD in open defiance of the law. In short,
20    the ESA provides no basis for Reclamation to violate the ACFFOD.
21             5.         The Equities Clearly Favor a Preliminary Injunction Here
22             As discussed at length above, Reclamation clearly knows that releasing stored
23    water from UKL for its own in-stream purposes is unlawful under state and Federal
24    statutory law, prior orders of this Court, and its own internal legal guidance. Oregon
25    statutes unequivocally state that a water rights determination by OWRD in a general
26    stream adjudication is fully enforceable during judicial review of that decision. See ORS
      539.130(4) (“The determination of the department shall be in full force and effect from
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 1    the date of its entry in the records of the department, unless and until its operation shall
 2    be stayed by a stay bond as provided by ORS 539.180.”); ORS 539.170 (“While the
 3    hearing of the order of the Water Resources Director is pending in the circuit court, and
 4    until a certified copy of the judgment, order or decree of the court is transmitted to the
 5    director, the division of water from the stream involved in the appeal shall be made in
 6    accordance with the order of the director.”); ORS 539.180 (noting enforcement may be
 7    stayed by posting of a bond “conditioned that the party will pay all damages that may
 8    accrue by reason of the determination not being enforced”). This Court has recognized
 9    the same thing, noting that any party that wants a stay of the ACFFOD pending these
10    judicial proceedings must seek such a stay and must be prepared to both post a bond and
11    agree to pay “all damages” that may result from the failure to abide by the terms of the
12    ACFFOD. (Rietmann Dec., Ex. B.) Even Reclamation itself has recognized that it lacks
13    discretion to release stored water for purposes other than beneficial use, as determined
14    under the ACFFOD, or to re-evaluate for itself what constitutes beneficial use. (See
15    Rietmann Dec., Ex. F at 23 [Reclamation Reassessment]; Rietmann Dec., Ex. E at 5–6
16    [concluding that Reclamation lacks discretion to modify or independently determine the
17    amount of water necessary for beneficial use].) And Reclamation is very aware of how it
18    may discharge its obligations lawfully, because it has leased KID’s water rights in the
19    past, when necessary. (Souza Dec., Exs. A and B.)
20             Nevertheless, Reclamation persists in acting unlawfully. It did so last year when it
21    released large amounts of stored water for in-stream purposes in both a spring “flushing
22    flow” and then throughout the irrigation season, without obtaining a stay or leasing these
23    rights from KID or other irrigators. And it has already announced it will do so again this
24    year, planning another flushing flow for mid-April, and then continual releases of stored
25    water from UKL, not based on the call of an irrigator or water rights holder, but instead
26    to satisfy its own purposes. Reclamation has no right to act unlawfully, and both equity
      and the public interest require Reclamation—like everyone else—to abide by the law.
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 1             Reclamation’s unlawful acts cause significant and irreparable injury to KID and its
 2    constituent members. If Reclamation is permitted to continue depriving KID’s irrigators
 3    of their rights to use stored water, numerous family farms face an imminent danger of
 4    closing. These losses are irreparable: even if a farm could succeed in a takings case and
 5    be awarded damages in a takings case some 10 or 20 years from now, the business will be
 6    closed and the land sold. These injuries cannot be remedied through a later damages
 7    claim, but must be enjoined by the Court now.
 8             The ESA provides no basis for finding the equities tip in favor of permitting
 9    Reclamation’s unlawful actions. The ESA did not expand the authority of agencies such
10    as Reclamation to do acts they were otherwise not permitted to do. Instead, it merely
11    directed that agencies such as Reclamation are to discharge whatever authority they have
12    in accordance with the ESA. The ESA does not provide a basis for Reclamation to
13    expand its authority under the Reclamation Act or state law, and does not permit it to
14    unilaterally seize water in violation of the ACFFOD. Further, Reclamation is fully aware
15    of how to comply with both the ESA and the ACFFOD, because it has specifically
16    received a limited license to use Klamath Project irrigators’ water rights in the past to
17    supplement instream flows. (Souza Dec., Exs. A and B.) There simply is no basis to
18    conclude that the ESA supports Reclamation’s actions here.
19             Given the clearly impermissible nature of Reclamation’s actions, the injury to KID
20    and its members, and Reclamation’s awareness of how to conduct these activities
21    lawfully, the balance of equities tips heavily in KID’s favor. Reclamation should be
22    forced to comply with the ACFFOD—a proceeding it is well aware of and has actively
23    participated in—just like every other water rights’ holder in the Klamath Basin.
24    ///
25    ///
26    ///

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               6.         An Injunction from this Court is Necessary to Enforce the Terms of the
 1                        ACFFOD
 2             Ultimately, this Court must act to stop the unlawful acts described above. KID
 3    tried bringing suit to enforce these rights in federal court in 2019, only to be told that that
 4    suit was not a suit for the “administration” of water rights in a general stream
 5    adjudication and be procedurally barred by the intervention of the downstream Tribes.
 6    See Klamath Irr. Dist. v. Bureau of Reclamation, No. 1:19-cv-00451-CL, 2020 WL
 7    5751560, at *8 (D. Or. Sept. 25, 2020).
 8             KID then requested that OWRD intervene to stop Reclamation from unlawfully
 9    releasing stored water last year, in 2020. (See Rietmann Dec., Ex. G.) OWRD refused to
10    take action, and KID was forced to file an administrative suit to compel it to discharge its
11    duty. (Id., Ex. H.) The Marion County Circuit Court ultimately found in KID’s favor,
12    and directed OWRD, via the watermaster for the Klamath Basin, “to immediately stop
13    the distribution, use and/or release of Stored Water from UKL without determining that
14    the distribution, use and/or release is for a permitted purpose by users with existing water
15    rights of record or determined claims to use the Stored Water in the UKL.” (Id., Ex. I,
16    p.2.) OWRD still refused to act, and sought a stay pending appeal and a motion to
17    reconsider the order, both of which were curtly denied. (Id., Ex. J [Order Denying Stay
18    Pending Appeal]; Ex. K [Order Denying Motion for Reconsideration].) In denying the
19    motion for reconsideration, the Court noted that OWRD had “continued to allow the
20    Bureau of Reclamation to take Stored Water without determining the Bureau’s right to do
21    so.” (Id., Ex. K at 1.) To date, OWRD has refused to take any actual affirmative action
22    to prevent Reclamation from unlawfully diverting stored water, and a hearing for OWRD
23    to show cause in re: contempt is currently set for May 26, 2021 in front of the Marion
24    County Circuit Court. (Id., Ex. L.)
25             KID is loathe to add more complexity to such a complex case or more work for
26    this Court, given the significant tasks it already has. Unfortunately, at this point, KID has
      no other options. This Court must act to prevent Reclamation from unlawfully diverting
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 1    water. OWRD has wholly abdicated its duty to intervene and enforce the ACFFOD, and
 2    it therefore must fall to the courts to do so.
 3    D.       CONCLUSION
 4             Despite federal law, Oregon law, OWRD orders, this Court’s orders, and its own
 5    internal guidance all being to the contrary, Reclamation nevertheless persists in violating
 6    the water rights KID and its members hold under the ACFFOD in the Klamath
 7    Adjudication. There simply is no lawful basis for Reclamation to release stored water
 8    from UKL to satisfy its own in-stream purposes, without having obtained a stay from this
 9    Court and posted a bond or purchased or leased these rights from irrigators.
10    Nevertheless, Reclamation violated the ACFFOD in the 2020 irrigation season and has
11    now announced it intends to violate the ACFFOD again in the 2021 irrigation season.
12    This unlawful activity must be enjoined. It causes tremendous and irreparable harm to
13    KID and the farmer’s impacted by the water shortage. KID requests that this Court grant
14    this motion for preliminary injunction, and order Reclamation not to release stored water
15    from UKL for purposes other than those set forth in the ACFFOD.
16                        DATED this 29th day of March 2021.
17
18                                                        Respectfully submitted,
19
20    Dated: March 29, 2021                               RIETMANN LAW P.C.

21
                                                          s/ Nathan R. Rietmann_________
22
                                                          Nathan R. Rietmann, OSB #053630
23                                                        1270 Chemeketa St. NE
                                                          Salem, Oregon 97301
24                                                        503-551-2740
25                                                        nathan@rietmannlaw.com
                                                          Attorney for Petitioner
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 1                                CERTIFICATE OF SERVICE
 2
 3             On March 30, 2021, I caused to be served a true and correct copy of NOTICE OF
 4    APPEARANCE OF COUNSEL FOR KLAMATH IRRIGATION DISTRICT to be
 5    served using the Oregon Judicial Department Odyssey File and Serve system for service
 6    to the electronic service contacts registered in this case at the email addresses as recorded
 7    on the date of service in the eFiling system, and by first class mail on those listed on the
 8    current service list at the postal addresses provided by the Klamath County Circuit Court.
 9
      DATED: March 29, 2021                     RIETMANN LAW P.C.
10
                                                s/Nathan R. Rietmann
11
12                                              Nathan R. Rietmann, OSB #053630
                                                1270 Chemeketa St. NE
13                                              Salem, Oregon 97301
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 1
                          IN THE CIRCUIT COURT OF THE STATE OF OREGON
 2
                                      FOR THE COUNTY OF KLAMATH
 3
                                                           Case No. WA1300001
 4    IN THE MATTER OF THE WATERS
      OF THE KLAMATH RIVER BASIN
 5                                                         DECLARATION OF PAUL CRAWFORD
                                                           IN SUPPORT OF KLAMATH
 6                                                         IRRIGATION DISTRICT’S MOTION
                                                           FOR PRELIMINARY INJUNCTION
 7

 8

 9

10

11
               I, Paul Crawford, hereby declare as follows:
12
               1.         I am a farmer who is a member of the Klamath Irrigation District (“KID”). I have
13
      personal knowledge and am competent to testify to the facts set forth below.
14
               2.         I am the sole proprietor of Crawford Family Farms. I farm several hundred acres
15
      of land in the Klamath Basin. This year, we set up for 585 acres of farming, mostly alfalfa, hay,
16
      and some pasture land. I manage the finances for the farm, and am very familiar with the
17
      amount of debt held, the revenues of the farm, costs of operation and maintenance, and the
18
      overall financial health of the business.
19
               3.         I understand that Klamath Basin farmers will not receive enough stored water to
20
      fulfill their water rights, which under the Klamath Adjudication are 3.5 acre-feet per acre per
21
      irrigation season. As of now, roughly 240 acres of the area I farm will be a total loss, because
22
      Reclamation will not allow them to receive any water.
23
               4.         Instead of letting the farmers use the stored water to irrigate their crops,
24
      Reclamation intends to release a large amount of stored water down the river to help support the
25
      fish and the downstream tribes. This water, if it was not flushed down the river, could be used
26
      by farmers such as myself.

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 1             5.         My farm has been operating in the Klamath area since 2011. I grew up farming,

 2    but then left and joined the military. After serving, I came back to the Klamath area in 2011 to
 3    start farming again.
 4             6.         I mostly grow alfalfa and hay. On an average year, I probably farm 300 acres of
 5    alfalfa, roughly 100 acres of orchard grass, and another 100 acres of orchard grass and alfalfa
 6    blend. I rotate through some other grains as well, and sometimes have about 80 acres of winter
 7    wheat.
 8             7.         Our irrigation season usually starts around mid-April. It takes about two weeks to
 9    charge the system to the point that water can actually be diverted onto my farmland. If the
10    system begins charging around April 1, I can usually begin irrigating around April 10 or April
11    15.
12             8.         A delay in the start of the irrigation season is a huge problem for farmers like me.
13    One year, I wasn’t able to start irrigating until May 1, and a significant portion of my plants were
14    already burning up. Just observing the plants, you could see that they were wilted and stunted.
15             9.         This is particularly true of alfalfa and grain crops. By April 20 in most years, if I
16    have not irrigated my winter grain crops, they will be dead. They may start growing stalks later
17    in the season if irrigation is started, but they won’t produce a head or will produce a much
18    smaller head, which is the useful part of grain crops.
19             10.        Alfalfa is slightly more flexible, and I am usually OK if I can begin irrigating by
20    April 25, or at the very latest, May 1, if the weather has not been too dry during the spring. In a

21    dry year, such as this one, beginning to irrigate on May 1 is too late.
22             11.        My understanding is that last year the entirely Klamath Project only received was
23    approximately 140,000 acre-feet of water. With a significant amount of groundwater pumping, I
24    was able to get essentially 1.5 acre-feet per acre with which to irrigate.                 Because this
25    significantly reduced our yield sizes, I was barely able to scrape by last year.
26             12.        In order to understand the harm that water shortages cause to farmers such as
      myself, it is important to understand the growing cycle of the crops we use. Alfalfa, for instance,
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 1    is a seven to ten year crop. The first year, the year in which I plant it, I don’t make any money

 2    off of it, and in fact lose money. Then, after that, I’m able to recoup my initial expenses and
 3    begin making money off of it.
 4             13.        Because I will be unable to irrigate 240 acres of my land this year due to
 5    Reclamation-induced water shortages, those crops will die. I will need to replant them next year.
 6    That means that, for alfalfa crops that I planted this year, I will have twice the expenses initially,
 7    and will need to wait twice as long before I can recoup the investment on those lands.
 8             14.        Late irrigation starts also significantly reduce the yield from our first cutting. I
 9    derive a large part of the total yield per acre (probably 40% of the total yield) from the first
10    cutting of the grass. Getting a late start that reduces the yield from that first cutting can be
11    devastating in and of itself.
12             15.        Additionally, a number of plants, such as alfalfa, will enter a dormancy stage if
13    they encounter a longer period of dry weather. This means that the soil needs to be more heavily
14    saturated and for longer than is typical to essentially “wake up” the plant and prompt it to begin
15    growing again. If I have a late start, additional water is required just to convince the plants to
16    begin growing again.
17             16.        My gross revenue for the farm, in an average to a good year, is just under
18    $500,000, maybe $480,000 or $485,000. Of that, approximately $450,000 is for expenses.               In
19    other words, our profit margin is only approximately $50,000, in an average to good year.
20             17.        The biggest expenses I have during the year are for mortgages, leases, fertilizer,

21    and pesticides. Most of these are fixed costs, in that they must be incurred before I know what
22    my yields will be that year or even what fields will be able to be irrigated.
23             18.        I try to manage risk by having low overhead costs and only growing crops that
24    have relatively high profit margins, but I only have a small margin within which to make the
25    business work.
26             19.        Not only is having water necessary to keep the multi-year crops alive, but it’s
      critical for me to have product to supply my customers. A significant amount of business goes to
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 1    only a few customers. If I’m unable to supply my customers with the hay and alfalfa I farm, they

 2    need to go elsewhere to purchase it. Because they need a consistent supply of it, they are
 3    unlikely to switch back to me if I cannot consistently provide it. If I lose these customers, they
 4    cannot readily be replaced, since these business relationship are cultivated over a number of
 5    years.
 6             20.        In prior years, I have had to work full-time jobs, particularly during the winter
 7    months, in order to make ends meet. In the winters of 2017 and 2018, I worked as a foreman for
 8    a potato packing facility.
 9             21.        If the Klamath Project were to get 120,000 acre-feet and I could begin irrigating
10    by May 1, I might be able to break even this year. I wouldn’t be making money, but I would at
11    least be able to cover my expenses for the year. If the total amount of water the Project receives
12    is any less than that, or starts any later than that, I will be in real trouble.
13             22.        If there is a water shortage or the irrigation season is delayed because
14    Reclamation is releasing stored water for its own purposes, to go to the fish and the downstream
15    tribes, I will not be able to grow as many crops. If I don’t grow crops or have a lower yield, I
16    can’t make as much money. The business likely could not survive such a situation. I would
17    need to consider bankruptcy, or beginning to liquidate some of the equipment and property I own
18    to cover my expenses.
19    ///
20    ///

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  3
                                                               Case No. WA1300001
  4    INTHEMATTEROFTHEWATERS
       OF THE KLAMATH RIVER BASIN
  5
                                                               DECLARATION OF JUSTIN GRANT IN
  6
                                                               SUPPORT OF KLAMATH IRRIGATION
                                                               DISTRICT'S MOTION FOR
  7
                                                               PRELIMINARY INJUNCTION

  8

  9

10

11
                 I, Justin Grant, hereby declare as follows:
12
                 1.       I am a farmer who is a member of the Klamath Irrigation District ("KID"). I have
13
       personal knowledge and am competent to testify to the facts set forth below.
14
                2.        My family has been farming in the Klamath Basin for at least three generations. I
15
       personally began farming here in 2013, and farm approximately 300 acres.            My business is
16
       organized as Justin Grant Farms LLC.
17
                3.        My understanding is that farmers such as myself will likely receive little to no
18
       water this year, due to water shortages caused by Reclamation flushing stored water down the
19
       river without a water right. While I have an adjudicated water right to use up to 3.5 acre-feet of
20
       water per acre during the irrigation season, I would be lucky to see even 0.5 acre-feet of water
21
       for some of my land. Other parts of my farm will not get any water.
22
                4.        I run the farm with some help from members of my family. I used to have a full-
23
       time employee, and two part-time employees, as recently as 2019. However, because of the
24
       water shortages, I had to let them go. I do not anticipate being able to rehire employees, due to
25
       the ongoing water shortages. We would absolutely hire additional workers, if Reclamation did
26
       not flush our stored water down the river.

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  1            5.         I grow primarily hay, alfalfa, timothy grass, orchard grass, oat, and wheat, and

  2   raise cattle as well.

  3            6.         Our typical irrigation season is from mid-April through October. Some of our hay

  4   crops are still in the fields up until November 1, weather depending.

  5            7.         Several of the crops we grow, including grains such as wheat and oats, as well as

  6   hay, are annual crops. Some of these, such as alfalfa, receive multiple cuttings per year. If the

  7   start of the irrigation season is delayed, this can mean that we are not able to make as many

  8   cuttings in a year, which diminishes the yield per acre.

  9            8.     Besides simply reducing the number of cuttings in a year, delays in irrigation

 10   starting means that the plants are very water-stressed during the beginning of their growing

11    season. Since the biggest yield is from the first cutting, a delay in irrigation not only reduces the

12    number of cuttings, but reduces the yield from each cutting.

13             9.     Additionally, when irrigation is delayed, it is more difficult to get the crops to

14    begin growing, and more water than normal is required to even get them started. This inefficient

15    use of water, combined with the lower yields, severely hinders the ability to farm with a delayed

16    start date. Reclamation's release of stored water for its own purposes can create irrigation delays.

17    Often, there are requirements that UKL must be maintained at certain elevations to protect

18    endangered sucker fish. Reclamation distributing stored water for its own instream purposes

19    reduces the amount of water above the required UKL lake elevations that may be used for

20    irrigation.

21            10.     In many years, the Bureau leaves us with little water to irrigate because they have

22    released the stored water for their own purposes. These water restrictions cause long-reaching

23    damages to my business.

24            11.     A number of the crops I grow are perennial, meaning that they are harvested for a

25    number of years before a field is replanted. Grass and alfalfa are good examples of this. Alfalfa

26    fields will usually be harvested for six to seven years between plantings, while grass can be

      harvested eight to ten years before being replanted.
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 1             12.        Farming involves significant up-front costs with long delays before the crops

 2    actually result in revenue. I have very substantial and fixed costs that must be paid, regardless of

 3    whether I am permitted to irrigate in a given year. These include mortgages on the farmland,

 4    servicing debt on my fanning equipment, expenses for seed (since most of my planting must

 5    occur before I find out whether Reclamation is flushing water down the river), fertilizer, power,

 6    and water (irrigation assessments). Fees associated with water include assessments paid to the

 7    irrigation districts to maintain canals and drains, which must be kept in working order even if no

 8    water flows through them that year.

 9             13.        In a good year, I might have a net profit of 20%-25%. The remaining amount of

10    gross income (approximately 75%-80%) reflects costs necessary to operate the farm. Most of

11    those are fixed costs that I need to pay regardless of the farm's income. These include costs for

12    land rent, water assessments (which must be paid regardless of whether we receive water),

13    equipment and operating debt, seed, fuel, fertilizer, pesticides, and other necessary equipment.

14              14.       The vast majority of these costs must be incurred before the irrigation season even

15    begins. Approximately two-thirds ofmy expenditures occur between February and June.

16              15.       Water shortage relief is not guaranteed, and what is received is far less than the

17    value of the water rights I give up, which have been valued at $600 per acre-foot. The water

18    shortage relief that we have received in prior years is even far below what it costs to operate the

19    land. Even when the land is being idled, it still requires maintenance, including planting cover

20    crops and spraying, which entails significant costs.

21             16.        In 2015, we idled some land and received relief payments of $3 85 per acre. This

22    amount barely covered expenses.

23             17.        Last year, water shortage relief payments for idled land were only $185 per acre,

24    which does not even come close to what is necessary to break even.

25             18.        If there is no or very little water this year, my business will not be able to survive

26    this year. Without the water KID and I own rights to, I cannot grow crops, and therefore cannot

      generate revenue to pay debt and maintain the business.              Even with some water and water
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Page 3 -    DECLARATION OF JUSTIN GRANT                                                              1270 Chemeketa St. NE
                                                                                                      Salem, Oregon 9730 l
                                                                                                          503-551-2740
                                                                                                     nathan@rietmannlaw .com
              Case 1:21-cv-00504-AA          Document 1-1        Filed 04/05/21     Page 38 of 292




  1    shortage assistance, my business would be very lucky to survive this year and another year with

  2    a water shortage.

  3              I declare under penalty of perjury under the laws of the State of Oregon that the foregoing

  4    is true and correct.

  5

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                                                              JustinGrant   {}~
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Page 4 -    DECLARATION OF JUSTIN GRANT
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                                                   WA1300001



 1
                           IN THE CIRCUIT COURT OF THE STATE OF OREGON
 2
                                       FOR THE COUNTY OF KLAMATH
 3
                                                            Case No. WA1300001
 4    IN THE MATTER OF THE WATERS
      OF THE KLAMATH RIVER BASIN
 5                                                          DECLARATION OF ANDY KING IN
                                                            SUPPORT OF KLAMATH IRRIGATION
 6                                                          DISTRICT’S MOTION FOR
                                                            PRELIMINARY INJUNCTION
 7

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11

12             I, Andy King, hereby declare as follows:

13             1.         I am a farmer who is a member of the Klamath Irrigation District (“KID”). I have

14    personal knowledge and am competent to testify to the facts set forth below.

15             2.         I am the sole proprietor of Kings Farm & Ranch LLC. I farm approximately 400

16    acres in the Klamath Basin. I manage the finances for the farm, and am very familiar with the

17    amount of debt held, the revenues of the farm, costs of operation and maintenance, and the

18    overall financial health of the business.

19             3.         I have been farming here since 1993, about 28 years ago.

20             4.         I farm hay and alfalfa, and occasionally some grains.

21             5.         Our irrigation season is typically April through October. Under my adjudicated

22    water rights, I have the right to use up to 3.5 acre-feet of water per acre each year to maintain my

23    crops. However, my understanding is that Reclamation may reduce the amount of stored water I

24    can use this year, because it plans to release that stored water down the Klamath River to benefit

25    downstream tribes and fish.

26


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Page 1 -    DECLARATION OF ANDY KING
                                                                                                1270 Chemeketa St. NE
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 1             6.         My gross revenue in a good to average year is approximately $200,000 to

 2    $250,000. The biggest expenses my business has are for mortgages and leases, which must be
 3    paid annually, as well as fertilizer and pesticides.
 4             7.         When the amount of water I receive to irrigate with is reduced by Reclamation,
 5    my crop yields are also reduced. Often, it means I get fewer cuttings on each of my acres.
 6    Because the profit margin is relatively small, if I don’t received at least half of my water in a
 7    given year due to shortages Reclamation causes, I will not be able to break even, in that the
 8    farming will not even cover the costs of what it took to produce. Obviously, this does not
 9    provide enough income for me to live on.
10             8.         One of the problems with these water shortages is that most of the expenses I
11    have associated with farming a particular area are already incurred by the time I learn that
12    Reclamation plans to flush our stored water down the river, instead of letting us irrigate with it. I
13    have already leased or mortgaged the property, and paid money for fertilizer, pesticide, and seed.
14             9.         I have lived through water shortages before. In the early 2000s, Reclamation shut
15    off water entirely to irrigators, which caused many farmers to go bankrupt. I was only able to
16    survive that shortage because I received some relief.
17             10.        Last year, I fallowed 100 acres because I was not able to get water to irrigate it,
18    again due to Reclamation flushing stored water down the river, rather than allowing it to be used
19    for irrigation. I received approximately $200 to $230 an acre to fallow it. This is less than one-
20    eighth of what these fields would have yielded if I could farm them, and is not enough to cover

21    all of the expenses associated with them.
22    ///
23    ///
24    ///
25    ///
26    ///


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Page 2 -    DECLARATION OF ANDY KING
                                                                                                  1270 Chemeketa St. NE
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                                                                                                  nathan@rietmannlaw.com
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  1
                           IN THE CIRCUIT COURT OF THE STATE OF OREGON
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                                      FORTHECOUNTYOFKLAMATH
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                                                             Case No. WA1300001
 4     INTHEMATTEROFTHEWATERS
       OF THE KLAMATH RIVER BASIN
  5                                                          DECLARATION OF GRANT KNOLL IN
                                                             SUPPORT OF KLAMATH IRRIGATION
  6                                                          DISTRICT'S MOTION FOR
                                                             PRELIMINARY INJUNCTION
  7

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 9

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11
                I, Grant Knoll, hereby declare as follows:
12
                1.        I am a farmer who is a member of the Klamath Irrigation District ("KID"). I am
13
       also a board member of KID. I have personal knowledge and am competent to testify to the facts
14
       set forth below.
15
                2.        I am the owner and operator of Knoll Ranch LLC. I farm approximately 850
16
       acres of farmland that I own. I farm additional land that I rent and do custom farming as well.
17
                3.        My father started this business in 1986, and I took over the business from him.
18
       This business has been operating in the Klamath area for 35 years.
19
                4.        I grow predominantly grass seed. My main varieties are tall fescue grass and
20
       perennial rye grass. Because I grow these grasses for seed production, the growing season is
21
       somewhat different than many farmers in this area.
22
                5.        Most grass and hay farmers in this area grow grass for forages, from which they
23
       will get multiple cuttings during a single season. Because of this, if they are delayed in receiving
24
      water, or if water is temporarily turned off, they may get one bad crop and be able to cut it off
25
      and still get additional cuttings of the grass.
26

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Page 1 -    DECLARATION OF GRANT KNOLL                                                            Rietm.annLaw P.C.
                                                                                                1270 Chemeketa St. NE
                                                                                                 Salem,Oregon97301
                                                                                                    503-551-2740
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  1             6.        Grass seed, however, requires the entire growing season, so I have only one

 2     harvest on a particular crop each year. Additionally, grass seed farms are very sensitive to

 3     getting the proper moisture early in the season. If there is a delay in the start date for irrigation,

 4     it does not simply delay my harvest or reduce my yield: it can wipe me out for the entire season.

  5             7.        Our typical irrigation season starts on April 15. If I don't have water started by

 6     May 1, I will not be able to bring in a crop for that year. May 1 is essentially the drop-dead date

 7     for me to start irrigating.

  8             8.        In a good year, the farm can bring in between $800,000 and $1,200,000 in gross

 9     revenue. However, the majority of that goes to pay expenses on the farm. The biggest annual

1O     expenses include mortgages, operating loans, and equipment loans. Additional expenses I have

11     to incur to run the farm include fertilizer and fuel. The vast majority of these expenses-

12     approximately 75 percent of them- must be paid up-front before irrigation even begins. In other

13     words, I have to take on these expenses before I find out whether Reclamation will be flushing

14     all of our stored water down the river.

15              9.        If the irrigation season is even delayed slightly, it will severely harm the yield I
16     can get from my crops. Last year, the start date was a little late, and I got only about a 50

17     percent yield on my acreage in KID. Realistically, I need at least a 75 percent yield to break

18     even. Even with that level of a yield, I don't make any money from it; it simply isn't losing

19     money that year.

20              10.       A delay until June will completely wipe me out for the year.
21              11.       All of my crops are perennial, meaning they typically last for more than one

22     season. However, some are less tolerant to water shortages than others. Perennial rye grass, for

23     instance, is more sensitive to water shortages. If I'm unable to water the rye grass I planted last

24    year, it won't survive the year, and I will need to re-plant the field. This is expensive and costly.

25              12.       If the Bureau flushes our water down the river this year, and I am unable to

26    irrigate this year, I likely have to consider filing for bankruptcy, or selling parts of the farm and


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Page 2 -    DECLARATION OF GRANT KNOLL                                                                RietmannLaw P.C.
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                                                                                                       503-551-2740
                                                                                                   nathan@,rietmannlaw.com
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  1    equipment to make it through the year. If I am able to get some water, I might be able to squeak

  2    by through this year, but I certainly could not make it through two more years like that. ,
  3              13.      Farming is a tradition in my family. My dad started this farm, and my brother and
  4    I took it over from him. We split the land, and have kept farming. I have four children now,

  5    ages 6, 10, 13, and 15. All three of my oldest children are interested in agriculture and love

  6    farming. I would like to be able to pass the farm onto them someday.
  7              14.      However, Reclamation-induced water shortages have created a real dilemma for
  8    me. While I would like to pass on the farm to my kids, and they would like to continue farming,

  9    I don't know whether, as a parent, I should encourage them to stay in the Klamath area, because

10     I never know when Reclamation will simply ignore our water rights and flush the stored water

11     down the river. I can't encourage my kids to go into a business that has been so difficult and
12     volatile for me.
13              I declare under penalty of perjury under the laws of the State of Oregon that the foregoing

14     is true and correct.

15

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                                                              Grant Knoll

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Page 3 -    DECLARATION OF GRANT KNOLL                                                               RietmannLaw P.C.
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                                                                                                nathan@;ietmannlaw.com
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 1
                           IN THE CIRCUIT COURT OF THE STATE OF OREGON
 2
                                      FOR THE COUNTY OF KLAMATH
 3
                                                            Case No. WA1300001
 4    IN THE MATTER OF THE WATERS
      OF THE KLAMATH RIVER BASIN
 5                                                          DECLARATION OF NATHAN
                                                            RIETMANN IN SUPPORT OF KLAMATH
 6                                                          IRRIGATION DISTRICT’S MOTION
                                                            FOR PRELIMINARY INJUNCTION
 7

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 9

10

11
               I, Nathan Rietmann, hereby declare as follows:
12
               1.         I am an attorney and general counsel for the Klamath Irrigation District (“KID”).
13
      I have personal knowledge and am competent to testify to the facts set forth below.
14
               2.         In 1975, the State of Oregon commenced a general stream adjudication of the
15
      waters of the Klamath Basin pursuant to ORS in Chapter 539.
16
               3.         On March 6, 2013, thirty-eight (38) years after the State of Oregon initiated the
17
      Klamath Adjudication, the Oregon Water Resources Department (“OWRD”) filed its Findings of
18
      Fact and Final Order of Determination in Klamath County Circuit Court.
19
               4.         Subsequently, on February 28, 2014, the State of Oregon entered an Amended
20
      and Corrected Findings of Fact and Final Order of Determination (“ACFFOD”) with the
21
      Klamath County Circuit Court.
22
               5.         I have reviewed the Klamath Adjudication findings of OWRD contained in the
23
      ACFFOD. True and correct copies of relevant excerpts of the ACFFOD are included as Exhibit
24
      A to this declaration.
25

26


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Page 1 -    DECLARATION OF NATHAN RIETMANN
                                                                                                1270 Chemeketa St. NE
                                                                                                 Salem, Oregon 97301
                                                                                                     503-551-2740
                                                                                                nathan@rietmannlaw.com
               Case 1:21-cv-00504-AA           Document 1-1       Filed 04/05/21    Page 46 of 292




 1             6.         I have reviewed a letter opinion from this Court relating to requested stays of the

 2    ACFFOD sought by various water users dated July 15, 2013. A true and correct copy of this
 3    opinion is attached as Exhibit B to this declaration.
 4             7.         I have reviewed an order from this Court dated September 3, 2013 denying stays
 5    of the ACFFOD requested by various water users. A true and correct copy of this order is
 6    attached as Exhibit C to this declaration.
 7             8.         I have reviewed a memorandum dated January 14, 2021 issued by the Office of
 8    the Solicitor of the Department of the Interior entitled “Use of Water Previously Stored in
 9    Priority for Satisfaction of Downstream Rights.” A true and correct copy of this memorandum is
10    included as Exhibit D to this declaration.
11             9.         I have reviewed a memorandum dated January 14, 2021 issued by the Office of
12    the Solicitor of the Department of the Interior entitled “Analysis of Klamath Project contract to
13    determine discretionary authority in accordance with the November 12, 2020 Letter of the
14    Secretary of the Interior.” A true and correct copy of this memorandum is included as Exhibit E
15    to this declaration.
16             10.        I have reviewed a document dated January 2021 issued by the Bureau of
17    Reclamation entitled “Reassessment of U.S. Bureau of Reclamation Klamath Project Operations
18    to Facilitate Compliance with Section 7(a)(2) of the Endangered Species Act.” A true and
19    correct copy of this reassessment is included as Exhibit F to this declaration.
20             11.        I drafted an e-mail to counsel for OWRD on behalf of KID on April 22, 2020,

21    formally advising them that Reclamation was diverting stored water from UKL without a water
22    right permitting the diversion. A true and correct copy of this e-mail is attached as Exhibit G to
23    this declaration.
24             12.        As general counsel for KID, I filed a lawsuit against OWRD in Marion County
25    Circuit Court in 2020, Case No. 20CV17922, seeking to force OWRD to discharge its statutory
26    obligations to distribute water according to the ACFFOD. A true and correct copy of the
      complaint is attached as Exhibit H to this declaration.
{7756/007/01218813.DOC}
                                                                                                     Rietmann Law P.C.
Page 2 -    DECLARATION OF NATHAN RIETMANN
                                                                                                  1270 Chemeketa St. NE
                                                                                                   Salem, Oregon 97301
                                                                                                       503-551-2740
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 1             13.        The Marion County Circuit Court ultimately found in KID’s favor and granted

 2    summary judgment to KID in an October 13, 2020 order. A true and correct copy of the order

 3    granting KID summary judgment is attached as Exhibit I to this declaration.

 4             14.        OWRD then moved to stay the decision pending appeal, which the Marion

 5    County Circuit Court denied in a letter opinion dated December 17, 2020. A true and correct

 6    copy of the opinion denying OWRD’s motion to stay pending appeal is attached as Exhibit J to

 7    this declaration.

 8             15.        OWRD then moved for reconsideration of an earlier motion to dismiss. The

 9    Marion County Circuit Court again denied this motion on January 8, 2021. A true and correct

10    copy of the order denying OWRD’s motion for reconsideration is attached as Exhibit K to this

11    declaration.

12             16.        Even after these denials, OWRD has refused to confirm that it will discharge its

13    duties related to the ACFFOD and stop Reclamation from releasing stored water without a water

14    right. Because of this, KID filed a motion seeking an order to show cause in re: contempt against

15    OWRD. A true and correct copy of that order setting a hearing to show cause in re: contempt is

16    attached as Exhibit L to this declaration.

17             17.        I have reviewed a prior memorandum filed by Reclamation in this case opposing

18    a requested stay by certain water users that makes clear Reclamation knows water must be

19    distributed in accordance with the ACFFOD unless a stay is granted. A true and correct copy of
20    this memorandum is attached as Exhibit M to this declaration.
21             I declare under penalty of perjury under the laws of the State of Oregon that the foregoing
22    is true and correct.
23

24                                                            ____________________________________
                                                              Nathan Rietmann
25

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Page 3 -    DECLARATION OF NATHAN RIETMANN
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  Case 1:21-cv-00504-AA   Document 1-1   Filed 04/05/21   Page 48 of 292




Declaration of Nathan Rietmann In Support of
  Klamath Irrigation District's Motion for
           Preliminary Injunction


                          Exhibit "A"
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                                      BEFORE THE DIRECTOR
                              OF THE WATER RESOURCES DEPARTMENT
                                     OFTBESTATEOFOREGON


                      KLAMATH BASIN GENERAL STREAM ADJUDICATION



In the Matter of the Claim of                                    )             CORRECTED PARTIAL ORDER OF
ADY DISTRICT IMPROVEMENT                                         )             DETERMINATION
COMPANY;COLLINS PRODUCTSLLC;                                     )
MARJORIE DNINE; VICTOR DNINE;                                    )             Water Right Claims (OAH Case 003):
ENTERPRISE IRRIGATION DISTRICT;                                  )
DAYID GRIFFITH; GARY GRIFFITH;                                                 194 (Griffith/Devine);
KAREN GRIFFITH; NORA GRIFFITH; DON                               )
JOHNSTON AND SON; EARL KERNS;                                    )             211 (Leeland Woods Trust);
SHIRLEY KERNS; KLAMATH BASIN                                     )             285 (Lilly);
IMPROVEMENT DISTRICT; KLAMATH                                    )
DRAINAGE DISTRICT; KLAMATH                                       )             289,290,291,292,293, 294,295,296,
IRRIGATION DISTRICT; LELAND WOODS                                )             297,298,299 (Bureau of Reclamation);
TRUST; EDNA LILLY; JOHN LILLY;                                   )
                                                                               312, 317 (U.S. Fish and Wildlife
BRADLEY S. LUSCOMBE; MALIN                                       )
IRRIGATION DISTRICT; MIDLAND                                     )             Service);
DISTRICT IMPROVEMENT COMPANY;                                    )             321-1, 321-2, 321-3, 321-4, 321-5~
MODOCLUMBERCOMPANY; PlNE                                         )             321-6, 321-7, 321-8, 321-9, 321-10,
GROVE IRRIGATION DISTRICT; PIONEER                               )             321-11, 321-12, 321-13, 321-14,
DISTRICT IMPROVEMENT COMPANY;
PLEVNA DISTRICT IMPROVEMENT CO;                                  )             321-15, 321-16, 321-17, 321-18, 322-1,
POE VALLEY IMPROVEMENT DISTRICT;                                 )             322-2,322-3, 323-l,323-2,323-3,324
REAMESGOLFANDCOUNTRYCLUB                                         )             Q(lamath Project Water Users)
INC; SHASTA VIEW IRRIGATION                                      )
DISTRICT; SUNNYSIDE IRRIGATION                                   )
DISTRICT; TIJLELAKE IRRIGATION                                   )
DISTRICT; UNITED STATES                                          )
DEPARTMENT OF INTERIOR, U.S.                                     )
BUREAU OF RECLAMATION; UNITED                                    )
STATES DEPARTMENT OF INTERIOR,                                   )
U.S. FISH AND WILDLIFE SERVICE; VAN                              )
BRJMMER DITCH COMPANY; WINEMA
HUNTING LODGE; RANDY WALTHALL                                    )
AND INTER-COUNTY TITLE COMPANY                                   )
                                                                 )
                                                                 )

The GENERAL FINDINGS OF FACT of the                       FINAL ORDER OF DETERMINATION                       is incorporated as if set
forth fully herein.


CORRECTED PARTIAL ORDER OF DETERMlNATION for OAH CASE 003

Claims 194,211, 28S, 289, 290,291 , 292, 293, 294, 295, 296,297,298,299,312, 317, 321-l, 321-2, 321-3, 321-4, 321-5, 321~. 321-7, 321-8,
321-9. 321-10. 321-11, 321-12, 321-13, 321-14, 321-15, 321-16, 321-17, 321-18, 322-1, 322-2. 322-3, 323-1, 323-2, 323-3, and 324

                                                              Page: 1 of271



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          Case 1:21-cv-00504-AA                       Document 1-1                Filed 04/05/21              Page 50 of 292




               Findings ofFact Pertaining to Identity ofKPWU and Relationship ofKPWU
                          to Irrigation Districts and Beneficial Users of Water

                73.     Certain parties collectively referred to as "Klamath Project Water Users" or
                ''KPWlI'' filed claims jointly. KPWU consists of KID, KDD, KBID, ADIC, EID,
                MID, MDIC, PGID, PDIC, PVID, SVID, SID, TID, Johnston, Modoc, Luscombe,
                Walthall and Inter-County Title, Reames, Winema, and VBDC.

                74. Each of the KPWU is a distinct claimant. (See, e.g., OWRD Ex. l, at 6938.,
                6950-6998.) The claims of KPWU were filed jointly due to the common reliance
                on specific appropriations as the basis for the water rights claimed, and due to the
                inter-related nature of the use of water in the Klamath Project. (Van Camp Direct,
                1 14; OWRD Ex. 1 at 6937, 6946.) Except when otherwise identified, each of the
                KPWU asserted an undivided interest in each right claimed, appurtenant to all
                lands within their claims. In general, water is delivered to land within the KPWU
                claims pursuant to contracts between Reclamation and (I) members of KPWU or
                (2) landowners on whose behalf KPWU claims are asserted, or pursuant to
                contracts between members of KPWU and Reclamation wider which a KPWU
                member has committed to deliver water to another party who is a party to a
                contract with Reclamation. (See, e.g., Van Camp Direct, 114.)

                75. Members of KPWU who are not themselves landowners or who do not
                themselves own all of the land identified as the place of use in a claim have filed
                their claims in the following manner as illustrated by KID (OWRD Ex. 1,
                p. 7030):

                Claimant:             Klamath Irrigation District (KID), on behalf of itself and its
                                      members and on behalf of all landowners and holders of
                                      possessory interests in land and holders of title within the KID
                                      and on behalf of landowners and holders of possessory
                                      interests in land and holders of title in Oregon and served by
                                      KID's distribution system and on behalf of any entities who
                                      bave authorized the KID to file on their behalf. . ..

                76. The following persons originally among the KPWU withdrew their claims:
                Don Vincent, Ralph Steams, Gary Orem, Berlva Pritchard, and Klamath Hills
                District Improvement Company. (See Van Camp Direct, ,r 14.) In addition, in
                other documents in this adjudication proceeding, Collins and Plevna are identified
                as among the KPWU. Collins and Plevna filed claims separately (Claims 289
                and 290), and on the KPWU claims as filed were not joint claimants with the
                other KPWU parties. Collins and Plevna~s individual claims are discussed
                separately below.




CORRECTED PARTIAL ORDER OF DETERMINATION for OAH CASE 003

Claims 194, 21 l , 285, 289, 290, 291,292, 293,294, 295, 296, 297; 298, 299, 312, 317. 321-1, 321-2, 321·-3, 321-4, 321-5, 321-6, 321-7, 321-8,
321-9, 321-10, 321-1 I, 321-12. 321-13, 321-14, 321-IS, 321-16, 321-17, 321-18, 322-1, 322-2, 322-3, 323· 1, 323-2. 323-3. and 324

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          Case 1:21-cv-00504-AA                      Document 1-1                Filed 04/05/21             Page 51 of 292



           B. Water was applied to beneficial uses with reasonable diligence

               The United States argues that compliance with the procedure set forth in the 1905 Act
           is sufficient to establish a vested water right. As described in detail in Section I.K.4
           below, OWRD concludes that a vested water right cannot be established under the 1905
           Act without application of water to a beneficial use. OWRD therefore addresses the
           ev idence of application of water to a beneficial use and concludes that, as to the place of
           use set forth herein for each claim recognized in this Partial Order of Determination with
           a May 19, 1905 priority date, water was applied to beneficial use with reasonable
           diligence. 13

               The Findings of Fact set forth, in detail, the extensive efforts made to construct and
           complete the Klamath Project works and to applywater to beneficial uses. These efforts
           stretched over a period of more than 60 years, with the completion ofthe Klamath Project
           occurring in 1972. By the time of its completion, the Klamath Project was capable of
           serving over 220,000 acres. Not all of this land is irrigated in any given year. In 1972, for
           example, 193,160 acres were irrigated. (Bunse Direct, ,r 82.) In 1951 , this figure was
           approximately 190,000 acres. (Wee Direct, ,r 56.)

              Importantly, the evidence shows continual effort throughout the 60-plus year period
          to expand water storage capacities, irrigation works and put more land under irrigation,
          with the vast majority of the work having been completed within 46 years. While such a
          period is beyond what would be considered reasonable diligence for a small irrigation
          developm.e nt, it is warranted given the size and complexity of the Klamath Project and
          the absence of any considerable gaps in development efforts. Comparatively lengthy
          periods have been considered to constitute diligent development for other significant, but
          considerably smaller irrigation projects in Oregon. See, e.g., Wapinitia Irrigation Co. v.
          Water Users Corp. of Juniper Flat, 141 Or 504, 507-08 (1932) (34-year development
          period for development of 12,000 acres of irrigation considered reasonable); In re Water
          Rights of Deschutes River and Tributaries, 134 Or 623~ 641, 676 (1930) (20-year
          development period for development of 48,000 acres considered reasonable). See also
          GENERAL CONCLUSIONS OF LAW CONCERNrNG PRE-1909 CLAIMS. Based on tbe facts in
          this case, OWRD concludes that water was applied to a beneficial use with reasonable
          diligence on the place of use set forth in the Water Right Claim Description for each
          claim recognized in this Partial Order of Determination with a May 191 1905 priority
          date.

           C. Purposes of Use

             The permissible purposes of use for the water rights arising under the May 19, 1905
          Notice are defined by several principles. First, under ORS 539.210 and OAR 690-030-

13
  Both the United States and KPWU contend that the l 905 Act dispensed with the c ommon law requirement that, in
order to establish a vested water right, water must be applied to a beneficiaJ use with "reasonable diligence." See
GENERAL CONCLUSIONS OF LAW CONCERNING PRE-1909 CLAIMS. Because OWRD concludes that water was
applied to the descnoed place of use with reasonable diligence, it is unnecessary to .reach this question.
CORRECTED PARTIAL ORDER OP DETERM1NATI0N for OAfl CASE 003

Claims 194,2 11, 28S, 289, 290, 291, 292,293,294,295, 296, 297, 298, 299, 312, 31 7, 321-1, 321-2, 321-3, 321-4, 321-5. 321-6, 321-7, 321-8,
321-9, 321-10, 321-11, 321-12, 321- 13, 321- 14, 321-15, 321-16, 321-17, 321-18, 322-1, 322-2, 322-3, 3 23-1, 323-2, 323·3, and 324

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          0085, the purposes of use that may be recognized are limited to those which have been
          properly claimed. Second, the use of water must be recognized as a beneficial use under
          Oregon law. Third, the water must have been applied to the beneficial use claimed.
          Fourth, the purposes of use may be limited by the United States' characterization of the
          intended appropriation as described in the May 19, 1905 Notice. Finally, because the
          United States was authorized to make the May 19, 1905 Notice under the Reclamation
          Act of 1902, 43 USC §§ 372 et seq., 32 Stat 388 ("Reclamation Act"), the permissible
          purposes of use may be limited by the Reclamation Act.

              The United States' claims based on the May 19, 1905 Notice include the purposes
          "provided for by ...the Reclamation Act, as amended and supplemented, including
          irrigation, reclamation, domestic, and other authorized uses." (OWRD Ex. 1 at 01254 and
          02921.) KPWU's equivalent claims initially identified "irrigation and stock" as the
          -purposes of use. (See, e.g., OWRD Ex 1. At 06925.) KPWU subsequently clarified that
          certain of the uses it had considered to be "irrigation" might be more appropriately
          considered "domestic" or "municipal" uses. (OWRD Ex. 1 at 07843.) Finally, in
          testimony, KPWU further clarified that there are no separate diversions of water for stock
          uses and that there is no municipal use within the Klamath Project. (Van Camp Direct at
          1 16.) KPWU's claimed purposes of use, as clarified, are therefore irrigation and
          domestic uses, with stock water use incidental to irrigation.

              Irrigation, domestic, and incidental stock water uses, in addition to the use of water
          for storage were each recognized as beneficial uses under Oregon law at the time of the
          May 19, 1905 appropriation. Each of these claimed uses remains a recognized beneficial
          use under Oregon law today. OAR 690-300-0010.

             The evidence shows that water has been put to beneficial use within the Klamath
          Project for irrigation, domestic and incidental livestock uses, and storage of water.

              The May 19, 1905 Notice provides that "the United States intends to use the above
          described waters in the operation of works for the utilization of water in the State of
          Oregon under the provisions of the act of Congress ... known as the Reclamation Act."
          The Reclamation Act therefore defines and limits the purposes of use that the United
          States intended to and could permissibly develop under the May 19, 1905 Notice.

              Section I of the Reclamation Act provides that the reclamation fund established by
          the Act is to be used for ''the construction and maintenance of irrigation works for the
          storage_, diversion, and development of waters for the reclamation of arid and semiarid
          lands ... /' A relevant dictionary definition of reclamation is "'[t]he process of bringing
          economically unusable land to a higher dollar value by physically changing it; e.g.
          draining a swamp, irrigating desert, replanting a forest." Black's Law Dictionary 880 (6th
          Edition, Abridged 1991).

             Each of the uses c laimed and put to beneficial use within the Project fall within the
          definition of "reclamation," with one exception. In its Claims 312 and 317, which
CORRECTED PARTIAL ORDER OF DETERMINATION for OAH CASE 003

Claims 194,211,285,289, 290,291,292, 293, 294,295, 296, 297,298,299,3 12,317, 321·1, 321·2, 321-3, 321-4. 321-5, 321-6, 321-7, 321-8,
321-9, 321 -10, 321-11, 321-12, 321-13, 321-14, 321-15, 321-16, 321-17, 321-18, 322-1, 322-2, 322-3, 323-1, 323-2, 323-3, and 324

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          D. Use of Water for Storage: Claims 294, 322-3, and 324

             KPWU made several claims for storage of water for use by the Project. Claims 322-1,
         and 322-2, are based on alleged storage made prior to the May 19, 1905 Notice. These
         two claims are discussed in Section II, below. Claims 322-3 and 324 are based on the
         May 19, 1905 Notice. Claim 322-3 is for storage of 629.,780 acre-feet of water in Upper
         Klamath Lake and 18,500 acre-feet of water in Lake Ewauna, each with a storage season
         of January 1 through December 31 . For the reasons described in Subsection 1, directly
         below, Claim 322-3 is denied. Claim 324 is for storage of 34,000 acre-feet of water in
         Tule Lake, with a storage season of January 1 through December 31. For the reasons
         described in Subsection 2, below, Claim 324 for storage in Tule Lake is denied.

             The United States also filed a storage claim based on the Notice of Appropriation of
         May 19, 1905. Claim 294 is for storage of 486,828 acre-feet in Upper Klamath Lake,
         with a season of storage of January 1 through December 31. Claim 294 also claims the
         right to store water in Gerber Reservoir, Clear Lake Reservoir, Anderson Rose Reservoir,
         Tulelake Swnp, Wilson Reservoir, Spring Lake, and Keno Reservoir (including Lake
         Ewauna), Harpold Reservoir, Malone Reservoir, Miller Lake and Nuss Lake.

             Claim 294 is allowed for storage of water in Upper Klamath Lake from tributaries
         above Upper Klamath Lake. Gerber Reservoir, Clear Lake Reservoir, Malone Reservoir,
         and Harpold Reservoir are located in the Lost River Basin, which is not a part of this
         Klamath River Basin Adjudication. The remainder of the claimed storage facilities are
         rediversions of water or regulating reservoirs as discussed below.

               1. Storage in Upper Klamath Lake

             The evidence supports a right to store water in Upper Klamath Lake year around, and
         a right to appropriate water from storage in Upper Klamath Lake for agricultural
         irrigation, stockwater and domestic uses during specified seasons of use. As part of its
         original plans for the Klamath Project, Reclamation envisioned construction of a dam at
         the outlet of Upper Klamath Lake. In approximately 1916, Copco, which operated power
         generation facilities downstream of Upper Klamath Lake and on the Klamath River,
         offered that it would itself construct Link River Dam to provide benefit both to Copco
         and the Klamath Project. An agreement was made whereby Copco was allowed to make
         modifications at the outlet of Upper Klamath Lake, and to construct a dam, in order to
         provide storage and regulation of storage. fWee Direct, ,i 47; Bunse Direct, ,i 63; U.S.
         Ex. 10001 at 2935, 2905, 2954, 2947.) The United States has historically stored water in
         and Project irrigators have historically made use of water from Upper Klamath Lake
         between elevation 4143.3 and elevation 4136. (Van Camp Direct at 33.) The best
         estimate of the capacity between these elevations is 486,830 acre-feet. This is the
         <\active" storage capacity of Upper Klamath Lake. The total storage capacity of Upper
         Klamath Lake, including "inactive" storage, is 629,870 acre-feet. Based on these
         capacities, annual volume within Upper Klamath Lake may not exceed 629>870 acre-feet,
         ofwhich486,830 acre-feet is active storage.
CORRECTED PARTIAL ORDER OF DETERMINATION for OAH CASE 003

Claims 194,211,285,289,290,291,292,293,294,295, 296,297,298,299,312,317, J-21-1, 321-2, 321-3, 321-4, 321-5, 321-6, 321-7, 321-8,
321-9, 321-10, 321-11, 321-12, 321-13, 321-14, 321-15, 321-16, 321-17, 321-18, 322-1, 322-2, 322-3, 323-1, 323-2, 323-3, and 324

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              As described in detail below, the right to store water in Upper Klamath Lake is held
          by the United States. As a result, the United States' Claim 294 is recognized and
          KPWU' s equivalent Claim 322-3 is denied. As described in Section I.K.4, below, the
          right of beneficial use of water in the Project is held by the beneficial users. This applies
          to the right to the use of both live flow and stored water. As a result, KPWU's Claim
          323-3 for appropriation of water actively stored in Upper Klamath Lake is recognized
          within Klamath Project Consolidated Claim 321-17/293/323-3. Because the source of
          water in Lake Ewauna is Upper Klamath Lake via the Link River, it is treated as a
          regulating reservoir rather than as a source of water. As a result KPWU' s Claim 323-3
          for appropriation of water from Lake Ewauna is denied. Finally, K.PWU 1s Claim 324 is
          denied for the reasons set forth below.

          2. Storage in Tule Lake Sump, Lower Klamath Lake and Miller Lake

             KPWU's Claim 324 is a claim for storage of water in Tule Lake. By granting Claim
          294, the Proposed Oroer recognizes Tule Lake Sump and areas of Lower Klamath Lake
          and Miller Lake as "regulating" facilities or reservoirs. OWRD clarifies the
          char~terization of these water bodies as follows.

              Tule Lake Sump has no known natural outlets. (Mayer Direct at 17.) As natural
          "storage," it is neither necessary nor appropriate to recognize a separate right for storage
          in the Tule Lake Sump, as Claim 324 asserts. Water is pumped at the D Pumping Plant
          from Tule Lake Sump to the P Canal system and Lower Klamath NWR. (Lesley Direct at
          68.) The D Pumping Plant is effectively a point of recliversion that makes use of return
          flows and water entering Tule Lake Sump from operations of irrigation works. Such
          rediversion and use of return flows is permitted under the rights claimed pursuant to the
          Reclamation Act and the Act of 1905. Tule Lake Sump's natural storage role should be
          recognized within the context of Project operations, but no separate storage right should
          be recognized. Claim 324 is denied.

              Similarly, water '~stored" in areas of Lower Klamath Lake and Miller Lake is either
          return flow or water already diverted for use in the Project. The United States is entitled
          to reuse of return flows within the Project, and may similarly utilize rediversion facilities
          for the permissible purposes of the Project. The United States has not claimed a segarate
          storage right for storage in these areas; therefore, no separate right is recognized. It is.


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   In any event, it is not possible to determine from the evidence in the record the volume of water that is artificially
stored, or the area in which it is stored. The record does demonstrate that these areas historically included natural
storage in the fonn of Lower Klamath and Miller Lakes, and that water in these areas can only be characterized as
artificial storage to the extent that water is stored in a way that it would not naturally have occurred. The record also
demonstrates that water was naturally "stored" in Lower Klamath Lake throughout the year at an elevation up to
4084 feet. U.S. Ex. 15008 at I, 2, 42, 49 (Darr, 1923) (lowest measured level of lake was 4084.1, at which elevation
"practically" the entire area was flooded; the measurement was taken on September 15, 1908, at which point the
flood waters would have receded, and outflow to Klamath River would have ceased). Above this, water may have
seasonally flowed back into the Klamath River, In addition, the only attribute that need be recognized of the water
CORRECTED PARTlAL ORDER OF DETERMINATlON for OAH CASE 003

Claims 194,211,285,289,290,291,292,293,294,295, 296. 297,298, 299. 312, 317, 321-1, 321-2, 321-3, 321-4, 321-5, 321-6,321-7, 321-8,
321-9, 321-10, 321-11, 321·12, 321•13, 321-14, 321-15, 321-16, 321-17, 321-18, 322·1. 322-2, 322-3, 323-1, 323-2, 323-3, and 324

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          Reassessment of U.S. Bureau of Reclamation
                   Klamath Project Operations
                  to Facilitate Compliance with
          Section 7(a)(2) of the Endangered Species Act




                This Document is for Decision Purposes Only




                        U.S. Bureau of Reclamation
                 California-Great Basin Region (Region 10)
                            2800 Cottage Way
                        Sacramento, CA 95825-1898




                               January 2021




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                            CHAPTER 1 - PURPOSE AND CONTENT

     The U.S. Bureau of Reclamation, California-Great Basin Region (“Reclamation”) has performed, and
documented herein, a reassessment of actions associated with its continuing operation of the Klamath
Project (Project), in southern Oregon and northern California. These actions were thoroughly and
critically evaluated for the purpose of informing and supporting future consultation with the U.S. Fish and
Wildlife Service (“USFWS”) and National Marine Fisheries Service (“NMFS”; collectively the
“Services”) under Section 7(a)(2) of the Endangered Species Act (“ESA”). This comprehensive
reassessment permitted careful consideration of previously proposed Reclamation actions to:
    1. verify compliance with law and regulation;
    2. clearly define the scope of actions;
    3. correctly attribute actions to the appropriate agency;
    4. ensure that non-discretionary actions are excluded from consultation; and
    5. properly characterize the environmental baseline.
         This reassessment report provides the legal and technical bases for all determinations. It will
serve to support Reclamation’s decisions and to provide guidance for future Reclamation staff. This
report also serves as a record of agency determination to assist in the preparation of a biological
assessment (BA) and the conduct of ensuing ESA consultation, as necessary.
        This report does not evaluate or determine the actual effects of the various activities on listed
species or their critical habitat. Reclamation will determine the effects of actions proposed for inclusion in
ESA consultation during preparation of any subsequent BA(s), as warranted.
         This report entails six primary topics. Chapter 2 summarizes the recent ESA consultation history
and establishes the direction and need for this reassessment. Chapter 3 outlines the salient regulatory
definitions and recent court opinions that provide context for the reassessment. Chapter 4 presents a brief
description of Klamath Project operations. Chapter 5 assesses the need for ESA consultation on each
pertinent aspect of Klamath Project operations. Chapter 6 applies the concept of environmental baseline
to actions proposed in prior consultations. Chapter 7 summarizes the reassessment’s findings, and
documents Reclamation’s decision regarding the need for and/or scope of ESA consultation in connection
with the Klamath Project.
        The structure and format of this reassessment is based on a similar product the U.S. Army Corps
of Engineers prepared in June 2014, for their reservoir operations on the Middle Rio Grande Basin of
New Mexico, and recently upheld by the U.S. Court of Appeals for the 10th Circuit in WildEarth
Guardians v. U.S. Army Corps of Engineers, No. 18-2153 (2020).




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                                     CHAPTER 2 - BACKGROUND

        Chapter 2 provides context and justification for this reassessment of actions associated with
operation of the Klamath Project for purposes of consulting with the Services under Section 7(a)(2) of the
ESA.

2.1      2018 BA, 2019 BIOPS, AND INTERIM OPERATIONS PLAN
        Current ESA compliance for Reclamation’s continued operation of the Klamath Project is
addressed in separate biological opinions (BiOps) issued by the NMFS 1 in 2019 and USFWS 2 in 2020.
These BiOps evaluated Reclamation’s proposed actions described in a BA, dated December 21, 2018 3, as
modified by February and October 2019 amendments, and subsequently, a letter from Reclamation to the
Services dated March 27, 2020.
        The 2018 BA, as modified, constitutes the “Interim Operations Plan” for the Klamath Project,
while Reclamation undertakes a more extensive consultation with the Services. Reclamation reinitiated
consultation with the Services by letter dated November 13, 2019, after the agency became aware of
erroneous data included in the 2018 BA and relied upon by NMFS in its analysis. The Interim Operations
Plan deviates from the operations proposed in the 2018 BA by adding an additional 40,000 acre-feet (AF)
to the Environmental Water Account in certain year types. The Interim Operations Plan is intended to
remain in effect until Reclamation completes the ongoing consultation with the Services, expected to
conclude in the fall of 2022.
        This reassessment provides guidance for Reclamation’s ongoing Section 7(a)(2) consultation; it
does not alter or affect Reclamation’s current ESA compliance, as encompassed in the Interim Operations
Plan.

2.2      CONSULTATION, LITIGATION, AND SETTLEMENT HISTORY
         This summary provides a general picture of ESA consultations by Reclamation over more than
three decades, particularly with respect to the operation of Upper Klamath Lake and resulting flows in the
Klamath River. See section 2 of the 2018 BA for a more comprehensive listing of prior ESA Section
7(a)(2) consultations in connection with the Klamath Project.4
         In July 1988, USFWS listed Lost River sucker (Deltistes luxatus) and shortnose suckers
(Chasmistes brevirostris) as endangered. Reclamation consulted with USFWS the following year on the
effects of aquatic herbicide use within the Klamath Project on these species. This consultation concluded
with USFWS issuing a BiOp determining that Reclamation’s continued use of acrolein in Klamath

1
  Endangered Species Act Section 7(a)(2) Biological Opinion, and Magnuson-Stevens Fishery Conservation and
Management Act Essential Fish Habitat Response for Klamath Project Operations from April 1, 2019 through
March 31, 2024, National Marine Fisheries Serv. (Mar. 29, 2019).
2
  Biological Opinion on the Effects of the Proposed Interim Klamath Project Operations Plan, effective April 1,
2020, through September 30, 2022, on the Lost River Sucker and the Shortnose Sucker, USFWS (Apr. 10, 2020).
3
  Final Biological Assessment on the Effects of the Proposed Action to Operate the Klamath Project from April 1,
2019, through March 31, 2024, U.S. Bur. of Reclamation (Dec. 21, 2018).
4
  To briefly list notable examples, Reclamation consulted with USFWS, in some cases repeatedly, on operation of
Clear Lake Reservoir, Gerber Reservoir, and the Tule Lake Sumps, including releases from Anderson-Rose Dam;
replacement of Clear Lake Dam; use of pesticides and fertilizers on federal lease lands and federal rights-of-way;
private algae harvesting operations on Upper Klamath Lake; Agency Lake-Barnes Ranch pumped storage
operations; and modifications to the A Canal headworks and Link River Dam to reduce fish entrainment.


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Project canals and drainage ditches, as traditionally applied, was likely to jeopardize the continued
existence of Lost River and shortnose suckers and proposing a number of Reasonable and Prudent
Alternatives (RPA) intended to avoid jeopardy.
        In August 1991, Reclamation completed a consultation on the effects of overall Project operations
on Lost River and shortnose suckers and bald eagles. USFWS determined that the proposed operations for
1991 would likely to jeopardize Lost River and shortnose suckers, but not bald eagles. USFWS’ BiOp
included an RPA requiring a minimum water surface elevation in Upper Klamath Lake of 4,142.1 feet
between March 15 and May 5, and 4,242.4 feet between May 6 and June 15. 5
         Drought conditions in 1992 indicated that Reclamation would be unable to achieve the required
elevation of 4,142.1 feet by March 15, triggering Reclamation to reinitiate consultation with USFWS on
the effects of proposed 1992 operations. The consultation, completed in July 1992, found that
Reclamation’s proposed operation of the Klamath Project from April 1992 through March 2001 would
likely jeopardize Lost River and shortnose suckers, but not bald eagles.
        For Upper Klamath Lake, USFWS’ 1992 BiOp required as an RPA that Reclamation maintain
water surface elevations at not less than 4,141.0 feet and a maximum increase in elevation of one foot
from March 1 through April 30 of each year, or until 80 percent of sucker spawning had occurred.
Additionally, the BiOp required a water surface elevation of 4,141.0 feet by May 31 and at least 4,139.0
feet from June 1 through the end of February. To comply with the BiOp terms, these latter two elevations
could be “compromised” no more than two consecutive years regardless of the time period, and in no
more than four years during the ten-year term of the BiOp.
         In March 1995, NMFS issued a proposed rule listing Klamath Mountains Province (KMP)
steelhead (Oncorhynchus mykiss irideus) as a threatened species under the ESA. Reclamation consulted
with NMFS on the effects of the 1995 operations plan on KMP steelhead, and in April 1995, NMFS
concurred with Reclamation’s conclusion that the proposed operations were unlikely to jeopardize the
species.
        In 1995 Reclamation began operating the Klamath Project in accordance with annual operations
plans that specified designated water surface elevations in Upper Klamath Lake and flows in the Klamath
River. As a starting point, the flows in the Klamath River were based on the requirements in PacifiCorp’s
1956 license from the Federal Energy Regulatory Commission (FERC) for minimum releases from Iron
Gate Dam, notwithstanding that it is a non-federal facility approximately 40 miles downstream the
Klamath Project.
     In July 1995, NMFS issued a proposed rule to list Southern Oregon-Northern California Coast
(SONCC) coho salmon (Oncorhynchus kisutch) as threatened under the ESA.
        Large fish mass-mortality (i.e., “die-off”) events in Upper Klamath Lake in 1995 and 1996 in part
led Reclamation to reconsider minimum water surface levels in the lake. Beginning in 1997 Reclamation
agreed to manage Upper Klamath Lake to achieve a minimum September 30 water surface elevation of
4,139.0 feet. That same year NMFS also officially listed SONCC coho as threatened.




5
  All water surface elevations identified in this report are with respect to the Bureau of Reclamation datum specific
to the facility.

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       In March 1998 NMFS determined that listing KMP steelhead was unwarranted, based in part on
evidence that the fish were at a lower risk of extinction than at the time of the proposed listing.6
         In March 1999, Reclamation requested formal Section 7(a)(2) consultation under the ESA on the
effects of Project operations on coho salmon. NMFS’ resulting July 1999 BiOp determined that
Reclamation’s proposed annual operations plan would likely adversely affect, but not jeopardize the
continued existence of SONCC coho or its critical habitat. NMFS determined, however, that more
information was necessary in order to fully understand the relationship between Iron Gate Dam releases
and available coho habitat and water quality in the Klamath River, particularly during the summer
months. NMFS also relied on the fact that Reclamation had committed to obtain additional information
and analyses to assist in developing future operations plans.
        In August 1999, a Department of Interior-commissioned scientific assessment of the flow needs
of anadromous species in the Klamath River basin – known as Phase I of the “Hardy Report” – provided
interim recommendations on minimum monthly flow levels for the mainstem of the Klamath River
needed to support aquatic life. 7
         In 2000, Reclamation issued an annual operations plan providing for certain flows at Iron Gate
Dam, but Reclamation did not consult with NMFS about the effects due primarily to delays in obtaining
the information necessary to inform the consultation. The Pacific Coast Federation of Fishermen’s
Associations (PCFFA) filed suit in the U.S. District Court for the Northern District of California, and in
an April 2001 opinion, the court ultimately granted PCFFA’s motion for summary judgment, finding that
Reclamation had failed to comply with ESA before implementing the 2000 operations plan. 8
        At the time, Reclamation also had to reconsult over the effect to endangered Lost River and
shortnose suckers, with expiration of USFWS’ 1992 BiOp. In February 2001, Reclamation issued a BA
proposing to operate the Project consistent with historical operations, including for Upper Klamath Lake,
thereby meeting or exceeding minimum levels that occurred during the period from 1960 to 1998.
         In March 2001, USFWS issued a jeopardy BiOp, with an RPA requiring, among other conditions,
that water not be diverted from Upper Klamath Lake for irrigation purposes if surface elevations were
anticipated to go below certain designated water surface elevations, ranging between 4,141.0 feet and
4,142.5 feet at nine separate dates throughout the year (January 1, February 15, March 15, April 15, June
1, July 15, August 15, September 15, and October 15), regardless of inflow year type.
         USFWS’ 2001 BiOp recognized that there would be circumstances in which Reclamation could
not meet both the RPA for specific lake levels and NMFS’ anticipated RPA for river flows. The BiOp
established a process for how these situations would be addressed. An appendix specified that, for 2001,
Upper Klamath Lake water surface elevations were not to fall below 4,139.0 feet on September 30.
        The April 2001 opinion from the district court also enjoined Reclamation from making irrigation
deliveries that year if flows in the Klamath River dropped below the minimum flows recommended in the
Phase I Hardy Report until the consultation process with NMFS was complete. 9 Three days later, NMFS
issued a jeopardy BiOp on Reclamation’s February 2001 BA. NMFS’ BiOp included an RPA that

6
  This decision was subsequently overturned by the U.S. District Court for the Northern District of California in
October 2000, but the agency nevertheless again determined in April 2001 that the species did not warrant listing.
7
  Thomas B. Hardy, Evaluation of Interim Instream Flow Needs in the Klamath River – Phase I, Utah State Univ.
(1999).
8
  PCFFA v. U.S., 138 F. Supp. 2d 1228 (2001).
9
  Id.

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provided for flows of 1,850 cubic feet per second (cfs) between April 1 and June 30, followed by 1,000
cfs through September. To comply with this RPA and USFWS’ RPA, Reclamation could not make any
water available from Upper Klamath Lake for delivery to Project irrigators at the start of the irrigation
season.
        Phase II of the “Hardy Report” was released in November 2001. 10 The report used site-specific
habitat modeling and estimates of the unimpaired flows in the main stem to arrive at a recommendation
for flows for each river reach.
       Following 2001, the National Research Council (NRC) was asked by the Departments of Interior
and Commerce to independently review the scientific and technical validity of the government’s BiOps.
NRC’s interim report was released in February 2002.11
        Among other findings, NRC’s report found no scientific support for the flow recommendations in
the NMFS’s BiOp. 12 But the report also found that no justification for the proposed action in
Reclamation’s 2001 BA, concluding that it “could lead to more extreme suppression of flows than has
been seen in the past...” 13 Overall, the report concluded that “there is no convincing scientific justification
at present for deviating from flows derived from operational practices in place between 1990 and 2000.” 14
         With regard to Upper Klamath Lake, the report found that there was no clear empirical evidence
for a relationship between water levels and mass-mortality events for fish. At the same time, with regard
to Reclamation’s 2001 BA, NRC found “no scientific basis for operating the lake at mean minimum
levels below the recent historical ones (1990-2000)”, and that these operations “would require acceptance
of undocumented risk to the suckers.” 15
        In February 2002, Reclamation issued a new BA, which proposed, for April 2002 through March
2012, in addition to numerous conservation measures, varying both river flows and lake levels by “water
year type.” For each type of water year, Reclamation used the historical average flow and lake levels over
the previous ten-year period (1990 to 1999) to set its operational targets. In addition, Reclamation
proposed to establish a “water bank” to make up to 100,000 total AF of water available to meet river
flows. These conditions resulted in levels in Upper Klamath Lake in “critically dry” years between
4,137.1 feet (September) and 4,142.0 feet (March), and an overall mean lake level, across all year types of
approximately 4,139.0 feet.
          In May 2002 both USFWS and NMFS issued jeopardy opinions on Reclamation’s proposed
action.
        USFWS’ RPA did not prescribe specific alternative water levels in the lake, but rather that
Reclamation, among other conditions: 1) use the 50-percent, instead of 70-percent, exceedance forecast
for seasonal inflows; 2) reduce entrainment of suckers at Link River Dam; and 3) evaluate factors


10
   Thomas B. Hardy and R.C. Addley, Evaluation of Interim Instream Flow Needs in the Klamath River – Phase II,
Utah State Univ. (2001).
11
   National Research Council, Scientific Evaluation of Biological Opinions on Endangered and Threatened Fishes in
the Klamath River Basin (2002).
12
   Id. at p. 27. NMFS later attributed NRC’s conclusions to “lack of information on distribution and abundance of
coho ... and the lack of studies focused on coho and factors limiting its population in the Klamath River Basin.” In
its 2002 BiOp, NMFS did not dismiss the NRC report, but did not adopt its conclusions in full.
13
   Id.
14
   Id.
15
   Id. at p. 4.

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affecting water quality in Upper Klamath Lake, potential actions to reduce fish die-offs, and ongoing
sucker population monitoring.
         NMFS’ RPA was broken into three phases, gradually leading (by 2010 and 2011) to minimum
flows in the Klamath River varying between 1,000 cfs (July-September) and 1,500 cfs (April-May), based
in part on the Phase II Hardy Report. The RPA was based around the principle that Reclamation should
bear responsibility for only the share of water losses attributable to the Klamath Project. Because the
Project represented approximately 57 percent of the irrigated land in the basin, the RPA provided for
Reclamation to provide 57 percent of the water needed for coho and to establish an intergovernmental
workgroup to “develop” the other 43 percent. The RPA permitted Reclamation to use its “water bank” to
provide its share of the water. These flows increased based on the water year type (i.e., dry, below
average, average, above average, wet).
         In September 2002, a large fish mass-mortality event occurred in the lower Klamath River,
resulting in over 34,000 dead fish, mostly adult Chinook salmon. PCFFA subsequently sued NMFS over
its 2002 BiOp.
         In July 2003, the U.S. District Court for the Northern District of California overturned part of the
RPA, finding the requirement that Reclamation provide only 57 percent of the long-term flows to be
arbitrary and capricious. 16 The court concluded that the NMFS had considered the effects of actions that
were not “reasonably certain to occur” when it determined that the coho would receive 100 percent of the
flows through a collaborative process. 17 However, the court determined that the short-term measures –
phases 1 and 2 – were not arbitrary and capricious. The court ordered NMFS to revise its BiOp with
respect to Phase III of the RPA, but provided that the interim measures, phases 1 and 2, would remain in
effect pending a revised BiOp. 18
         The Ninth Circuit, in October 2005, overturned the district court’s ruling, finding that NMFS’s
decision to delay the provision of the full quantity of water for eight years was not supported by the
record. 19 The BiOp contained no analysis of the effect on coho during the first eight years of the RPA,
despite the species’ three-year life cycle. On remand, in March 2006, the U.S. District Court for the
Northern District of California ordered Reclamation to comply with 100-percent of the RPA’s Phase III
flows until completion of a Section 7(a)(2) consultation. 20
         Beginning in 2005, stakeholders in the Klamath Basin began a settlement process to address the
conflicts over water that had emerged since the 1990s. These settlement discussions involved all major
water user communities and Klamath Basin Tribes and covered a broad number of topics that were
included in several documents, including the Klamath Basin Restoration Agreement (KBRA) and the
Klamath Hydroelectric Settlement Agreement (KHSA).
        With respect to the management of Klamath Project features by Reclamation, the settlement
negotiations began to form around certainty in allocations for irrigation purposes, accompanied by a
designated plan to reduce irrigation demands in years when the available supply would be inadequate.
       In October 2007 Reclamation issued a new BA on proposed operations from April 2008 through
March 2018. Reclamation was not at the time required to reconsult with USFWS, but it elected to because

16
    PCFFA v. U.S., No. 02-2006 SBA (N.D. Cal. Jul. 15, 2003).
17
   See PCFFA v. U.S., 426 F.3d 1082, 1089 (9th Cir. 2005).
18
   Id. at 1090.
19
   Id. at 1091.
20
   PCFFA v. U.S., No. 02-2006 SBA (N.D. Cal. May 24, 2006).

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Reclamation had encountered difficulties in implementing the proposed action described in the 2002 BA.
One reason was because seasonal inflows to Upper Klamath Lake between 2002 and 2007 were different
from those that occurred in the 1990s, being generally drier and this made it difficult for Reclamation to
operate to an annual UKL elevation curve that closely fit the period of record.
        The other problem was with the use of year types and the fact that monthly inflows could vary,
regardless of overall net inflow. As a result, there were times that actual monthly inflows were less than
what was needed to meet Upper Klamath Lake elevations despite the projection that lake elevations
would be met based on the forecast net annual inflow. Additionally, the forecasted net annual inflow did
not always accurately represent the actual net inflow.
        The 2007 BA proposed minimum Upper Klamath Lake elevations as low as 4,137.5 feet
(September). No minimums were specified for October through January. A model indicated that lake
levels would remain above 4,138.9 feet in 70 percent of the years. The BA also included an “Interactive
Management” process to distribute “surplus water” between the Klamath River and Upper Klamath Lake.
For the Klamath River, the BA proposed minimum flows ranging between 1,000 cfs (July-September)
and 1,500 cfs (April-May), increasing under wetter conditions.
        In April 2008, USFWS issued a non-jeopardy opinion on Reclamation’s proposed action. In June
2008, NMFS issued a draft jeopardy opinion with no RPA. A later version of the draft BiOp included an
RPA that Reclamation deemed unacceptable in terms of shortages to the Project. After further discussion,
a revised RPA was developed that reduced the shortages to the Project, but which Reclamation still felt
was unsupported by the science and would conflict with Reclamation’s proposed action with respect to
Upper Klamath Lake water surface elevations specified in USFWS’ 2008 BiOp. In October 2008
Reclamation notified NMFS it was suspending the consultation. Reclamation decided to operate the
Project under USFWS’ 2008 BiOp and NMFS’ 2002 BiOp (Phase III flows).
         In February 2010, the non-federal parties, including the Klamath Tribes and the Yurok Tribe,
signed the KBRA. As negotiated, the KBRA provided for an annual fixed irrigation supply for the
Klamath Project from Upper Klamath Lake and the Klamath River, and a commitment by the respective
tribes, subject to certain conditions and considerations, to not exercise their senior water rights to curtail
agreed-upon diversions by the Klamath Project.
        Shortly after execution of the KBRA, Reclamation requested that NMFS finalize its opinion on
Project operations from 2008 to 2010, consistent with the same RPA proposed when the 2008
consultation was suspended. Five days later, NMFS issued a jeopardy BiOp with a two-part RPA,
providing for fall-winter flow variability and increased spring flows in average and wetter years.
Additionally, the RPA specified minimum flows anticipated to be observed at Iron Gate Dam from March
through September, ranging from 805 cfs (July) to 1,325 cfs (April), increasing under wetter conditions.
Reclamation conditionally accepted NMFS’ BiOp, based in part on its determination that compliance with
the RPA could cause water levels in Upper Klamath Lake to be lower than those analyzed in USFWS’
2008 BiOp.
         Reclamation deliberated on various paths forward, ultimately arriving at the plan to develop a
“coordinated proposed action” in collaboration with the Services, the tribes, and Klamath Project water
users. This collaborative process, which began in 2010, was largely facilitated by existing working
relationships established during negotiation of the KBRA. In December 2012, following three years of




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collaborative technical discussions, Reclamation released a BA, to which USFWS and NMFS responded
in May 2013 with a “joint” non-jeopardy BiOp. 21
         The 2012 BA and 2013 BiOp incorporated a novel operational regime that included an
“Environmental Water Account” for the Klamath River, a “UKL Reserve” for Upper Klamath Lake, and
a fixed “Project Supply” for irrigation. These operational rules had been coded into the programming
logic of a hydrologic model, called the Klamath Basin Planning Model (KBPM). The KBPM was
developed by a technical team that included hydrologists and scientists who represented Reclamation, the
Services, the tribes, and Project water users.
        The central purpose of the KBPM was to test new operational concepts in the context of historical
hydrology, and to facilitate agreement on operations that would produce acceptable outcomes among the
multiple parties. Notably, each of the parties that contributed to development of the KBPM and its novel
operational regime set aside several legal considerations that were anticipated at the time to eventually be
resolved through the enactment of the KBRA into federal law, including state water law, water supply
contracts, federal authorizations, federal tribal trust obligations, and necessary refuge water supplies.
        Reclamation had previously developed and used models to evaluate the effects of different
proposed actions in response to various hydrologic conditions, and thus impacts to listed species. The
major difference was that the KBPM presented a proposed action that departed from basic actions
required for serving the Klamath Project, as defined by Congress and embedded in contracts between
Reclamation and water users within the Project.
         The 2012 BA (as elaborated in the logic code of the KBPM) contained various formulaic means
of governing the operation of water storage in, and outflows from, Upper Klamath Lake, which were
crafted to achieve mutually agreeable, or at least acceptable, hydrologic outcomes among the parties
involved. Therefore, beyond simply being used as a predictive model for evaluating operational
alternatives, the KBPM established formulaic rules for operating the Project intended to achieve agreed-
upon outcomes, including various frequencies of monthly lake levels (to the hundredth of an inch), daily
river flows at Iron Gate Dam (to the cfs), and a water supply for the Project, including the refuges, that
was “locked in” (to the AF), at the beginning of the agricultural season.
        In practice, attempting to manage the Klamath Project – really the entire upper Klamath Basin –
on a daily basis based on a series of set formulas has proven to be operationally challenging, and in some
cases impossible, in addition to being unsatisfactory to many affected stakeholders, including Klamath
Basin Tribes and water users. In short, the KBPM has proven unworkable because factors that are beyond
Reclamation’s control influence hydrology, the status of the listed species, and their critical habitat,
including fish disease dynamics in the Klamath River and water quality in Upper Klamath Lake.
         The novel approach to operating the Project contained in the 2012 BA was predicated in part on
the assumption that the formulaic logic of KBPM would eventually be replaced with an operational
regime governed by the KBRA. 22 While the proposed action in the 2012 BA did not represent the KBRA,
it was intended as a step in transitioning toward operations anticipated to occur under the KBRA.



21
   In addition to coho salmon, the 2013 BiOp also analyzed the effects of project operations on the southern Distinct
Population Segment (DPS) of green sturgeon (Acipenser medirostris) and the southern DPS of Pacific eulachon
(Thaleichthys pacificus).
22
   The 2012 BA also expressly acknowledged that project operations would likely also need to change following the
State of Oregon’s issuance of the Findings of Fact and Order of Determination in the Klamath Basin Adjudication.

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         In January 2016, without any action by Congress to authorize the agreement, the KBRA expired
on its own terms. In July and November 2016, the Hoopa Valley and the Yurok tribes respectively, along
with other parties, filed litigation against the United States in the U.S. District Court for the Northern
District of California. The plaintiffs alleged that Reclamation had failed to reinitiate consultation after the
amount of “incidental take” of coho – as measured by disease rates in Chinook salmon – in both 2014 and
2015 exceeded the take limit in NMFS’ portion of the 2013 BiOp.
         In January 2017, Reclamation reinitiated consultation with the Services. In February 2017, the
court ordered that, pending completion of Section 7(a)(2) consultation, Reclamation provide two types of
pulse flows (“surface and deep flushing flows” and “emergency dilution flows”) in the Klamath River
intended to mitigate a disease affecting juvenile salmon, while otherwise complying with the 2013 BiOp,
including conditions necessary to protect suckers in Upper Klamath Lake. 23 This was a noteworthy
development, in that the 2012 BA was based in part on an anticipated settlement and were now being
used as a starting point for defining additional measures. From this point further, the balance achieved
through negotiations was no longer possible and any improvement in supply for one party necessitated
actions that would be perceived as reductions for others.
        The pulse flows the court directed were based on four technical memoranda prepared by USFWS,
and a resulting guidance document prepared by the Yurok, Karuk, and Hoopa Valley tribes in January
2017, which provided measures intended to mitigate the effects of Ceratanova shasta infection rates in
coho salmon and Chinook salmon below Iron Gate Dam.
         In December 2018, Reclamation issued a new BA for the proposed period of April 2019 through
March 2024, which built off the KBPM, but that included approximately 50,000 AF of additional water
designated for release to the Klamath River during the spring-summer period, for use in producing, at the
very least, a “surface flushing flow” at Iron Gate Dam of 6,030 cfs for 72 hours. 24 The proposed action
also included a “UKL control logic”, intended to result in end-of-season elevations that cause Upper
Klamath Lake to refill the subsequent year, in order to allow both a flushing flow and provide adequate
water surface elevations in the lake for suckers. In March 2019, NMFS and USFWS issued separate non-
jeopardy opinions on the 2018 BA. 25
         In July 2019, the Yurok Tribe and other parties filed litigation in the U.S. District Court of
Northern California challenging NMFS’ 2019 BiOp and Reclamation’s compliance with the National
Environmental Protection Act. In September 2019, the plaintiffs amended their complaint, further
alleging that Reclamation and NMFS’ analysis was based on erroneous technical data (on available coho
habitat), derived from the Phase II Hardy Report.
      In response to the erroneous data related to available coho habitat, in November 2019,
Reclamation formally requested reconsultation with NMFS and USFWS on Klamath Project operations.
        In February 2020, Reclamation transmitted a final BA on project operations from April 2020
through March 2024, requesting completion of the consultation by the end of March, though
acknowledging that additional time for the consultation would benefit all interested parties.


23
   Yurok Tribe v. U.S., 231 F.Supp.3d 450, 490 (N.D. Cal. Feb. 8, 2017).
24
   Reclamation clarified and amended the proposed action multiple times during the consultation, as further
described in 2.1.
25
   In addition to suckers, coho salmon, the southern DPS of North American green sturgeon, and the southern DPS
of Pacific eulachon, NMFS 2019 BiOp also considered the effects of project operations on the southern resident
DPS of killer whales (Orcinus orca).

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        After further discussions among the parties, in March 2020, Reclamation, NMFS, the Yurok
Tribe, Klamath Project water users, among other parties agreed to a stipulated stay in the litigation, which
was approved by the district court, based on Reclamation following the Interim Operations Plan pending
completion of ongoing consultation. The Interim Operations Plan adds approximately 40,000 AF to the
volume of water from Upper Klamath Lake designated for release to the Klamath River during the spring
and summer period to the 2018 BA, as amended. Based on the agreed upon extended reconsultation,
Reclamation also withdrew its February 2020 BA.
        The practical result for 2020 was that Reclamation made 155,000 AF of water available from
Upper Klamath Lake for irrigation purposes within the Project during the spring-summer season
(approximately one-third the historical demand), while simultaneously releasing approximately 407,000
AF to the Klamath River to achieve designated flows at Iron Gate Dam, amidst inflows to the lake of
approximately 360,000 AF.

2.3     DIRECTION FROM THE SECRETARY OF THE INTERIOR
         In July 2020, Secretary of the Interior David Bernhardt, accompanied by Reclamation’s
Commissioner Brenda Burman, traveled to Klamath Falls, to meet with Klamath Project water users,
tribal leaders, elected officials, and staff from Reclamation, USFWS, and the U.S. Geological Survey.
During their visit, Secretary Bernhardt and Commissioner Burman committed to begin implementing
long-term solutions that more reliably meet the water needs of the Klamath Basin.
        Following the Secretary and Commissioner’s visit to Klamath Falls, legal counsel for the
Klamath Water Users Association and Klamath Irrigation District separately wrote the Secretary,
requesting that the Department of Interior’s Office of the Solicitor review various legal issues related to
Reclamation’s operation of the Klamath Project. In response, the Secretary directed the Office of the
Solicitor to review certain legal issues surrounding the Project.
         In identical letters sent to Klamath Water Users Association and Klamath Irrigation District,
dated November 12, 2020, the Secretary furnished a copy of the Office of Solicitor’ preliminary findings,
indicating that Reclamation’s discretion in operating the Klamath Project is likely constrained by the
contracts providing water to districts and individuals within the Project. Based on this initial review, the
Secretary directed Reclamation, in coordination with the Office of the Solicitor, to review the contracts
and other legal authorities governing the Project. Further, the Secretary directed Reclamation to
“determine what portion of water in the Project is segregable, and thus set aside for irrigation purposes
and unavailable for other purposes.” Such analysis, presented herein, requires proper contextualization of
the ESA among and along with all federal responsibilities and obligations.




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                    CHAPTER 3 - LEGAL CONTEXT OF REASSESSMENT

        Chapter 3 summarizes pertinent legal principles, regulatory definitions, and judicial decisions that
provide the context for this reassessment.

3.1      DEFINING THE AGENCY ACTION
         An agency’s proposed actions are the subject of any BA. Within the context of ESA Section
7(a)(2) consultation, the term “action” is defined as all activities or programs of any kind authorized,
funded or carried out, in whole or in part, by a federal agency. 26 It is Reclamation, not the Services, that
defines the proposed action at issue for consultation27, and those actions should be defined precisely. It is
the action agency that first evaluates the potential effects of its actions on listed species and their habitat,
and provides this, and other information, to the Services. 28 The Services then conduct their own analyses
and provide their opinion as to whether the agency’s proposed action is likely to jeopardize the continued
existence of a listed species or result in the destruction or adverse modification of critical habitat.29

3.2      NON-DISCRETIONARY ACTIONS NOT SUBJECT TO CONSULTATION
         A federal agency must have discretion over an “action” for ESA Section 7(a)(2) to apply to
agency actions.30 Not all agency actions are discretionary. Discretion may not only be constrained or
limited in some manner by legal authorities, but also, as a practical matter, by physical conditions beyond
the agency’s control (e.g., rainfall).
        Where there is no discretion, an agency has no duty to consult.31 An agency may still exercise
independent judgment, but lack some degree of discretion. 32 For example, Reclamation has a
responsibility to prevent civil works from damage and destruction, whatever the cause, so that they
continue to serve their congressionally authorized purposes. Those actions, albeit subject to independent
judgment (i.e., the exact manner to which they occur), are nonetheless non-discretionary.
        The authorized purposes of the facilities and the project can further limit Reclamation’s discretion
in some respects. Congress establishes the purposes for which federal reclamation projects may be used.
        Overall, ESA Section 7(a)(2) cannot serve to override a federal statute or contract mandating
agency action by subjecting such action to further conditions.33 Nor does ESA Section 7(a)(2) require an
agency to consult on non-federal actions for which the agency has no means of control or discretion over.




26
   50 CFR §402.02.
27
   50 CFR §402.14(c)(l).
28
   Id.
29
   16 U.S.C. §1536(b); 50 CFR §402.14(g).
30
   50 CFR §402.03; Nat’l Assoc. of Home Builders v. Defenders of Wildlife, 551 U.S. 644 (2007).
31
   Id. at 665 (“the ESA’s requirements would come into play only when and action results from the exercise of
agency discretion”); see also Department of Transportation v. Public Citizen, 541 U.S. 752, 770 (2004) (“where an
agency has no ability to prevent a certain effect due to its limited statutory authority over the relevant actions, the
agency cannot be considered a legally relevant ‘cause’ of the effect.”) Further, the Supreme Court has recognized
that the legal causation argument in Public Citizen supports “the reasonableness of the FWS’s interpretation of
§7(a)(2) as reaching only discretionary agency actions.” Nat’l Assoc. of Home Builders, 551 U.S. at 665.
32
   Id. at 668 (“while [an agency] may exercise some judgment in determining [an agency action], the statute does not
grant it discretion ...”).
33
   See Platte River Whooping Crane Critical Habitat Maintenance Trust v. FERC, 962 F.2d 27, 33-34 (D.C. Cir.
1992).

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3.3      ANALYTICAL FRAMEWORK – LEGAL AUTHORITIES AND CONSTRAINTS
         Reclamation derives authority for operation of the Klamath Project from the Act of February 9,
1905, which authorized Reclamation to raise and lower water levels in Lower Klamath and Tule lakes,
and any waterbodies connected therewith, in carrying out a federal reclamation project in accordance with
the Reclamation Act of 1902. 34 In their natural condition, these lakes and the connected waterbodies were
interstate navigable waterways, over which Congress has the exclusive right to regulate under the
Commerce Clause of the U.S. Constitution.
         Congress did not place any requirements, conditions, or other express constraints on this authority
over changing water levels, except as generally exist under the Reclamation Act of 1902. From an
operational standpoint, the Reclamation Act of 1902 includes two substantive conditions on
Reclamation’s authority. First, Section 6 provides in part that “title to and the management and operation
of the reservoirs and works necessary for their protection and operation shall remain in the Government
until otherwise provided by Congress”. 35 Second, Section 8 provides that Reclamation, in developing
federal reclamation projects, “shall proceed in conformity with” “the laws of any State or Territory
relating to the control, appropriation, use, or distribution of water used in irrigation”. 36 Section 8 also
protects pre-existing water rights, including reserved water rights. 37 Reclamation’s discretion in operating
the Klamath Project is constrained by these express congressional directives.
        In accordance with Section 6 of the Reclamation Act of 1902, Reclamation must operate the
Klamath Project consistent with other federal laws, including, for example, the ESA. 38 Under Section 8,
Reclamation must also comply with state law on the control, appropriation, use, and distribution of water
in connection with the Klamath Project, provided such state laws are consistent with directives of
Congress. Both these mandates confine Reclamation’s discretion in operating the Klamath Project.
Reclamation has no discretion – except as otherwise directed by Congress – to comply with state law in
acquiring and exercising water rights in connection with a federal reclamation project.39 Lastly, as the
Klamath River is an interstate stream, Congress’ directive in Section 8 regarding protecting vested rights
necessarily pertains to Reclamation’s administration of the Klamath Project.
         Reclamation’s discretion may further be limited by the United States’ contracts with non-federal
entities for water from the Klamath Project, as well as contracts for transfer of operation and maintenance
of federal facilities to non-federal entities. Reclamation has a legal obligation to water users within the
Klamath Project to operate the Project consistent with the contracts between the United States and them.
These contracts generally furnish a water supply from the Project and provide for operation and
maintenance of Project facilities by non-federal entities, subject to certain terms and conditions that vary
by contract. There are also a limited number of contracts between the United States and water users with
rights predating the Klamath Project, which Reclamation is also obligated to operate in accordance with.



34
   33 Stat. 714.
35
   32 Stat. 389, 43 U.S.C. §498.
36
   32 Stat. 390; 43 U.S.C. §383.
37
   Id. (“nothing herein shall in any way affect any right of any State or of the Federal government or of any
landowner, appropriator, or user of water in, to, or from any interstate stream or the waters thereof”); United States
v. Truckee-Carson Irrig. Dist., 649 F.2d 1286, 1298 (9th Cir. 1981), modified, 666 F.2d 351 (9th Cir. 1982), aff’d in
part and rev’d in part on other grounds sub nom.
38
   Section 10 of the 1902 Act, 43 U.S.C. § 373, also directs the Secretary “to perform any and all acts and to make
such rules and regulations as may be necessary and proper” to ensure that Project operations conform to applicable
laws. See United States v. Alpine Land & Reservoir Co., 887 F.2d 207, 212 (9th Cir. 1989); Truckee-Carson Irr.
Dist. v. Secretary, 742 F.2d 527 (9th Cir. 1984), cert. denied, 472 U.S. 1007 (1985).
39
   Ivanhoe Irr. Dist. v. McCracken, 357 U.S. 275, 291-2 (1958). Also see Hennings v. Oregon, 50 Ore. App. 121 (Or.
Ct. App. 1981) (water must be used for the purpose set out in the permit or certificate).

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         Reclamation, as an agency of the United States, serves as trustee for tribal and individual Indian
lands, assets, resources, and treaty and similarly recognized rights. This trust responsibility extends to
three federally recognized tribes in the Klamath Basin – the Klamath, Yurok, and Hoopa Valley tribes –
and further limits Reclamation’s discretion in operating the Klamath Project.40
        Pursuant to Winters v. United States and subsequent case law applying it (the “Winters
Doctrine”), the establishment of Indian reservations such as those of the Klamath, Yurok, and Hoopa
Valley tribes (or other federal reservations such as national parks or national wildlife refuges) implicitly
reserves sufficient water to accomplish the purposes of those reservations. 41 These tribal water rights,
although unadjudicated in certain respects, are nonetheless senior in priority to the water rights associated
with the Klamath Project.42 Reclamation has an obligation to operate the Klamath Project and manage
water resources (including storage and diversions) consistent with the tribes’ senior water rights.43

3.4      ENVIRONMENTAL BASELINE
         The environmental baseline includes the past and present impacts of all federal actions or other
human activities in the action area.44 The environmental baseline also includes the anticipated impact of
all proposed federal projects in the action area that have already undergone ESA consultation. 45 Finally,
the ESA’s consultation requirements are not retroactive to facilities constructed or under construction
prior to its enactment. 46 The statutory definition of environmental baseline also includes present impacts,
meaning ongoing impacts, of state, tribal, local and private actions affecting the species at the same time
as the consultation in progress. 47
         The fact that Reclamation maintains a federal facility that was constructed prior to the ESA for its
congressionally authorized purpose is not an action subject to consultation. The continued presence of a
dam, canal, drain, or other civil works structure cannot reasonably be said to cause modification to the
land, water, or air within the meaning of Section 7(a)(2) of the ESA. Similarly, federal contracts that
existed prior to enactment of the ESA, which limit or otherwise do not provide Reclamation some degree
of discretion, are part of the environmental baseline. 48
        Impacts attributable to environmental baseline may affect the species, but the effects of
environmental baseline are not attributable to an agency’s proposed action. However, the environmental
baseline, cumulative effects, and the effects of the proposed action are all considered by the Services
when they conduct their jeopardy and adverse modification analyses under Section 7(a)(2). 49



40
   Patterson, 204 F.3d at 1214.
41
   207 U.S. 564, 576-77 (1908); see also Cappaert v. U.S., 426 U.S. 128, 139 (1976) (Cappaert); Arizona v.
California, 373 U.S. 546, 597-602 (1963).
42
   Baley, No. 18-1323 at 51.
43
   Patterson, 204 F.3d at 1214; Kandra v. U.S., 145 F. Supp. 2d 1192 (D. Or. 2001). See also Secretary of the
Interior, Order No. 3335, “Reaffirmation of the Federal Trust Responsibility to Federally Recognized Indian Tribes
and Individual Indian Beneficiaries” (Aug. 20, 2014).
44
   50 CFR §402.02.
45
   Id.
46
   6 U.S.C. §1536(c)(l). The date for this exemption is November 10, 1978, the date of the ESA amendments.
47
   USFWS, Endangered Species Consultation Handbook, p. 4-22 (1998) (describing environmental baseline as “an
analysis of the effects of past and ongoing human and natural factors leading to the current status of the species, its
habitat (including designated critical habitat) and ecosystem... The baseline includes State, tribal, local and private
actions already affecting the species or that will occur contemporaneously with the consultation in progress.”)
48
   See e.g., id. at p. 4-26 (“ongoing effects of the existing dam are already included in the Environmental Baseline
and would not be considered an effect of the proposed action under consultation”).
49
   50 CFR. 402.14(g)(4).

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          CHAPTER 4 - BRIEF DESCRIPTION OF THE KLAMATH PROJECT

       Chapter 4 provides a brief description of the Klamath Project in the Klamath Basin of southern
Oregon and northern California.
         Pursuant to Section 2 of the Reclamation Act of 1902, Reclamation initiated surveys of the
Klamath Basin beginning in October 1903. 50 In a report dated November 2, 1903, Reclamation’s
engineer, John T. Whistler, identified the potential feasibility of an irrigation project serving
approximately 200,000 acres. Additional surveys were conducted during the summer of 1904, and based
on that information, the Secretary of the Interior subsequently withdrew over 1.1 million acres of public
lands in late 1904.
       On February 9, 1905, Congress passed an act, subsequently signed into law by President
Theodore Roosevelt, providing that:

        The Secretary of the Interior is hereby authorized in carrying out any irrigation project
        that may be undertaken by him under the terms and conditions of the national
        reclamation act and which may involve the changing of the levels of Lower or Little
        Klamath Lake, Tule or Rhett Lake, and Goose Lake, or any other body of water
        connected therewith, in the States of Oregon and California, to raise or lower the level
        of said lakes as may be necessary to dispose of any lands which may come into the
        possession of the United States as a result thereof by cession of any State or otherwise
        under the terms and conditions of the national reclamation act. 51
         Following enactment of this law, a board of consulting engineers convened in Klamath Falls to
inspect the proposed works. This board ultimately produced a report to Reclamation’s Chief Engineer,
dated May 1, 1905, recommending authorization of a project for reclamation and irrigation of 236,401
acres – approximately 180,000 acres of which was then inundated by Tule and Lower Klamath lakes – at
an estimated cost of $4.4 million.
        The Director of the U.S. Geologic Survey referred the board’s report to Secretary of the Interior,
who subsequently authorized the Project on May 15, 1905. Accordingly, the authorized purpose of the
Klamath Project is to provide a water supply for approximately 230,000 acres of irrigable land and to
reclaim lands within the former beds of Tule and Lower Klamath lakes. Accomplishment of this purpose
includes the authorized incidental purposes of power and flood control. 52
         Four days after the project’s authorization, on May 19, 1905, Reclamation filed a notice with the
State of Oregon, pursuant to state law, of its intentions to appropriate and utilize “all the waters of the
Klamath Basin, constituting the entire drainage basins of the Klamath River and Lost River, and all of the
lakes, streams and rivers supplying water thereto or receiving water therefrom...” 53 This notice forms the
basis for all water rights in the State of Oregon in connection with the Klamath Project. Similar water
right notices were also filed in California, in accordance with California law.



50
   32 Stat. 388; 43 U.S.C. §411.
51
   33 Stat. 714.
52
   Regarding flood control, see “Authority for Construction of Works to Protect Tulelake Area, including Coppock
Bay Lands, from Flooding – Tulelake Division, Klamath Project”, Leland O. Graham, Reg. Counsel, U.S. Bur. of
Reclamation (Sept. 18, 1947); “Authorization of Construction of Certain Flood Protection Works, Klamath Project”,
Leland O. Graham, Reg. Counsel, U.S. Bur. of Reclamation (Oct. 8, 1948). Regarding the incidental authorization
for power development, see “Klamath Power Determination”, Michael L. Connor, Comm., U.S. Bur. of Reclamation
(May 17, 2013).
53
   Act of Feb. 22, 1905, Or. Gen. Laws, 1905, Ch. 228.

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         After letting contracts in late 1905, Reclamation began construction on the project’s “Main
Canal” (i.e., A Canal) in March 1906, and the first deliveries to a small portion of the project began in
May 1907. Work proceeded slowly in the first few years due to unexpectedly high construction costs,
scarcity of local labor and materials, and limited funds available from the Reclamation Fund.
       In the fall of 1910, in accordance with the Act of June 25, 1910 54, a board of engineers of the U.S.
Army examined and reported on the Klamath Project. Based on the board’s recommendation, President
William Howard Taft approved the project as feasible and practicable on January 5, 1911.
          Reclamation continued construction of the Klamath Project over the subsequent decades, adding
new facilities and extending the service area as engineering obstacles were resolved. Land was gradually
uncovered and drained of water. By the early 1960s, construction of the Project was largely complete with
facilities to serve the current service area of approximately 230,000 acres, including 47,000 acres within
two national wildlife refuges.
        In its entirety, the Klamath Project now consists of a complex network of storage and conveyance
works including three large dams and associated reservoirs, four smaller diversion dams, 675 miles of
canals and laterals, 545 miles of drains, and over 50 separate pumping plants.
        The Project’s three storage reservoirs – Upper Klamath Lake, Clear Lake, and Gerber – have a
combined active storage capacity of approximately 1,180,000 AF. Under the 2018 BA, Reclamation
manages the storage and release of water from these reservoirs according to a number of considerations,
as described in Chapter 3.3.
         Upper Klamath Lake is the Project’s primary water source, with over 560,000 AF of storage
capacity and a tributary area of over 3,700 square miles. Regulation of storage and releases from the lake
is controlled by Link River Dam. There is no volume of storage in Upper Klamath Lake designated
exclusively for storing flood flows, although there are specific “flood control elevations” under the 2018
BA, which vary according to current and projected hydrologic conditions and the specific time of year.
        Similar in size, Clear Lake Reservoir has a storage capacity of approximately 527,000 AF and a
drainage area of approximately 700 square miles. Reclamation has designated 153,000 AF of this capacity
exclusively for flood control purposes at all times, meaning the reservoir’s storage capacity for irrigation
purposes cannot exceed 374,000 AF. Between October 1 and the end of February, exclusive flood control
storage increases to 177,000 AF, reducing the space available for storing water for irrigation purposes to
350,000 AF or less.
        Lastly, constructed by Reclamation in 1925, Gerber Dam, on Miller Creek, tributary to the Lost
River, forms a reservoir with 94,270 AF of active storage capacity for a tributary area of 230 square
miles. Under current operating procedures, there is no storage capacity in Gerber Reservoir designated
exclusively for flood control purposes; however, stored water is periodically released as necessary to
avoid flooding the Tule Lake area.
        Reclamation has contractually assigned operation and maintenance responsibility for most of the
Project’s works to three separate irrigation districts, while retaining responsibility for seven facilities –
Link River Dam, Clear Lake Dam, Gerber Dam, the Lost River Diversion Channel, the Lost River
Improved Channel, the P Canal, and the Klamath Straits Drain.
         Reclamation has also entered into contracts with 150 separate entities (e.g., ditch companies,
irrigation districts, drainage districts, improvement districts) and individuals to use water from the
Klamath Project. These contracts differ in the source, quantity, time period, and other conditions on the
use of the project water. Certain contracts afford Reclamation some degree of discretion over the use of



54
     36 Stat. 835.

                                                     17
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water by the entity or individual party to the contract; however, this discretion is often limited or
confined, as more fully discussed in Chapter 5, below.




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CHAPTER 5 - SPECIFIC OPERATION ACTIONS AND ASSESSMENT OF
CONSULTATION REQUIREMENT

         Chapter 5 presents the findings of the reassessment relative to the need for ESA Section 7(a)(2)
consultation for operational actions associated with the Klamath Project, with particular regard to agency
discretion. The technical and legal bases for these determinations are presented individually for thirteen
“actions” that are either identified for ESA Section 7(a)(2) consultation by Reclamation, or for inclusion
in Reclamation BA’s Environmental Baseline. A specific recommendation is presented for each action
considered.
         Notably, inclusion of a given action in the BA environmental baseline only means that the federal
government has no discretion to consult under ESA Section 7(a)(2) and does not necessarily assert that
related non-federal actions are compliant with the ESA (e.g., Section 9 of the ESA), nor does it resolve all
of Reclamation’s legal obligations in connection with operating the Klamath Project.

5.1      STORING TRIBUTARY INFLOW
         The act of storing water, at the most basic level, entails regulating outflow from a reservoir to a
rate less than instantaneous tributary inflow. When outflow is less than inflow, the surface elevation on a
reservoir will increase as water is actively stored. The act of storing water is always evidenced by
increasing water surface elevations.55
        Reclamation’s authorization from Congress is to vary water levels in Upper Klamath Lake and
connected waterbodies “as may be necessary to dispose of any lands which may come into the possession
of the United States as a result thereof by cession of any State or otherwise under the terms and conditions
of the national reclamation act”. 56 As storing water involves raising the water level in Upper Klamath
Lake, this act is within Reclamation’s discretionary authority. However, the purpose of storing water is
non-discretionary, in that Congress expressly provided the purpose this act is to serve (i.e., an “irrigation
project” undertaken by the Secretary “under the terms and conditions of the national reclamation act”).
        Reclamation’s discretion in storing water in Upper Klamath Lake is further confined by state law.
As Upper Klamath Lake lies exclusively within the State of Oregon, in accordance with both the Act of
February 9, 1905 and Section 8 of the Reclamation Act of 1902, Reclamation must follow Oregon law in
acquiring and exercising water rights in connection with storing water in Upper Klamath Lake, to the
extent not inconsistent with federal law. 57
         The United States’ water rights for storing water in Upper Klamath Lake are part of the Klamath
Basin Adjudication, which is an ongoing process in accordance with Oregon law to determine federally
reserved and pre-1909 (state-based) water rights to water from the Klamath River and Upper Klamath
Lake and its tributary streams. 58 The United States waived its sovereign immunity under the McCarran
Amendment and the State of Oregon had jurisdiction to compel the United States to participate in these
still-ongoing proceedings. 59 Reclamation accordingly submitted its claims in regard to storing water in


55
   When the water surface elevation of a reservoir remains constant (i.e., unchanged), inflow is equal to outflow. In
this situation, releases will necessarily consist entirely of tributary inflow and reflect the remainder of whatever
amount of inflow is not otherwise being consumed and/or diverted. These allocations are a simple mass-balancing
exercise, and therefore non-discretionary.
56
   33 Stat. 714.
57
   Id.; 32 Stat. 390, 43 U.S.C. §383. See also Ivanhoe Irr. Dist. v. McCracken, 357 U.S. 275, 291-2 (1958).
58
   See Or. Rev. Stat. §539.021; U.S. v. Oregon., 774 F.Supp. 1568 (D. Or. 1991), aff’d, 44 F.3d 758 (9th Cir. 1994).
59
   43 U.S.C. §666; U.S. v. Oregon, 774 F.Supp. at 1578 (“The system of adjudicating water rights used by the State
of Oregon results in the ultimate adjudication of all claims and a characterization of the priority of those claims
relative to one another, and is therefore comprehensive within the meaning of the McCarran Amendment”).

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Upper Klamath Lake, and these claims have been administratively determined, as set forth in the State of
Oregon’s 2014 Amended and Corrected Findings of Fact and Order of Determination (ACFFOD).
         Although still subject to ongoing judicial review – and notwithstanding and necessarily reserving
the United States’ rights to make exceptions to the ACFFOD and duly litigate these issues – the ACFFOD
is legally enforceable absent a court-ordered stay. 60 Having waived its sovereign immunity in
participating in the Klamath Basin Adjudication, the United States is legally bound by the ACFFOD and
its determinations with respect to the United States’ relative rights to store water in Upper Klamath Lake
to the extent not inconsistent with federal law, including federal reserved water rights.
        The ACFFOD places operational and volumetric constraints on the storage of water in Upper
Klamath Lake, limiting active storage to between the water surface elevations of 4,136 feet and 4,143.3
feet above sea level, equating to a total volume of 486,830 AF based on Reclamation’s 1998
bathymetry. 61 To the extent Reclamation stores water in Upper Klamath Lake it must do so in a manner
consistent with the ACFFOD.
         Reclamation’s discretion in storing water in Upper Klamath Lake is subject to the United States’
trust obligations to and reserved water rights of the Klamath Tribes. 62 The Bureau of Indian Affairs, on
behalf of the Klamath Tribes, claimed in the Klamath Basin Adjudication various water rights in the
upper basin, including for lake levels in Upper Klamath Lake, based on the Klamath Tribes’ reserved
water rights recognized in the Tribes’ 1864 treaty with the United States. The priority date of these rights
is time immemorial.63 These water rights are determined and quantified in the ACFFOD. 64 Exercise of the
Klamath Tribes’ right to certain water levels in Upper Klamath Lake at various times of the year is the
subject of stipulated agreement between the United States, the Klamath Tribes, and water users within the
Project, which remains in effect and currently prevents the Tribes’ right from being exercised so as to
curtail Klamath Project diversions.65
        Reclamation’s discretion in diverting and storing water in Upper Klamath Lake is further subject
to the United States’ trust obligation to the Yurok and Hoopa Valley tribes. 66 These tribes have rights,
reserved by a series of nineteenth century executive orders, to take fish within their reservations in
California.67 These reservations encompass the right to water in the Klamath River sufficient to protect
the purposes of the reservation – e.g., the right to harvest fish for ceremonial, subsistence, and
commercial purposes in order to support a moderate standard of living. 68
         Reclamation has a legal obligation to protect the federal reserved rights of the Yurok and Hoopa
Valley tribes, even if unquantified, to the extent of its discretion to do so. 69 As noted previously, these
non-consumptive instream flow rights are senior to the water rights of the Klamath Project. 70 Given the
interstate nature of the Klamath River, these rights necessarily encompass water in the mainstem of the
Klamath River, including water flowing from the State of Oregon into the State of California, comprised


60
   Or. Rev. Stat. §539.130(4).
61
   KBA ACFFOD 07060 and 07117.
62
   Patterson, 204 F.3d at 1214. See also U.S. v. Adair, 723 F.2d 1394, 1415 (9th Cir. 1983).
63
   U.S. v. Adair, 478 F. Supp. 336, 350 (D.Or. 1979); U.S. v. Adair, 723 F.2d 1394, 1414-15 (9th Cir. 1983)
64
   See KBA ACFFOD 04938 through 04946. See also Baley, No. 18-1323 at 48 (affirming the Court of Federal
Claims’ holding that the Klamath Tribes’ implied water rights include water in Upper Klamath Lake).
65
   See KBA ACFFOD 04982 through 04990. Notwithstanding this stipulated agreement, Reclamation recognizes its
legal obligation to protect the treaty rights of the Klamath Tribes to the extent of its discretion to do so. Patterson,
204 F.3d at 1214. See also Adair, 723 F.2d at 1411.
66
   Patterson, 204 F.3d at 1214.
67
   U.S. Department of the Interior, Office of the Solicitor, Opinion of Oct. 4, 1993, M-36979.
68
   Id. See also U.S. v. Eberhardt, 789 F.2d 1354, 1359 (9th Cir. 1986).
69
   Baley, No. 18-1323 at 53.
70
   Id.

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in part of natural outflow from Upper Klamath Lake. 71 In diverting and storing tributary inflow into
Upper Klamath Lake, Reclamation must account for the senior rights of the Yurok and Hoopa Valley
tribes.72
        Reclamation’s discretion over the act of storing water in Upper Klamath Lake is also influenced
by the contracts between the United States and Klamath Project water users. To the extent Reclamation
otherwise has discretion, its contracts appear, subject to varying terms and conditions, to obligate
Reclamation to store water to make it available for later irrigation use.
         Lastly, Reclamation’s discretion over storing water is limited by physical conditions.
Reclamation has no control over the actual amount of tributary inflow to Upper Klamath Lake. This
condition is dependent upon both natural factors (e.g., precipitation) and the actions of other non-federal
entities and individuals (e.g., upstream water users). Likewise, Reclamation has no control on all the
sources of outflow from the lake, both natural and human-caused. This includes not only evaporation and
seepage, as well as diversions over which Reclamation has no control.
         Given these physical conditions, it is critical to properly define the scope of this action. While
there is always some level of inflow to Upper Klamath Lake, there is not always inflow available to store.
The only tributary inflow available to store is water subject to appropriation. When tributary inflow is
diverted to beneficial use under valid existing rights or otherwise consumed, it is not available for
appropriation. In this case, there is no action by Reclamation to store or not store water, since water is not
physically available.
         As a simple example, if 1,000 cfs of water is flowing into Upper Klamath Lake at any given time,
and 500 cfs is simultaneously being consumed and/or diverted for beneficial use under valid existing
rights, Reclamation’s discretion with respect to storing water is limited to the remaining 500 cfs.
Reclamation can either store all, some, or none of the 500 cfs of water but has no discretion over the other
500 cfs consumed and/or diverted outside the agency’s control.
         Likewise, the scope of Reclamation’s action is diverting all, some, or none of that remaining 500
cfs into storage, or conversely releasing (i.e., bypassing) it to the Klamath River. The only options are
either to store or release tributary inflow.
         Taking this example one final step further, if 1,000 cfs is flowing into Upper Klamath Lake at any
given time, while 500 cfs is simultaneously being consumed and/or diverted for beneficial use, and 1,000
cfs is being released from Link River Dam, Reclamation’s action with respect to storing or not storing
water is still limited to the same 500 cfs of tributary inflow that is subject to appropriation. The other 500
cfs being released from Link River Dam in this scenario must necessarily be coming from water
previously stored. Storing water is distinct from the act of releasing stored water (see 5.1.2).
        Consult on this action. Although Reclamation’s discretion is confined in a number of
substantive legal and physical respects, the agency nevertheless has discretion over the act of storing
water in Upper Klamath Lake. Given the presence of listed species in Upper Klamath Lake and the
Klamath River, Reclamation can likely exercise its discretion over storing water in Upper Klamath Lake

71
   Id. at 49-50 (acknowledging that Iron Gate Dam “controls the water of the Klamath River that flows to it from
Upper Klamath Lake” and holding that the Yurok and Hoopa Valley tribes “have an implied water right that
includes the Klamath River and the flows therein as controlled by the Iron Gate Dam”). See also 43 U.S.C. §398
(providing that nothing in the Reclamation Act of 1902, 32 Stat. 388, “shall in any way affect any right of any State
or of the Federal Government or of any landowner, appropriator, or user of water in, to, or from any interstate
stream or waters thereof”).
72
   See 43 U.S.C. §398. Note that Upper Klamath Lake was, in its natural condition, a settling basin, which filled with
water before overflowing down the Klamath River. This water constituted part of the flows in the river in California,
which existed at the time of the establishment of their respective reservations, to which the Yurok and Hoopa’s
rights are necessarily appurtenant to.

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in a manner that benefits listed species. Consultation on this action should be confined to the act of either
storing or not storing (i.e., bypassing) tributary inflow that is otherwise subject to appropriation,
consistent with the constraints on Reclamation’s discretion.
5.1.1    Releasing Stored Water
        The act of releasing stored water from Upper Klamath Lake – that is, tributary inflow previously
diverted and stored in priority – is physically and legally distinct from the act of storing water. 73
Releasing stored water entails releasing more water than is simultaneously flowing into a reservoir. When
outflow is more than inflow, the surface elevation on the reservoir will decrease as stored water is actively
released. Decreasing water surface elevations in a reservoir is always indicative of stored water being
released.
        Reclamation’s general authorization from Congress is to vary water levels in Upper Klamath
Lake in connection with carrying out a federal irrigation project. 74 As releasing stored water involves
lowering the water level in Upper Klamath Lake, this act is within Reclamation’s authority. Operation of
Upper Klamath Lake as a storage reservoir is also within Reclamation’s express authority under Section 6
of the Reclamation Act of 1902. 75
         Congress confined Reclamation’s discretion in carrying out this authority, expressly requiring
that the agency comply with state law in the “control, use, appropriation, or distribution of water used in
irrigation”. 76 As Upper Klamath Lake lies exclusively within the State of Oregon, Reclamation must
follow Oregon law when releasing stored water from the lake to the extent not inconsistent with the
purposes of the Klamath Project and other applicable federal law.
         The United States waived its sovereign immunity under the McCarran Amendment based on the
stated scope of the Klamath Basin Adjudication as described by the Ninth Circuit Court of Appeals in
United States v. Oregon, 44 F.3d 758 (1994). Accordingly, the United States filed claims in the Klamath
Basin Adjudication to its rights with respect to the use of stored water in Upper Klamath Lake, as well as,
claims for other rights. 77 While the Klamath Basin Adjudication necessarily did not encompass rights to
live flow and stored water appropriated and used in California, including federally reserved tribal rights to
water in the Klamath River, water diverted and stored in Upper Klamath Lake occurs solely in the State
of Oregon.
        Under the ACFFOD, Reclamation holds the right to store water in Upper Klamath Lake;
however, the ACFFOD recognizes a difference between the right to store water and the right to use stored
water from the lake.78 Specifically, “the United States is the owner of a right to store water in Upper
Klamath Lake to benefit the separate irrigation rights recognized for the Klamath Reclamation Project”.79
The ACFFOD finds that, except for federally owned lands, the districts and individual landowners that
are party to the Klamath Basin Adjudication hold the legal interest in the water rights associated with the

73
   See KBA ACFFOD 07083 to 07084.
74
   33 Stat. 714.
75
   32 Stat. 389, 43 U.S.C. §498.
76
   43 U.S.C. §383. Note, however, that Section 6 of the Reclamation Act of 1902, 32 Stat. 389, 43 U.S.C. §498
serves as a limitation on Section 8, in the event state law conflicts with federal law.
77
   As a McCarran Amendment proceeding, the Klamath Basin Adjudication is necessarily a comprehensive, general
stream adjudication in which the rights of all competing claimants are adjudicated. See U.S. v. Or. Water Resources
Dept., 774 F.Supp. at 1578 (“The system of adjudicating water rights used by the State of Oregon results in the
ultimate adjudication of all claims and a characterization of the priority of those claims relative to one another, and
is therefore comprehensive within the meaning of the McCarran Amendment. If the United States is dissatisfied with
the outcome of this adjudication, it has resort to the appellate courts of the State of Oregon and the United States
Supreme Court if its objections are properly preserved.”).
78
   KBA ACFFOD 07083 to 07085.
79
   Id. at 07084.

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Klamath Project for applying water appropriated from the Klamath River (in Oregon) and Upper Klamath
Lake to beneficial use.80 This includes the right to use both “live flow” (i.e., tributary inflow) and stored
water. 81
        To the extent Reclamation releases water previously appropriated and stored in priority from
Upper Klamath Lake for a beneficial use, including in the State of California, the use must be consistent
with the ACFFOD or applicable federal law. The authorized use for stored water in Upper Klamath Lake
under the ACFFOD is designated as irrigation and related purposes, on certain specified places of use
within the Klamath Project. 82
         Using stored water that is otherwise subject to the beneficial use by Klamath Project beneficiaries
to augment or otherwise produce instream flows in the Klamath River, either in Oregon or California, is
not authorized under the ACFFOD. Reclamation therefore cannot release water previously stored in
priority and otherwise required for beneficial use by Klamath Project beneficiaries from Upper Klamath
Lake for the specific purposes of producing instream flows in the Klamath River either in Oregon or
California.
         This is not to say that Reclamation is barred from releasing stored water for anything other than
beneficial use within the Klamath Project. A clear example is flood control operations. When observed or
anticipated inflows to Upper Klamath Lake may cause water surface elevations to exceed designated
maximum operating levels, Reclamation must release stored water to make space available to ensure
public safety and integrity of Project facilities. This act, however, is non-discretionary, since Reclamation
has a responsibility to maintain civil works so they continue to serve their congressionally authorized
purposes. 83
         Reclamation may also have discretion to release stored water not otherwise needed for beneficial
use within the Klamath Project. For example, even if there is no risk of flooding, there are situations and
circumstances when Upper Klamath Lake is effectively full (i.e., water surface elevation near 4,143.3
feet), with a stored water supply in excess of the anticipated beneficial needs within the Klamath Project.
As the owner and operator of the reservoir, in accordance with Section 6 of the Reclamation Act of 1902,
Reclamation has the discretion to release excess or surplus stored water. 84 This discretion is a function of
managing storage levels in Upper Klamath Lake.
         Reclamation’s contracts with water users within the Klamath Project also to some extent limit the
agency’s discretion to determine when and in what amounts there is stored water in excess or surplus to
their potential beneficial use. Likewise, Reclamation’s trust obligations to the Klamath Tribes may limit
Reclamation’s discretion to release stored water that is otherwise surplus to the needs to Klamath Project,
in order to maintain certain hydrologic conditions in Upper Klamath Lake.
        However, Reclamation’s discretion over the act of releasing water previously stored in priority is
unaffected by the United States’ trust obligation to the Yurok and Hoopa Valley tribes.85 Again, the act of

80
   KBA ACFFOD 07075 to 07082 (“The beneficial users of water appropriated pursuant to the May 19, 1905 Notice
hold a legal interest in rights recognized based on this appropriation for the purpose of beneficial use”); 07085
(regarding the United States’ interest in beneficial use within LKNWR and TLNWR).
81
   KBA ACFFOD 07061. “Live flow”, as described in the ACFFOD and used herein in characterizing water in the
Klamath River and Upper Klamath Lake within the State of Oregon, is water in a natural waterbody that is not being
stored or otherwise used for beneficial purposes (e.g., instream flows) and is therefore subject to appropriation under
any valid water right (regardless of priority, unless a water rights “call” is in effect).
82
   See KBA ACFFOD 07057 to 07059, and 07062 to 07066.
83
   43 U.S.C. §498.
84
   Id.
85
   See infra n. 72. This statement is not to suggest that the Klamath Basin Adjudication altered or affected the
reserved rights of the Yurok and Hoopa Valley tribes in any manner. See Baley, No. 18-1323 at 53-54. The tribes’


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storing tributary inflow is distinct from the act of releasing previously stored water, and the Yurok and
Hoopa Valley tribe appear to have a right to water from the Klamath River, including water flowing from
Oregon into California, including water that flows into and then out of Upper Klamath Lake. But that
water is different than water previously stored in priority through the operation of a dam constructed after
the establishment of the tribes’ reservations. There is a tribal trust obligation to the Yurok and Hoopa with
respect to the former, but not the latter, discretionary action. This interpretation of federal and state law
has been provided to Reclamation by the Department of Interior’s Office of the Solicitor. 86
        These circumstances preclude releases of water previously stored in priority in Upper Klamath
Lake for satisfying the Yurok and Hoopa Tribes’ federally reserved water right. Absent a specific federal
law, water previously stored in priority for the Klamath Project is bound by ACFFOD and must be
released in accordance with its terms.
         This interpretation is logically consistent because the act of storing water reduces the live flow of
the Klamath River in California, to which the Yurok and Hoopa Valley tribes have reserved rights. But
the act of releasing water that was stored previously and in priority from Upper Klamath Lake does not
reduce the live flow otherwise available to meet the rights of the Yurok and Hoopa Valley tribes.
Therefore, releasing previously stored water does not generally adversely affect these tribes’ rights,
though the act of storing tributary inflow obviously may.
        Consult on this action. Although Reclamation’s discretion is limited in regard to releasing stored
water from Upper Klamath Lake – limited by federal and state law, contractual obligations, and trust
obligations – this authority can be exercised in a manner that benefits listed species in the Klamath River,
Upper Klamath Lake, or possibly both, and should therefore be consulted on.
5.1.2    Establishing Target Lake Levels
         Designating and operating Upper Klamath Lake to target water surface elevations is an inherent
part of Reclamation’s authority to vary lake levels under the Act of February 9, 1905. 87 As discussed in
sections 5.1.1 and 5.1.2, raising or lowering Upper Klamath Lake is a function of either storing water or
releasing stored water. To the extent Reclamation has discretion over those two acts, the agency likewise
has discretion to establish and attempt to operate to target lake levels, subject to all the legal and physical
constraints discussed previously.
         The limitations on Reclamation’s discretion over storing water and releasing stored water in
Upper Klamath Lake indicate that Reclamation will not be able to predetermine and operate to exact
water surface elevations in the lake (i.e., to the hundredth of an inch on a given day). Reclamation may be
able to indirectly influence that value, for example by either storing more or less tributary inflow, to the
extent it is available, but Reclamation cannot control all the conditions that determine how much water is
stored at any given time. Reclamation can use forecasts to make assumptions about inflows to the lake,
and make management decisions accordingly, but actual inflows and consumptive losses will influence
storage operations and thus lake levels. Reclamation likewise lacks absolute control over how much water
is diverted from the lake for beneficial use. Reclamation’s various contracts and other legal interests may
give Reclamation the ability to influence this value on an individual basis, but such a right does not exist
across the entire Project, or for non-Project diversions from Upper Klamath Lake, as a matter of either



rights were not subject to the Klamath Basin Adjudication and the Yurok and Hoopa Valley tribes did not forfeit
their reserved water rights by not participating in the adjudication. Id. However, having not presented any claim to a
right to store and use stored water from a reservoir that lies solely in Oregon, the United States, including
Reclamation, cannot now maintain that such a right exists, at least under Oregon law.
86
   See memo. from Daniel Jorjani, Principal Dep. Solicitor, Dept. of the Interior, to David Bernhardt, Sec., Dept. of
the Interior, “Use of Water Previously Stored in Priority for Satisfaction of Downstream Rights” (January 14, 2021).
87
   33 Stat. 714.

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federal or state law. 88 These factors beyond Reclamation’s control will necessarily influence the lake’s
water surface level to some degree.
        Consult on this action. Reclamation, as the owner of the right to store water in Upper Klamath
Lake, has the right and discretion to establish predetermined levels that it then attempts to operate the lake
to. However, Reclamation’s rights, along with its physical capacities, do not afford the agency discretion
to cause absolute fixed water surface elevations in Upper Klamath Lake. Reclamation can influence the
lake’s water surface elevation, through the acts of storing water, bypassing tributary inflow, releasing
stored water, and exercising any discretion that it may have under contract or otherwise over the
beneficial use of water from the lake. But the agency cannot guarantee exact lake levels.
        Despite these constraints, assuming that designating and attempting to operate to target water
surface elevations in Upper Klamath Lake can potentially benefit listed species in the lake and/or the
Klamath River, Reclamation has an obligation to consult on this action.
5.1.3    Establishing Minimum Release Rates
        Reclamation’s authority in connection with the Klamath Project includes varying water levels in
both Upper Klamath Lake and the Klamath River, among other waterbodies. 89 There is no express
congressional directive providing for minimum release rates from Upper Klamath Lake to the Klamath
River; nevertheless establishing such minimums may be incidental to varying water levels in the lake
and/or river. Establishing minimum releases from Upper Klamath Lake is therefore within Reclamation’s
authority, but whether it is in the agency’s discretion will depend on the circumstances.
         Depending on what the minimum levels are, actually providing these releases from Upper
Klamath Lake over the course of a year will be a function of releasing either tributary inflow or, to the
extent the former is unavailable, stored water.
         Reclamation’s discretion to establish minimum release rates from Upper Klamath Lake to the
Klamath River is confined in the same manner and to the same degree that Reclamation’s discretion to
store water and release stored water is confined. There are times when the limitations on Reclamation’s
discretion to do either such action will limit Reclamation’s ability to provide minimum releases from
Upper Klamath Lake.
        Do not consult on this action. Reclamation has authority to establish minimum release rates
from Upper Klamath Lake to the Klamath River, but it does not have discretion to provide minimum
flows at all times. Reclamation can designate and attempt, within its discretion, to provide minimum
releases – and to the extent it does so, this would be an action the agency must consult on. But
Reclamation cannot guarantee certain minimum flows being released at all times from Upper Klamath
Lake, at least not under existing water rights associated with the Klamath Project.
5.1.4    Coordinating Project Diversions
         As previously noted, Reclamation’s authority in operating the Klamath Project is to vary water
levels in Upper Klamath Lake (and connected waterbodies) “as may be necessary to dispose of any lands
which may come into the possession of the United States as a result thereof by cession of any State or



88
   43 U.S.C. §383; KBA ACFFOD 07083. Regarding the discretion afforded Reclamation under the various
contracts between the United States and Klamath Project water users has been addressed by the Office of the
Solicitor. See memo. from Daniel Jorjani, Principal Dep. Solicitor, Dept. of the Interior, to David Bernhard, Sec.,
Dept. of Interior “Analysis of Klamath Project contracts to determine discretionary authority in accordance with the
November 12, 2020 Letter of the Secretary of the Interior, and Use of Water Previously Stored in Priority for
Satisfaction of Downstream Federally Reserved Rights” (Jan. 14, 2021).
89
   33 Stat. 714.

                                                         25
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otherwise under the terms and conditions of the national reclamation act”. 90 Coordinating the delivery of
live flow and stored water from Upper Klamath Lake for irrigation and other beneficial uses within the
Klamath Project is clearly part of carrying out this authority.
        Diversions to the Klamath Project of both live flow and stored water from Upper Klamath Lake,
occurring solely in the State of Oregon, are subject to Oregon law, with which Reclamation must comply
under Section 8 of the Reclamation Act of 1902 (even if the ultimate place of use is within California).91
Reclamation’s discretion in coordinating the diversion of live flow and stored water from Upper Klamath
Lake for beneficial use within the Klamath Project is therefore limited by the ACFFOD.
         The ACFFOD places certain limitations on the volume, rate, location and timing of diversions of
live flow and stored water from Upper Klamath Lake. 92 Reclamation’s discretion to coordinate deliveries
is necessarily confined to these limitations specified in the ACFFOD.
         In addition to these quantitative limits, the ACFFOD recognizes a difference in the ownership
interests in Klamath Project water rights. Specifically, the ACFFOD finds that, except for federally
owned lands, the districts and individual landowners hold the legal interest in the water rights associated
with the Project for diverting and beneficially using both live flow and stored water from Upper Klamath
Lake. 93 The United States’ interest is limited to using the water available from the Project for beneficial
irrigation purposes within Tule Lake and Lower Klamath National Wildlife Refuges, as well as re-using
return flows captured within Project boundaries for beneficial use. 94
         Therefore, the water rights for the Klamath Project, by themselves, limit Reclamation’s discretion
to determine the volume, rate, location and timing of diversions of live flow and stored water from Upper
Klamath Lake for beneficial use within the Project. Water rights notwithstanding, specific contracts
between the United States and water users within the Project may afford Reclamation some degree of
discretion over the manner and extent to which water is beneficially used. 95 Likewise, contracts and other
rights, such as the United States’ real property interests, may also provide Reclamation with some degree
of control over the facilities used to divert and deliver water to beneficial users within the project.
        Even with respect to federally owned lands within Lower Klamath National Wildlife Refuge
(LKNWR) and Tule Lake National Wildlife Refuge (TLNWR; collectively the Refuges), the ACFFOD
does not give Reclamation the discretion to determine the volume, rate, and timing of diversions from
Upper Klamath Lake and the Klamath River to the Refuges. Under the ACFFOD, Reclamation owns and
exercises the right to store water in Upper Klamath Lake to “benefit the separate irrigation rights
recognized for the Klamath Reclamation Project...” 96 USFWS was the claimant and is designated by the
ACFFOD as the holder of the rights to use the water from the Klamath Project, including both live flow
in the Klamath River and stored water from Upper Klamath Lake, for irrigation of lands within both
Refuges. 97 Reclamation’s role is essentially limited to providing space for storage of water in Upper
Klamath Lake for the purpose of satisfying the separate rights of USFWS and other beneficial users
within the Klamath Project.
        In addition to the 1905 water right for irrigation purposes, the ACFFOD recognizes that USFWS
holds separate federal reserved water rights for both LKNWR and TLNWR to divert live flow from the
Klamath River for the purpose of waterfowl conservation. 98 These water rights vary in priority date,

90
   Id.
91
   43 U.S.C. §383.
92
   See KBA ACFFOD 07155 to 07160, and 07284 to 07287.
93
   KBA ACFFOD 07061 and 07075.
94
   KBA ACFFOD 07083 to 07085.
95
   See infra n. 88.
96
   KBA ACFFOD 07084.
97
   KBA ACFFOD 07118 and 07127.
98
   See KBA ACFFOD 03715 to 03744 and 03786 to 03819.

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ranging from December 31, 1925, to September 2, 1964. 99 Similar to the irrigation rights for the Project,
the ACFFOD specifies the maximum volume that can be used in a given year, the location and maximum
rate of diversions, and the period of allowable use (year-round) under these reserved rights. 100 Stored
water in Upper Klamath Lake is not an authorized source of water for these reserved rights within
TLNWR and LKNWR. 101
         USFWS has also applied and been granted permission by the State of Oregon to temporarily
transfer an irrigation water right appurtenant to 2,831 acres above Upper Klamath Lake for use on up to
4,105 acres within LKNWR. 102 The current approved transfer expires at the end of 2021. 103 The priority
date for this water right is September 13, 1920. Under the State’s final order approving the transfer,
USFWS can divert from the Klamath River to LKNWR via the Ady Canal up to 11,206 AF between
April 1 and October 1, at the maximum rate of 30.87 cfs (CFS).104 USFWS has an application before the
State to permanently transfer this water right to LKNWR.
         Both Reclamation and USFWS are agencies of the United States Government. Under the Act of
September 2, 1964 105 and the 1976 amendments to the National Wildlife Refuge System Administration
Act of 1966 106, Congress has conferred upon USFWS all administrative control over LKNWR and
TLNWR. Under the ACFFOD, USFWS is the “holder” of the water rights under the Klamath Project
appurtenant to the refuges, as well as the federal reserved rights associated with the executive orders or
legislative acts establishing these Refuges.107 Given these authorities, USFWS, not Reclamation, controls
whether these water rights are exercised.
         Reclamation and USFWS could potentially enter into a memorandum of agreement or something
similar, which would specify the parameters under which USFWS would exercise its right to use water
for irrigation purposes under the Klamath Project, as well as any or all of the other water rights
appurtenant to LKNWR. Reclamation and USFWS have entered into such agreements in the past, but of
temporary duration. There is no such agreement currently in place.
        Reclamation’s other legal interests, for example its control over the Klamath Straits Gates, as
described in section 5.2.5, may give Reclamation some indirect influence over the amount, rate, and
timing of beneficial use within LKNWR, but Reclamation has neither authority nor discretion to make a
fixed determination of the amount of water diverted to LKNWR.
        Do not consult on this action. The ACFFOD does not afford Reclamation with the right to
determine the volume, rate, location, or timing of water available for beneficial use of water within the
Klamath Project, including LKNWR and TLNWR. Under Section 8 of the Reclamation Act of 1902, the
ACFFOD is controlling in this matter and states that “the right of beneficial use of water in the Project is
held by the beneficial users. This applies to the right to the use of both live flow and stored water”.108
         As noted above, Reclamation’s contracts or other legal interests, including real property interests,
may afford Reclamation some degree of discretion over the exercise of water rights within the Klamath
Project for beneficial use; however, there is no such blanket discretion across the entire project as a matter
of federal or state law. To the extent individual contracts or agreements provide Reclamation with such

99
   KBA ACFFOD 03728-03729, 03739, 03743, 03797, 03803, and 03805.
100
    Id.
101
    Id.
102
    Or. Water Res. Dept., “Final Order Approving Temporary Changes of Use and Points of Diversion”, Transfer
Application No. T-12642 (Aug. 8, 2017).
103
    Id.
104
    Id.
105
    Act of June 2, 1964, Pub. L. 88-567, 78 Stat. 851.
106
    Act of Feb. 27, 1976, Pub. L. 94-223, 90 Stat. 199.
107
    Infra n. 96 and 97.
108
    43 U.S.C. §383; KBA ACFFOD 07061.

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discretion for particular areas or parts within the project, Reclamation should consult on those specific
contracts or agreements.
5.1.5   Flood Control Operating Criteria
         Flood control operations with respect to Upper Klamath Lake generally entail releasing water as
necessary to prevent water surface elevations from increasing above levels determined to potentially pose
a threat to flooding surrounding lands. Under current operations, Reclamation has designated end-of-
month “flood control elevations” for Upper Klamath Lake (see Table 1, below), which are interpolated to
a daily value for operational purposes.
Table 1. Current Upper Klamath Lake flood control elevations (in feet above sea level, USBR datum) for the last
day of each month, varying by dry or wet year type. A year is characterized as “wet” any time the current NRCS
inflow forecast for Upper Klamath Lake for March through September exceeds 710,000 AF.
                                                         Water Surface Elevation (ft)
                             Month
                                                         Dry Year        Wet Year
                             April through June           4143.3           4143.3
                             July through September       4143.1           4143.1
                             October                      4141.4           4141.4
                             November                     4141.6           4141.6
                             December                     4141.8           4141.8
                             January                      4142.3           4142.0
                             February                     4142.7           4142.4
                             March                        4143.1           4142.8


        Reclamation anticipates that actual Upper Klamath Lake water surface elevations will differ to
some degree from the designated flood control elevations. Reclamation employs professional judgment in
evaluating hydrologic conditions, snowpack, weather forecasts, public safety, and other facts into
designating the water surface elevations PacifiCorp should attempt to achieve on a daily basis.
          The responsibility to maintain civil works structures so they continue to serve their
congressionally authorized purposes is inherent in the authority to construct them, and is, therefore, non-
discretionary. Maintenance of the structure could only cease if Congress were to de-authorize the
structure or terminate this responsibility. Therefore, the requirement to maintain the structure, and to not
let it be damaged and compromised during extreme hydrologic events, is non-discretionary and not
subject to ESA consultation. However, the manner (how and when) flood control operations occur may be
subject to Section 7(a)(2) consultation if the procedures (as opposed to the results) could affect listed
species or designated critical habitat, and the agency has latitude for discretion.
         Consult on this action. Because flood control operations on Upper Klamath Lake entails
increasing or decreasing releases from Upper Klamath Lake (of both stored water and live flow), which
could affect listed species and their critical habitat, both in the lake and the river, Reclamation should
consult on this action. Reclamation’s latitude to adjust flood control operating criteria for the benefit of
listed species will necessarily be limited by what sound engineering and other considerations the agency
deems prudent and necessary for structural integrity of civil works and public safety.




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5.1.6   Making Water Rights Calls
          As previously noted, the ACFFOD in the Klamath Basin Adjudication is legally enforceable as a
matter of state law, absent a judicial stay in its enforcement.109 In the ACFFOD, the water rights for the
Klamath Project have a priority date of May 19, 1905.110 In accordance with the doctrine of prior
appropriation as it exists in the State of Oregon, when the amount of live flow available for appropriation
in Upper Klamath Lake and the Klamath River is insufficient to meet the actual irrigation demands within
the Project, a call may be made on the Klamath Project water rights. When a call is made, the State of
Oregon, through its Water Resources Department, will then investigate and if it determines that a shortage
in fact exists, it will regulate the diversions of other water users from the same source with junior water
rights (i.e., with a priority date after May 19, 1905). 111
         In the State of Oregon, with respect to the water rights determined for the Klamath Project in the
Klamath Basin Adjudication, the regulation of junior water rights holders is intended to increase the
amount of live flow available at the point of diversion for the senior water right holder making a call. In
order for the call to remain valid and effective, the senior water rights holder must then put the additional
live flow to beneficial use. 112 A senior water rights holder cannot bypass or otherwise not beneficially use
the live flow made available at the point of diversion as a result of a call on their behalf. If that were to
occur, the water rights holder presumably has no lawful basis for making the call.
         A valid call on water rights may be made by the holder (i.e., owner) of the water right. The
ACFFOD recognizes that the United States owns the right to store water in Upper Klamath Lake, and the
districts and individual landowners within the Klamath Project hold the interest in applying water, both
stored and live flow, to beneficial use for irrigation and the related purposes designated in the
ACFFOD. 113 Outside TLNWR and LKNWR, the United States’ interest in the water rights is limited to:
1) the right to store water in Upper Klamath Lake, and 2) the right to re-use water previously appropriated
and applied to beneficial use (i.e., “return flows”) for another beneficial use. 114
         Accordingly, both the United States (Reclamation and/or USFWS) and the districts and
individual landowners within the Klamath Project that were party to the Adjudication can make a call on
the water rights associated with the project. But regardless of who makes a call, the determination of
whether that call is valid and the extent to which the diversions of other water users will be curtailed is at
the State of Oregon’s discretion.
         Reclamation has discretion over the decision whether or not to make a call on Klamath Project
water rights. This right is not exclusive to Reclamation; other entities and individuals may also make a
call on their own or in conjunction with Reclamation.
         Whether there is an actual shortage in the live flow available at the point or points of diversion for
the calling water right is a factual matter, which the State of Oregon will determine in accordance with
state law. In accordance with Section 8 of the Reclamation Act of 1902, Reclamation must follow state
law with respect to the control, appropriation, distribution and use of water in operating the Klamath
Project, to the extent not in conflict with federal law. 115
        The additional water made available at the point of diversion as a result of a call must be
beneficially used, to the extent the water user’s capacity, or else there is no valid basis for the call.
Likewise, state law confers upon the State of Oregon jurisdiction to determine when a call is futile in the

109
    Or. Rev. Stat. §539.130(4).
110
    KBA ACFFOD 07056.
111
    Or. Admin. R. §690-250-0100.
112
    See Or. Admin. R. §690-250-0020.
113
    Infra n. 93 and 94.
114
    Id.
115
    43 U.S.C. §383.

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sense of an inadequate amount of water, or no water, reaching the senior water rights holder making the
call. 116 Unless the State makes such a determination, some additional water must be assumed to be
reaching the point or points of diversion. Accordingly, Reclamation can make its own determination
about how much additional water is available for diversion and beneficial use within the Klamath Project
as a result of a call, but it cannot determine that no additional water is available. The authority for that
determination lies with the State of Oregon and Reclamation must follow Oregon law in this regard.
         Consult on this action. Reclamation has discretion to make a water rights call in the event of a
shortage. While the water resulting from a call must be beneficially used, which Reclamation has no
interest in except as conferred by contract, the process of making a call and the water resulting from a call
may benefit listed species. For example, a water rights call, if enforced, would result in additional inflow
to Upper Klamath Lake, which, when used to meet instantaneous irrigation demands within the Klamath
Project, could delay or reduce the amount of stored water used within the Project, thereby leaving more
water in Upper Klamath Lake. This additional water remaining in storage, albeit for the purpose of
beneficial use within the Klamath Project, could benefit listed species in the lake.

5.2         OPERATION OF THE KLAMATH AND LOST RIVERS
         This section discusses Reclamation’s discrete actions in connection with operating Klamath
Project facilities in connection with the Klamath and Lost rivers.
5.2.1       Establishing Minimum River Flows
         Reclamation’s authority in connection with the Klamath Project includes varying water levels in
the Klamath River, among other waterbodies. 117 There is no express congressional directive providing for
minimum flows in the Klamath River at any particular location but establishing such minimums may
nonetheless be incidental to varying water levels in the river. Establishing minimum flows in the Klamath
River is therefore within Reclamation’s authority, but whether it is in the agency’s discretion will depend
on the circumstances. Depending on the rate and measured location of the minimum flows, actually
achieving these flows may require water from Upper Klamath Lake, the Lost River Diversion Channel,
and/or the Klamath Straits Drain.
         Reclamation’s discretion over releasing water from Upper Klamath Lake is generally limited to
the decision to store and not store tributary inflow from Upper Klamath Lake, as discussed in sections
5.1.1 and 5.1.2. During extreme hydrologic conditions, Reclamation may be required to release stored
water from Upper Klamath Lake to protect civil works and public safety, but these conditions are highly
unpredictable in advance. There may also be, at times, stored water in Upper Klamath Lake surplus or
excess to the needs of the Klamath Project, and Reclamation may have some discretion to release stored
water in these instances, which could potentially help support designated flows in the Klamath River. But
this situation is dependent on hydrology and other conditions beyond Reclamation’s control.
         Reclamation can use inflow forecasts and other information to make estimates but will never be
able to predict in advance the exact timing, rate, and volume of inflow to Upper Klamath Lake over any
given period – and likewise, the exact volume and rate at which water will be released. Reclamation
therefore cannot make an absolute commitment to achieving minimum flows in the Klamath River with
water from Upper Klamath Lake.
       The Lost River Diversion Channel and the Klamath Straits Drain both operate to release water to
the Klamath River and can materially contribute to the river’s cumulative flow. Likewise, operation of the
Klamath Straits Gates can influence the amount of water diverted from the Klamath River through the
Ady Canal owned and operated by Klamath Drainage District. These facilities can be operated, as

116
      Infra n. 111.
117
      33 Stat. 714.

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Reclamation’s discretion allows, either independently or in conjunction with Upper Klamath Lake, to
potentially contribute to river flows.
        Do not consult on this action. Reclamation has the authority but lacks the discretion to guarantee
absolute fixed minimum flows in the Klamath River. Reclamation can designate target flows in the
Klamath River, minimum or otherwise, and then exercise its discretion, particularly over storing water in
Upper Klamath Lake, in a manner that attempts to achieve flows – and to the extent it does so, this would
be an action the agency must consult on. But Reclamation cannot guarantee certain flows at all times,
regardless of the hydrologic conditions and other factors beyond Reclamation’s control. Reclamation
should therefore not consult on fixed minimum flows in the Klamath River.
        As opposed to absolute minimums, establishing “target” flows in the Klamath River, including
target minimums, that Reclamation exercises its discretion attempting to produce, would appear to be
within the agency’s authority and discretion.
5.2.2      Diverting Water Through and Into the Lost River Diversion Channel
        Reclamation constructed the Lost River Diversion Dam and Channel between 1910 and 1912.
The dam operates to raise the water surface in the Lost River to a level necessary to facilitate gravity
drainage to the Klamath River via the eight-mile-long Lost River Diversion Channel.
         The Lost River Diversion Channel was originally constructed to a capacity of approximately 250
cfs. In 1930, Reclamation enlarged the channel’s capacity to 1,200 cfs. In 1950 Reclamation redesigned
and further enlarged the channel to the current capacity of approximately 3,000 cfs.
        Throughout the year all Lost River flows, including any flood control releases from Clear Lake or
Gerber reservoirs, that reach Lost River Diversion Dam, up to the capacity of the diversion channel
(3,000 cfs), are diverted to the Klamath River (unless first diverted for irrigation). When flows in the Lost
River are in excess of the diversion channel’s capacity, the water is spilled over Lost River Diversion
Dam to the lower Lost River, where it then flows into the Tule Lake Sumps. The Lost River Diversion
Dam was designed for a maximum overflow of 10,000 cfs.
       Operation of the Lost River Diversion Channel is integral to one of the basic purposes of the
Klamath Project – to reclaim lands within the former 96,000-acre bed of Tule Lake. That purpose stems
from Reclamation’s authority under the Act of February 9, 1905.118
         Tule Lake, now having been largely reclaimed by Reclamation, has primarily been homesteaded
by small-family farms. Smaller portions of the lakebed have formed into cities and towns. A large portion
is dedicated as a national wildlife refuge. Two other national monuments also partly lie within the
reclaimed area. Oher public works, like schools, state and federal highways, have been constructed within
the reclaimed area.
         Reclamation has, over the last century, undertaken a comprehensive scheme for draining and
homesteading Tule Lake, and to a lesser extent, Lower Klamath Lake, building the facilities to achieve
this result through appropriations from Congress. Reclamation has no discretion to now undo this work,
in terms of allowing Tule and Lower Klamath lakes to refill. The discretion to reflood Tule Lake, to the
extent it exists, lies with Congress.
        Consult on this action. Reclamation is solely responsible for operation and maintenance of the
Lost River Diversion Channel, in accordance with its authority under the Act of February 9, 1905. But,
having now constructed this facility and reclaimed an area formerly inundated by Tule Lake pursuant to
the authority and with the appropriations provided by Congress, Reclamation has no discretion over
maintaining the facility and protecting the reclaimed area from reflooding.


118
      33 Stat. 714

                                                     31
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         Any potential discretion over diverting live flow from the Lost River to the Klamath River is
largely limited by the physical conditions that govern channel operations. The Lost River Diversion
Channel and the associated diversion dam on the Lost River have no material storage capacity. Flows
cannot be withheld and then released in some manner that possibly benefits listed species or their critical
habitat in the Klamath River. The rate of discharges from the Lost River Diversion Channel into the
Klamath River cannot be materially altered, given the design and functional operation of the diversion
channel, absent electing to bypass diversion of water from the Lost River, allowing it to flow down to the
Tule Lake Sumps (see 5.4). Given the presence of listed species in the Tule Lake Sumps, this action may
have some benefit to listed species. Altering the rate and amount of water diverted from the Lost River to
the Klamath River through the Lost River Diversion Channel may also affect flows in the Klamath River.
        Reclamation also has some discretion over the other primary use of the Lost River Diversion
Channel – diverting water from the Klamath River and Upper Klamath Lake. Reclamation exclusively
owns and operates this facility. Reclamation can adjust gate positions and water levels in the channel to
influence diversions otherwise made consistent with state law.
         Given the potential for operation of the Lost River Diversion Channel to benefit listed species
both in the Tule Lake Sumps and potentially the Klamath River, including designated critical habitat,
Reclamation should consult on this action.
5.2.3       Opening and Closing the Klamath Straits Gates
        In conjunction with Reclamation’s plans to drain and potentially homestead lands underlying
Lower Klamath Lake, in 1907 the United States entered into an agreement with the California
Northeastern Railway and Southern Pacific companies to construct and maintain a railroad embankment
across the northern end of Lower Klamath Lake, extending from the Northwest Quarter of Section 26 to
the Northwest Quarter of Section 1, in Township 40 South, Range 8 East, Willamette Meridian.
         Additionally, the 1907 agreement required the railroad to construct a concrete control structure in
the southern end of the railroad embankment at the Klamath Straits, the original channel connecting the
Klamath River to Lower Klamath Lake. This concrete structure, constructed in 1912, has five gated
openings, approximately five feet wide, collectively referred to herein as the Klamath Straits Gates.
Diversions from the river through these gates flow into the Ady Canal, which is operated by the Klamath
Drainage District and provides deliveries to approximately 55,500 acres of public (LKNWR) and private
land in the Lower Klamath Lake.
         Operation of the Klamath Straits Gates has and continues to be under Reclamation’s exclusive
control. However, Reclamation has a contract with the Klamath Drainage District to keep these gates
closed, “barring acts of God, unavoidable accidents or other causes beyond the control of the United
States”. 119 The contract provides that the gates will be opened at the district’s request, when “necessary in
connection with the reclamation of lands within the district boundaries, or when this is determined to be
necessary by the United States in connection with the reclamation and use of lands in California”.
         In its original state, Lower Klamath Lake was an interstate navigable waterway, with regular ferry
traffic between California and Oregon. The Act of February 9, 1905, 33 Stat. 714, authorizes Reclamation
to raise or lower water levels in Lower Klamath Lake and to homestead the area so reclaimed to the
extent feasible. Reclamation entered into the 1907 agreement with the railroad for this purpose. This
agreement required the railroad to include a concrete structure in the embankment, the Klamath Straits
Gates, for which Reclamation still owns and has exclusive control over.
         Given Reclamation’s authority to raise or lower water levels in Lower Klamath Lake, and
therefore to control the Klamath Straits Gates, Klamath Drainage District contracted with the United
States in 1917 to have these gates closed. This contract generally provides that the gates will remain

119
      Contract No. Ilr-402c, dated April 28, 1943, article 28(a).

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closed at all times unless opened at the request of the district or the discretion of the United States for
purposes of reclaiming federal lands in and around Lower Klamath Lake.
          Reclamation originally had discretion over reclaiming Lower Klamath Lake and the surrounding
marshes. Congress later directed, in the Act of September 2, 1964, that the remaining federally owned
lands in and around Lower Klamath be reserved as refuges for migratory birds. 120 As discussed in section
5.1.5, USFWS now has administrative jurisdiction over lands within LKNWR and their use as a matter of
federal law. Reclamation’s interest in the area is limited to operation and maintenance of Klamath Project
facilities.
         USFWS requires the Klamath Straits Gates to be open in order to be able divert and convey water
to LKNWR. This is true for the refuge’s water rights in connection with the Klamath Project, as well as
federally reserved water rights for refuge purposes. USFWS has a 1940 agreement with Klamath
Drainage District to use the Ady Canal for this purpose. 121 A 1977 agreement between USFWS and
Reclamation, addressing each agency’s administrative responsibilities in LKNWR, recognizes that the
right to use the Ady Canal to deliver water to LKNWR is exclusively administered by USFWS.122
         Possibly consult on this action. Reclamation has discretion to open and close the Klamath
Straits Gates under its authority to vary water levels in Lower Klamath Lake; however, this discretion is
materially limited by the United States’ contract with Klamath Drainage District, as well as USFWS’
administrative jurisdiction over both LKNWR and the United States’ right to use the Ady Canal to deliver
water to LKNWR. To the extent Reclamation proposes to open and close the Ady Straits Gates, to the
extent not constrained by USFWS’ administrative jurisdiction over these lands, Reclamation’s discretion
may afford some capacity to benefit listed species, in which case there is an obligation to consult on this
action.
5.2.4   Pumping and Discharging Water from the Klamath Straits Drain
         The Klamath Straits Drain is an eleven-mile-long earthen canal with four pumping plants, which
conveys excess drainage and runoff from the Lower Klamath Lake area to the Klamath River. The drain
was originally built in the mid-1940s, as supplemental works to a joint Reclamation-USFWS construction
program that built Pumping Plant D, the Tule Lake Tunnel, the P Canal, and much of the refuge
infrastructure.
        As originally constructed, the drain had just two pumping plants (designated E and F), each with
two pumps with a combined capacity of approximately 200 cfs. An additional pump was added at both
plants E and F in the late 1940s, increasing the drain’s capacity from 200 to 300 cfs. Then in the 1970s,
the drain’s capacity was doubled to 600 cfs, with the construction of two new pumping plants (EE and
FF), also with three pumps each.
         The volume of water pumped to the Klamath River through the Klamath Straits Drain over the
last decade has been roughly one-third the historical average (from approximately 90,000 AF annually to
35,000 AF). The amount pumped through the drain has only exceeded 100,000 AF twice in the last 20
years. Prior to 2000 it occurred in more than half of all years.
        A major factor in this reduction is the decreased amount of drainage coming from LKNWR. Prior
to 2000, the refuge on average discharged over 50,000 AF annually into the Klamath Straits Drain; since
then that figure has been about 13,000 AF. This change has been particularly evident in the last decade,
during which the refuge has drained less than 1,000 AF annually, except under special arrangements.


120
    Pub. L. 88-567, 78 Stat. 851.
121
    Agreement dated May 25, 1940, between the United States, Secretary of the Interior, and Klamath Drainage
District.
122
    Reclamation Contract No. 7-07-20-W0089, dated August 2, 1977.

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          Reclamation and Klamath Drainage District are party to a 1947 contract, providing that
Reclamation shall operate and maintain the Klamath Straits Drain and make it “available at all times for
the proper drainage of the District lands”.123 Further, the agreement provides that water in the drain must
be maintained at a level to provide adequate drainage, “as determined by the Secretary”, for all district
lands. 124 These obligations on the United States expressly terminate if and when operation and
maintenance of the drain is transferred to an organization of water users or the district.
         Reclamation and USFWS also have a 1946 agreement pertaining to Reclamation’s operation of
the Klamath Straits Drain. 125 The agreement generally requires Reclamation to “remove from [LKNWR]
all water brought through the Tule Lake tunnel which it necessary to remove in order to permit the
efficient carrying on of [USFWS’] functions”. 126
         The Klamath Basin Adjudication addresses to some extent the United States’ rights with respect
to the kinds of “return flows” captured and controlled through a facility like the Klamath Straits Drain.
The ACFFOD finds that the United States holds a legal interest in water rights connected to the Klamath
Project for the purpose of re-use of return flows.127
         Consult on this action. Reclamation discretion over operation of the Klamath Straits Drain is
influenced by Reclamation’s 1947 contract with the Klamath Drainage District, as well as the 1946
agreement with USFWS. These agreements require Reclamation to operate the drain to dispose of water
that these entities discharge into it. Reclamation therefore has no discretion over the amount of water
conveyed through the drain to the Klamath River. Reclamation has discretion, however, to determine how
these return flows are subsequently used. This act is within Reclamation’s authority over varying water
levels in Lower Klamath Lake and connected waterbodies, and the ACFFOD recognizes that this right
exclusively belongs to the United States. Reclamation can designate and use these return flows for
supporting instream flows in the Klamath River, which can potentially benefit listed species. Therefore,
Reclamation has an obligation to consult on this action.

5.3     OPERATION OF CLEAR LAKE AND GERBER RESERVOIRS
        This section discusses Reclamation’s discrete actions in connection with Clear Lake and Gerber
reservoirs.
5.3.1   Storing Tributary Inflow
        Reclamation’s authority to construct, operate, and maintain Clear Lake and Gerber reservoirs
stems from the Act of February 9, 1905, as a primary purpose of these reservoirs is to aid in the draining
and homesteading of Tule Lake. 128 Congress did not confine Reclamation’s discretion in carrying out this
law, except as generally limited by the Reclamation Act of 1902.129
         Following authorization of the Klamath Project by the Secretary of the Interior on May 15, 1905,
Reclamation gave notice, for and on behalf of the United States of America, of its intentions to
appropriate the waters of the Lost River and its tributaries by notices and postings in the states of Oregon
and California in the manner authorized by the customs and laws of these states. As previously discussed,
on May 19, 1905, Reclamation filed a notice with the Oregon State Engineer, in accordance with Oregon
law, to “utilize ... [a]ll of the waters of the Klamath Basin in Oregon, constituting the entire drainage

123
    Reclamation Contract No. Ilr-402d, article 10, dated October 11, 1947.
124
    Id.
125
    Reclamation Contract No. Ilr-1371a, article 9, dated June 28, 1946.
126
    Id.
127
    KBA ACFFOD 07083.
128
    33 Stat. 714.
129
    32 Stat. 388.

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basins of the Klamath River and Lost River, and all of the lakes, streams, and rivers supplying water
thereto or receiving water therefrom, including ... all their tributaries”. This notice provides “[t]hat the
United States intends to use the above described waters in the operation of works for the utilization of
water in the State of Oregon under the provisions of [the Reclamation Act of 1902]”.
         Also in support of the operations of Clear Lake and Gerber reservoirs, Reclamation posted five
specific notices of appropriation of water from the Lost River and its tributaries on behalf of the United
States. The posting on the Lost River for Clear Lake Reservoir was made on December 19, 1904, and
filed for record in Modoc County, California, on December 28, 1904. 130 This notice provided that the
“water is to be used for irrigation, domestic, power, mechanical, and other beneficial uses in and upon
lands situated in Klamath (Oregon) and Modoc (California) counties...” 131
       The posting on Miller Creek for Gerber Reservoir was made on March 5, 1905, and was recorded
on March 18, 1905, in Klamath County, Oregon.132 As filed, this notice provided for “... all the
unappropriated waters of Miller Creek, both surface and underflow, and more specifically stated as
amounting to one thousand cfs ... for irrigation, domestic, power, mechanical, and other beneficial uses ...
in Klamath County...”133
         The water rights associated with the Klamath Project to water from the Lost River and its
tributaries remain unadjudicated in either California or Oregon.
         The exercise and use of these rights are nonetheless governed by California and Oregon law, as
applicable, in accordance with Section 8 of the Reclamation Act of 1902, to the extent not in conflict with
federal law. 134 Reclamation also has contracts with certain entities for providing stored water from these
reservoirs for irrigation and related purposes.
         As previously discussed, the act of storing water, at the most basic level, entails regulating
outflow from a reservoir to a rate less than instantaneous tributary inflow. When outflow is less than
inflow, the surface elevation on a reservoir will increase as water is actively stored. The act of storing
water is always evidenced by increasing water surface elevations.
         Reclamation has discretion over the act of storing water in both Clear Lake and Gerber reservoirs.
The water rights were claimed on behalf of the United States, and the United States owns these reservoirs,
including both the facilities that impound them and the underlying land. Storing and/or bypassing
tributary inflow to the reservoirs is a function of managing storage levels in the reservoir.
        Although the United States’ rights remain unadjudicated, in storing and/or bypassing tributary
inflow, Reclamation must comply with the respective laws of the states of Oregon and California
regarding the control, appropriation, use and distribution of water used in irrigation. Reclamation cannot
therefore exercise this right in a manner inconsistent with its claims, as provided in the various notices
and posting relative to the rights to water from the Lost River and its tributaries.
        Nonetheless, Reclamation must at times bypass tributary inflow from these reservoirs for flood
control purposes, either in connection with the reservoirs themselves or for operation of the Lost River
Diversion Channel (and protection of Tule Lake) (see 5.2.2). These releases can affect water levels in the
reservoir as well as the Tule Lake Sumps. If discharged through the Lost River Diversion Channel, these
releases can also affect flows in the Klamath River. The releases are non-discretionary in that
Reclamation must protect federal facilities and carry out the purposes of the Klamath Project, including



130
    Modoc Co. records, Water Rights, vol. 2, p. 15.
131
    Id.
132
    Klamath Co. records, Water Rights, vol. 11, p. 192.
133
    Id.
134
    43 U.S.C. §383.

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reclaiming Tule Lake. Reclamation may, however, some discretion in how exactly these releases are
made.
        The United States’ contractual obligation to Klamath Project water users may also influence the
manner in which Reclamation exercises its discretion over storing and/or bypassing tributary inflow to
Clear Lake and Gerber reservoirs.
         The tribal trust obligations of the Yurok, Hoopa Valley, and Klamath Tribes do not extend to
water stored in Clear Lake and Gerber reservoirs, since the water in the Lost River did not physically
reach the Klamath River prior to the Klamath Project and therefore this water is necessarily not part of the
rights reserved by the United States on behalf of these tribes. Therefore, Reclamation’s discretion in
storing water from Clear Lake and Gerber reservoirs is not influenced by these obligations.
         Consult on this action. As designated critical habitat for endangered shortnose and Lost River
suckers, Reclamation’s act of storing water in Clear Lake and Gerber reservoirs can potentially benefit
listed species in these reservoirs, and therefore there is an obligation to consult on this action.
5.3.2   Releasing Stored Water
         The act of releasing stored water entails releasing more water than is simultaneously flowing into
a reservoir. When outflow is more than inflow, the surface elevation on a reservoir will decrease as stored
water is actively released. Decreasing water surface elevations in a reservoir is always indicative of stored
water being released.
         Reclamation’s discretion over releasing water from Clear Lake and Gerber reservoirs is also
governed by federal and state law. Reclamation must comply with Oregon and California law, as
applicable, releasing and using stored water from Clear Lake and Gerber reservoirs. The various rights the
United States has claimed in connection with these reservoirs all are for the purpose of utilizing the stored
water for irrigation and related purposes within the Klamath Project, as so stated. Reclamation’s claimed
rights on behalf of the United States do not include the use of water for purposes other than as enumerated
in the various notices and postings.
        Reclamation’s contractual obligations also influence how Reclamation releases stored water from
Clear Lake and Gerber reservoirs. Reclamation has no obligation to deliver water to entities or individuals
except under contract with the United States.
        Consult on this action. In releasing water from the reservoirs for flood control purposes (which
is non-discretionary), Reclamation may nonetheless have some discretion over how this operation occurs,
and that discretion may be exercised in a manner that potentially benefits listed species, including in the
Klamath River.

5.4     OPERATION OF THE TULE LAKE SUMPS
         The Tule Lake Sumps (Sump 1A and 1B) are diked portions of the original lake that are now used
to store and dispose of excess drainage and runoff. The sumps are also within the boundaries of the Tule
Lake National Wildlife Refuge (TLNWR). Reclamation designed and built the dikes surrounding the
sumps the 1940s, as part of a joint construction program with the USFWS. Excess drainage and runoff in
the sumps is pumped into the Tule Lake Tunnel via Pumping Plant D. Reclamation has transferred
operation and maintenance responsibilities for Pumping Plant D to the Tulelake Irrigation District, subject
to rules and regulations issued by Reclamation, which generally specify the water surface elevations to be
maintained in the sumps for refuge and flood control purposes.135

135
  Reclamation Contract No. 14-06-200-5954, dated September 10, 1956. U.S. Bur. of Reclamation, Rules and
Regulations for Operation and Maintenance of Klamath Project Works Transferred to Tulelake Irrigation District
under Contract No. 14-06-200-5954 (rev. Feb. 21, 1984).

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        Reclamation has established minimum elevations for Sump 1A, notwithstanding Reclamation has
no direct control over inputs to the lake (from numerous non-point sources), and that operation of the
main outlet (Pumping Plant D) has been transferred to Tulelake Irrigation District. While Reclamation
assumes that these levels can reasonably be met based on historical operations, it may not be possible to
maintain Tule Lake Sump 1A elevations during excessively dry periods.
        The Tule Lake Sumps constitute the remnants of Tule Lake. Congress authorized Reclamation to
raise and lower water levels of Tule Lake. Reclamation lacks some physical control over this condition,
not being able to control all inflows (at least downstream the Lost River Diversion Channel). Reclamation
also lacks complete control and therefore discretion over operation of Pumping Plant D, the only outlet
from the sumps besides natural evaporation, transpiration, and seepage.
        Reclamation’s agreement with USFWS does not further confine Reclamation’s discretion over
operation of the sumps, recognizing that these are Klamath Project facilities under Reclamation’s
administrative responsibility.
         Consult on this action. Although limited in some respects, Reclamation has discretion over the
water levels in the Tule Lake Sumps, as the remnant waterbodies of Tule Lake. Although not designated
critical habitat for Lost River and shortnose suckers, both species are present in the Tule Lake Sumps.
Reclamation cannot guarantee that certain levels in the Sumps, due to factors outside of Reclamation’s
control (e.g., evaporation). But to the extent Reclamation elects to establish target levels in the Tule Lake
Sumps, this discretion can be exercised in a manner that benefits listed species. This action should be
consulted upon accordingly.




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            CHAPTER 6 - APPLICATION OF ENVIRONMENTAL BASELINE

         Review of the specific operational actions described in Chapter 5 was performed in accordance
with the goals of this reassessment: ensuring compliance with law and regulation; defining the scope of
Reclamation’s proposed actions; correcting attributing actions to the appropriate entity; excluding non-
discretionary actions from the consultation; and properly characterizing the environmental baseline.
         The effects of actions over which Reclamation has no discretion – even though those actions may
occur within the service area or involve existing facilities of the Klamath Project – cannot reasonably be
characterized as an agency action causing impacts to the species or modification of species’ habitat within
the meaning of the ESA. Those effects are not an agency action subject to consultation. Rather they are
activities or conditions that exist overarching, alongside, or in the background of operation of the Klamath
Project, and are therefore properly attributable to the environmental baseline. It is only the agency’s
discretionary actions that are subject to consultation.
         A hypothetical example serves to illustrate this situation. If Reclamation were to propose an
agency action of, among others in connection with the Klamath Project, storing tributary inflow in Upper
Klamath Lake, it is the act of storing tributary inflow that Reclamation must consult on. Reclamation does
not need to extend this act to consulting on Upper Klamath Lake being at designated water surface
elevations to a hundredth of an inch under certain hydrologic conditions at certain times of the year,
because that action necessarily entails conditions, events, and non-federal actions beyond Reclamation’s
control (e.g., rain, runoff, diversions).
        Similarly, if Reclamation proposes to bypass and release tributary inflow from Upper Klamath
Lake under certain conditions, it is the releases from Upper Klamath Lake that the agency must consult
on. Reclamation does not need to extend this action to consulting on daily designated flows occurring in
the Klamath River approximately forty miles downstream of the Klamath Project, particularly through
four private hydroelectric facilities, because that subsequent condition, although influenced by
Reclamation’s action, is beyond Reclamation’s discretionary control.
         Reclamation recognizes that the existence of the Klamath Project has altered hydrologic
conditions in the Klamath Basin. That alteration, however, has occurred within the context of a
congressionally authorized project maintained for congressionally authorized purposes. The ESA Section
7(a)(2) consultation process is not the proper venue to address affects related to the continued presence of
Reclamation structures or the activities or conditions outside the scope of the agency’s discretion. Those
effects are more properly and efficiently addressed through collaborative efforts among all agencies and
parties causing impacts to listed species in the Klamath Basin. Reclamation continues to honor its
commitment to address those impacts attributable to the environmental baseline, but through
collaborative, locally supported processes, such as demonstrated in the KBRA.




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         CHAPTER 7 - SUMMARY OF FINDINGS AND REGIONAL DECISION

        The U.S. Bureau of Reclamation, California-Great Basin Region, has performed this thorough
reassessment of actions associated with its continuing operation of the Klamath Project, in southern
Oregon and northern California. These actions were critically evaluated for the purpose of facilitating
consultation with USFWS and NMFS under Section 7(a)(2) of the ESA. This comprehensive
reassessment permitted careful consideration of previously proposed Reclamation actions to:

    x   verify compliance with law and regulation;
    x   clearly define the scope of the actions;
    x   correctly attribute actions to the appropriate agency;
    x   ensure non-discretionary actions were excluded from consultation; and
    x   properly characterize the environmental baseline.

         Application of the above criteria resulted in a determination that there are at least eleven
operational actions in connection with the Klamath Project that are properly considered subject to ESA
consultation at this time. (Note that other actions, including administration of certain contract provisions)
may also be subject to ESA consultation by Reclamation.) Reclamation will verify or re-evaluate the
effects of these actions and will conduct ESA consultation only if the manner (“how” or “when”) of
performing the action may affect listed species or designated critical habitat. They are:
  Operation of Upper Klamath Lake:
        1. Storing Tributary Inflow
        2. Releasing Stored Water
        3. Establishing Target Lake Levels
        4. Flood Control Operating Criteria
        5. Making Water Rights Calls
  Operation of the Klamath and Lost Rivers:
        6. Diverting Water Through and Into the Lost River Diversion Channel
        7. Lost River Diversion Channel Operations
        8. Control of the Klamath Straits Gates
        9. Klamath Straits Drain Operations
  Operation of Clear Lake and Gerber Reservoirs
        10. Storing Tributary Inflow
        11. Releasing Stored Water

        Further at this time, Reclamation anticipates not consulting on four operational actions pursuant
   to Section 7(a)(2) of the ESA. They are:
        1. Establishing Minimum Release Rates from Upper Klamath Lake


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        2. Coordinating Project Diversions from Upper Klamath Lake
        3. Establishing Minimum River Flows in the Klamath River
        4. Establishing Minimum Water Levels in Tule Lake Sump 1A.

         Reclamation has the authority but lacks the discretion to guarantee absolute fixed minimum
releases from Upper Klamath Lake, flows in the Klamath River, or water surface elevations in Tule Lake
Sump 1A. Reclamation can designate target releases from Upper Klamath Lake, target flows in the
Klamath River, and target water levels in Tule Lake Sump 1A, minimum or otherwise, and then exercise
its discretion – and to the extent it does so, this would be an action the agency must consult on. But
Reclamation cannot produce pre-determined flows, lake levels, or sump levels at all times, regardless of
the hydrologic conditions and other factors beyond Reclamation’s control. Reclamation should therefore
not consult on fixed releases from Upper Klamath Lake, flows in the Klamath River, and water levels in
Tule Lake Sump 1A.
        Again, as opposed to absolute flows or levels, establishing “target” releases from Upper Klamath
Lake, flows in the Klamath River, and water levels in Tule Lake Sump 1A, including target minimums,
would appear to be within the agency’s authority and discretion, and should be consulted on if proposed
by Reclamation.
        The recommendations provided in this reassessment reflect a thorough and comprehensive review
of Reclamation’s continuing operations of the Klamath Project. Actions recommended for inclusion in
future consultations vary significantly from the far-reaching scope of actions included in past BAs. The
broad reach of past consultations appears to have been the result of a number of factors, including:
        1. Pre-existence of FERC minimum release requirements from Iron Gate Dam under
           PacifiCorp’s 1956 license for operation of the Klamath Hydroelectric Project (FERC license
           no. 2082), which could never be met by PacifiCorp except with volumes supplied by the
           Klamath Project;
        2. Reclamation’s assumption, prior to issuance of the ACFFOD, that Reclamation unilaterally
           owned the water rights in connection with the Klamath Project, including the interest in
           beneficial use of the water;
        3. An attempt to negotiate proposed actions for BAs that were agreeable to all stakeholders and
           attempted to “balance” competing needs and respective rights within the basin, through the
           form of a Section 7(a)(2) consultation but also in the context of anticipated enactment of a
           basin-wide settlement; and
        4. A view of agency action that was overly broad, especially in light of intervening court
           decisions.

         This latter point was the largest single determining factor in this reassessment. It is clear, based
on applicable authorizing legislation, applicable water rights at issue (both adjudicated and
unadjudicated), and the physical conditions in the Klamath Basin that Reclamation’s discretion to regulate
water surface levels in Upper Klamath Lake and flows in the Klamath River – for the benefit of
endangered species or otherwise – is narrower than the scope of Reclamation’s recent consultations.
Reclamation has (and currently still is under the Interim Operations Plan) attempted to manage the
Klamath Project in a manner that achieves pre-determined hydrologic conditions throughout the entire
Klamath Basin, based on effects associated with operation of the Klamath Project, as well as other
federal, state, and private actions over which Reclamation has no discretionary control.



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Klamath Basin, based on effects associated with operation of the Klamath Project, as well as other
federal, state, and private actions over which Reclamation has no discretionary control.
Accordingly, and for the reasons stated herein, it is recommended that consultation be limited to actions
consistent with the analysis and determinations stated above.


Principal Author:
GEORGE Digitally     signed by
             GEORGE DRISCOLL

DRISCOLL 07:16:05 -08'00'
             Date: 2021.01.15            1/15/21
_________________________                _____________
George Moss Driscoll                          Date
Senior Water Contracts Specialist
Klamath Basin Area Office


Through:
                Digitally signed by
JEFFREY      JEFFREY NETTLETON
NETTLETON    Date: 2021.01.15
_________________________
             08:01:48 -08'00'            _____________
Jeffrey Nettleton                             Date
Area Manager
Klamath Basin Area Office


Through:
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             JEFFREY PAYNE

PAYNE        Date: 2021.01.15
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             08:20:19 -08'00'            _____________
Jeffrey T. Payne                               Date
Deputy Regional Director
California-Great Basin Region




Concurrence:
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Ernest A        Ernest A Conant

Conant          Date: 2021.01.15
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Ernest A. Conant                               Date
Regional Director
California-Great Basin Region




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                                     Quality Control Reviewers


Jeffrey L. Nettleton
Area Manager
Klamath Basin Area Office


Jared L. Bottcher
Deputy Area Manager
Klamath Basin Area Office


Kristen Hiatt
Chief, Environmental Compliance Branch
Klamath Basin Area Office


                                    Product Development Team


Ray Sahlberg
Regional Water Rights Officer
California-Great Basin Region


Steven R. Palmer
Special Assistant
California-Great Basin Region, Bay-Delta Office




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From: NATHAN RIETMANN <nathan@rietmannlaw.com>
Subject: Complaint of illegal water use
Date: April 22, 2020 at 8:26:05 AM PDT
To: Staley Darsee <Darsee.Staley@doj.state.or.us>, Moulun Renee M
<renee.m.moulun@doj.state.or.us>

Darsee/Renee -

Klamath Irrigation District is hereby formally making a report that the United States
Bureau of Reclamation is illegally diverting stored water in Upper Klamath Lake reservoir
without a water right through the Link River and Keno Dams to the detriment of KID and
other secondary water rights holders in Upper Klamath Lake reservoir. See
here:https://waterdata.usgs.gov/nwis/uv/?site_no=11507500&parameter_cd=00060. We
ask that the watermaster immediately curtail this water use in accordance with law unless
or until the United States obtains a water right authorizing the use.

Nathan




NATHAN R. RIETMANN
Rietmann Law, P.C.
1270 Chemeketa St. NE
Salem, Oregon 97301
Ph: 503-551-2740
Fax: 1-888-700-0192
nathan@rietmannlaw.com
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                  D.@3<?:216;  .;1A52?2.3A2?2;A2?216;A<.0<;A?.0AD6A5%209.:.A6<;6;  
  A< ?2=.F A52 0<@A@ <3 0<;@A?B0A6<; <=2?.A6<; .;1 :.6;A2;.;02 <3 A52 9.:.A5 $?<720A  '52

  0<;A?.0A5.@@6;02/22;.:2;121@2C2?.9A6:2@:<@A;<A./9F6;  FC6?AB2<36A@0<;A?.0A

    D6A5 %209.:.A6<;  5.@ . =2?=2AB.9 </964.A6<; A< <=2?.A2 .;1 :.6;A.6; 02?A.6; 6??64.A6<;
    D<?8@ <D;21 /F A52 (;6A21 &A.A2@ .;1 .; .336?:.A6C2 ;<;16@0?2A6<;.?F 924.9 .;1 0<;A?.0AB.9
    </964.A6<; A< 1296C2? D.A2? A< 3B93699 A52 .==B?A2;.;A D.A2? ?645A@ <3 6A@ <D; 9.;1<D;2?@  

    .9@< 5.@ . ;<;16@0?2A6<;.?F 924.9 .;1 0<;A?.0AB.9 </964.A6<; A< 1296C2? D.A2? ;22121 A< 3B93699
    D.A2? ?645A@ 5291 /F 02?A.6; 16@A?60A@ .;1 9.;1<D;2?@ 9<0.A21 <BA@612 P@ <D; /<B;1.?62@
  P@ 0<;A?.0A @=206360.99F 0<;A2:=9.A2@ A5.A <D;2?@56= <3 A52 A?.;@32??21 D<?8@ 6A 0B??2;A9F

  <=2?.A2@.;1:.6;A.6;@.@D299.@.;FD.A2??645A@5291/F%209.:.A6<;A5.A.?2.@@<06.A21D6A5
  D699/22C2;AB.99F/2A?.;@32??21A<

                                                                        
                  #;2/?B.?F            A52#?24<; 246@9.A6C2@@2:/9F2;.0A21A52*.A2?%645A@0A
    6;09B16;4A52=?<C6@6<;@3<B;1.A#%&                                                    A<      
    A<                              A<                    A<                     A<             A<
     .;1                A<        
                                                                         
                   $B?@B.;A A< #%&              .99 D.A2? D6A56; A52 @A.A2 3?<: .99 @<B?02@ <3 D.A2? @B==9F
  /29<;4@A<A52=B/960<D2C2?@B/720AA<2E6@A6;4?645A@6;16C61B.9@:.F</A.6;A52?645AA<B@2
  A52=B/960P@D.A2?/F.==9F6;43<?.;1</A.6;6;4.D.A2??645A(;12?#?24<;9.DA52B@2<3A52

         =B/960P@D.A2?6@.=?<=2?AF?645A #%&                            /'52=?<=2?AF?645A6@@.61A<
H              #I                                                                                                           %62A:.;; .D$
$.42  #!$ "'                                                                                                                  52:282A.&A"
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    /2 B@B3?B0AB.?F /20.B@2 .9A5<B45 . D.A2? ?645A 4?.;A@ A52 ?645A A< B@2 A52 =B/960P@ D.A2?

    <D;2?@56=<3A52D.A2?6A@293?2:.6;@C2@A216;A52=B/960#?24<;0<B?A@5.C2?20<4;6G21A5.A

    A52 ?645A A< A52 B@2 <3 D.A2? 0<;@A6ABA2@ . C2@A21 =?<=2?AF 6;A2?2@A D5605 0.;;<A /2 16C2@A21

    D6A5<BA1B2=?<02@@<39.D

                                                                 
                  #%&             1236;2@ D.A2? ?645A@ 2@A./96@521 =?6<? A< A52 .1<=A6<; <3 A52 *.A2?
  %645A@0A<;2/?B.?F                  .@B;12A2?:6;21C2@A21?645A@'52*.A2?%645A@0A=?<C612@
  .A#%&                 A5.AB;12A2?:6;21C2@A21?645A@.?2;<AA</26:=.6?21<?.3320A21/F.;F<3
  6A@=?<C6@6<;@<D2C2?#%&                     <3A52*.A2?%645A@0A.9@<=?<C612@A5.AA52@0<=2
    .;1 .AA?6/BA2@ <3 .99 B;12A2?:6;21 C2@A21 ?645A@ .?2 A< /2 12A2?:6;21 A5?<B45 .; .17B160.A6<;
    0<;1B0A216;.00<?1.;02D6A5#%&5.=A2? 
                                                                  
                   ;  A52 &A.A2 <3 #?24<; 6;6A6.A21 . 42;2?.9 @A?2.: .17B160.A6<; =B?@B.;A A< #%&
    5.=A2?   <3 A52 D.A2?@ <3 A52 9.:.A5 .@6; 52?2.3A2? N9.:.A5 17B160.A6<;O  '52
  9.:.A517B160.A6<;@.A6@362@A52?2>B6?2:2;A@<3A52!0.??.;:2;1:2;A                          (&J
  .;1 2;0<:=.@@2@    .99 =?2   @A.A2 3212?.9 .;1 A?6/.9 09.6:@ A< A52 B@2 <3 D.A2?
  @A<?21 6; (  ?2@2?C<6? .;1 A52 =<?A6<;@ <3 A52 9.:.A5 %6C2? 2;0<:=.@@21 D6A56; A52

  .17B160.A6<;
                                                                 
                   #;!.?05          A56?AF2645A F2.?@.3A2?0<::2;06;4A529.:.A517B160.A6<;
    232;1.;A#*%6@@B216A@6;16;4@<3.0A.;16;.9#?12?<32A2?:6;.A6<;N#O.;1

    369216AD6A5A529.:.A5<B;AF6?0B6A<B?AA5B@0<:=92A6;4A52.1:6;6@A?.A6C2=5.@2<3A52
    .17B160.A6<;
                                                                  
                  ; 2/?B.?F         #*% 36921 .; :2;121 .;1 <??20A21 6;16;4@ <3 .0A .;1 6;.9
  #?12?<32A2?:6;.A6<;N#OD6A5A529.:.A5<B;AF6?0B6A<B?A

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H              #I                                                                                        %62A:.;; .D$
$.42 #!$ "'                                                                                               52:282A.&A"
                                                                                                                  &.92:#?24<;    
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                                                                                                                ;.A5.;?62A:.;;9.D0<:
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                   '52 # =?<C612@ A5.A %209.:.A6<; 6@ A52 <D;2? <3 . ?645A A< @A<?2 D.A2?M
    @=206360.99F . :.E6:B: .;;B.9 C<9B:2 <3   .0?2322A <3 D.A2? 6; (  ?2@2?C<6? A<

    /2;236AA52@2=.?.A2D.A2??645A@5291/F.;1<A52?D.A2??645A5<912?@

                                                                 
                  '52#1<2@;<A?20<4;6G2%209.:.A6<;.@5.C6;4.;F?645AA<B@2D.A2?@A<?216;
  ( ?2@2?C<6?3<?6;@A?2.:=B?=<@2@

                                                                 
                 '52 # ?20<4;6G2@ A5.A  6A@ 9.;1<D;2?@ .;1 <A52? 16@A?60A@ .;1 9.;1<D;2?@
    D6A56;A529.:.A5$?<720A<D;D.A2??645A@2;A6A96;4A52:A<B@296C239<D.;1D.A2?A52(;6A21
    &A.A2@@A<?2@6;( ?2@2?C<6?3<?A52=B?=<@2@<36??64.A6<;.;1<A52?/2;23606.9B@2@.05.0?2
    <39.;1D6A5.;.==B?A2;.;AD.A2??645A6@2;A6A921A<B@2B=A< .0?2322A=2?.0?2&6;02A52?2

    .?2.==?<E6:.A29F               .0?2@<39.;1D6A56;A5.A5.C2.==B?A2;.;AD.A2??645A@5.@.
    ;<;16@0?2A6<;.?F</964.A6<;A<16C2?AB=A<                      .0?2322A2.056??64.A6<;@2.@<;A<3B93699A52
  D.A2??645A@<36A@<D;=.A?<;@.9@<5.@.;<;16@0?2A6<;.?F</964.A6<;A<1296C2?D.A2?3?<:

  ( ?2@2?C<6?A<<A52?6??64.A6<;16@A?60A@.;19.;1<D;2?@D5<5<91:.;FA2;@<3A5<B@.;1@<3
  .0?2@<39.;1D6A5.==B?A2;.;AD.A2??645A@.@@2A3<?A56;A52#

                                                                 
                  '52 # 6@ =?2@2;A9F 2;3<?02./92 B;12? #?24<; 9.D .;1 :B@A /2 3<99<D21 /F .99
    <D;2?@ <3 12A2?:6;21 09.6:@ =2;16;4 A52 7B1606.9 ?2C62D =5.@2 <3 A52 9.:.A5 17B160.A6<;
    /23<?2A529.:.A5<B;AF6?0B6A<B?A#%&                        #%&   '<1.A2A529.:.A5
    <B;AF6?0B6A<B?A5.@;<A6@@B21.@A.FA<.;F=.?AF=B?@B.;AA<#%&   
                                                                  
                   2@=6A2 A52 6@@B.;02 <3 A52 # .;1 A52 @B/@2>B2;A 6@@B.;02 <3 A52 #
  %209.:.A6<;5.@=2?@6@A216;B@6;4@A<?21D.A2?6;( 3<?6;@A?2.:=B?=<@2@3<?D56056A5.@
  ;<?645AB;12?#?24<;9.D<?A523212?.9%209.:.A6<;0A
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H              #I                                                                                        %62A:.;; .D$
$.42 #!$ "'                                                                                               52:282A.&A"
                                                                                                                  &.92:#?24<;    
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                   00<?16;49F6A6@092.?A5.A.;1%209.:.A6<;5.C2@64;6360.;A0<;3960A@<C2?A52?645A
    A<B@2@A<?21D.A2?6;( 

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                  #%&            =?<C612@A5.A
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                  *52;2C2?.;FD.A2?B@2?@3?<:.;F16A05<??2@2?C<6?26A52?.:<;4A52:@29C2@
                    <? D6A5 A52 <D;2? A52?2<3 .?2 B;./92 A< .4?22 ?29.A6C2 A< A52 16@A?6/BA6<; <?
                  16C6@6<;<3D.A2?A5?<B45<?3?<:A5216A05<??2@2?C<6?26A52?A52<D;2?<?.;F
                    @B05D.A2?B@2?          
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                    A52B@2A52?2<3
    
                                                                 
                   ; =?69 <3       D.@ 2E=2?62;06;4 . D.A2? @5<?A.42 .;1 ?2=2.A219F 12:.;121 6;
    D?6A6;4A5.A#*%A.822E09B@6C205.?42<3(==2?9.:.A5 .82=B?@B.;AA<#%&                                      .;1
    16C612.;116@A?6/BA2A52D.A2?A52?23?<:6;.00<?1.;02D6A5A52?2@=20A6C2.;1?29.A6C2?645A@<3
  A52C.?6<B@B@2?@<3D.A2?3?<:A52?2@2?C<6?232;1.;A3.6921A<.0A<;A52@2?2>B2@A@.;13.6921

  A<4?.;A<?12;FA52?2>B2@A@6;D?6A6;4
                                                                
                  '52?2.3A2?36921@B6A.4.6;@AA52#*%6;!.?6<;<B;AF6?0B6A<B?A.@2"<
           )           <99<D6;4.52.?6;4<;A52:2?6A@A52<B?A4?.;A217B14:2;A6;P@3.C<?.;1
    6@@B21.;<?12?0<:=2996;4#*%A<A.8205.?42<3( =B?@B.;AA<#%&                                   <D2C2?
    #*% .@@2?A21 6A 0<B91 ;<A :.82 . 1206@6<; D6A5<BA 2EA2;@6C2 .;1 B;;202@@.?F 3.0AB.9

    6;C2@A64.A6<;  F 129.F6;4 .0A6;4 B;A69 6A 0<B91 4.A52? A56@ 6;3<?:.A6<; 6A 09.6:21 A< ;221
    #*%.C<6121:.86;4.;F1206@6<;/23<?2P@=?.0A60.9;2213<??29623A2?:6;.A21D6A5A52
    2;1 <3 A52 6??64.A6<; @2.@<;  '52 6@@B2 D.@ A52?2.3A2? ?2;12?21 :<<A .;1 #*% 02.@21
  =B?@B6;4.;F.0A6<;
                  
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H                 #I                                                                                            %62A:.;; .D$
$.42 #!$ "'                                                                                                      52:282A.&A"
                                                                                                                         &.92:#?24<;    
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                                                                                                                       ;.A5.;?62A:.;;9.D0<:
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                                                                 
                  '56@F2.?      6@=?<C6;4A</2.;<A52?F2.?<3D.A2?@5<?A.42.;1.4.6;%209.:.A6<;
    6@B@6;4@A<?21D.A2?3?<:( ?2@2?C<6?D6A5<BA.D.A2??645A6;C6<9.A6<;<3#?24<;9.D.;1

    A52 %209.:.A6<; 0A <? 2E.:=92 6; . 1?.3A ;C6?<;:2;A.9 @@2@@:2;A <0B:2;A NO

  =?<C6121A<$9.6;A633<;<?./<BA=?69                    %209.:.A6<;6;160.A21A5.A6AD<B91B@2@A<?21
  D.A2?6;( ?2@2?C<6?3<?6;@A?2.:=B?=<@2@D6A5<BA.;FD.A2??645A/246;;6;4D6A5.                              
  .0?23<<AN39B@56;439<DOA</2@2;A1<D;A529.:.A5%6C2?D6A56;.=2?6<1<3.32D@5<?A1.F@

   @B/@2>B2;A9F 92.?;21 A5.A %209.:.A6<; 6;A2;121 A< 0<;1B0A A52 39B@56;4 39<D <; <? ./<BA

  =?69                 
                                                                 
                  '52?23<?2 <; =?69          .4.6; .@821 232;1.;A@ 6;09B16;4 @=206360.99F
    232;1.;A *.A@<; A52 D.A2?:.@A2? <3 A52 16@A?60A 6; D5605 (  ?2@2?C<6? 6@ 9<0.A21 A< A.82

    05.?42 <3 (  ?2@2?C<6? =B?@B.;A A< #%&                     N.00<?16;4 A< A52 ?29.A6C2 .;1 ?2@=20A6C2
    ?645A@<3A52C.?6<B@B@2?@3?<:A52L?2@2?C<6?O
                                                                 
                 @<3=?69        5.1;<A?2026C21.;F?2@=<;@23?<:#*%6;?24.?1A<6A@
  ?2>B2@A A5.A #*% A.82 05.?42 <3 (  3<? =B?=<@2@ <3 0<;A?<996;4 A52 16@A?6/BA6<; <3 D.A2?

  00<?16;49F  @2;A 0<??2@=<;12;02 A5?<B45 6A@ .AA<?;2F ;<A6;4 A5.A 6A D<B91 /?6;4 924.9
  .0A6<; 63 ;202@@.?F A< 0<:=29 #*% A< =2?3<?: 6A@ ;<;16@0?2A6<;.?F 1BAF A< A.82 05.?42 <3
    ( .;10<;A?<9A5216@A?6/BA6<;<3D.A2?6;.1C.;02<3A5239B@56;439<D
                                                                  
                   '52?2.3A2?%209.:.A6<;05.;421A52A6:6;4<36A@39B@56;439<D3?<:=?69                      A<
    .;B;8;<D;A6:2=?6<?A<!.F                
                                                                  
                  #;'5B?@1.F=?69        .A        =:#*%6@@B21.;6;A2?:216.A2<?12?2;A6A921
  N"#''#"                  #   &'%('#"            "      ")&''#"           "          #
         &'%('#"ON;A2?:216.A2#?12?O
H              #I                                                                                          %62A:.;; .D$
$.42 #!$ "'                                                                                                 52:282A.&A"
                                                                                                                    &.92:#?24<;    
                                                                                                                           
                                                                                                                  ;.A5.;?62A:.;;9.D0<:
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                                                               
                  #*%P@ ;A2?:216.A2 #?12? 161 ;<A A.82 05.?42 <3 (  ?2@2?C<6? =B?@B.;A A< #%&
                 A<?2@<9C2P@C2?F@=2063600<:=9.6;AA5.A%209.:.A6<;D.@6::6;2;A9F=?2=.?21A<
    B;9.D3B99F16C2?A@A<?21D.A2?D6A5<BA.D.A2??645A6;C6<9.A6<;<3A52##%&                       
  #%&                .;1<A52?#?24<;9.D@
                                                              
                 ;@A2.1#*%P@;A2?:216.A2#?12?@2A3<?A5.=?<02@@<36;C2@A64.A6;4P@?2>B2@A
  A5.A#*%A.8205.?42<3( ?2@2?C<6?/F6@@B6;4@B/=<2;.@/23<?2!.F                        0<;1B0A6;4
  52.?6;4@ .;1 <A52?D6@2 6;C2@A64.A6;4 D52A52? A52?2 6@ . @B?3.02 D.A2? @5<?A.42 0.B@21 /F A52

    =B?=<?A21 :.;.42:2;A <3 @A<?21 D.A2?  #*% 6@ D299 .D.?2 <3 A52 3.0A A5.A A52 B;9.D3B9
    16C2?@6<;<3D.A2?A5.AD.@6::216.A29F0<;02?;21D6A5D.@6@@0521B921A<5.==2;=?6<?A<
    A56@!.F                1.A2.;1A523.69B?2A<.0A/23<?2%209.:.A6<;P@?292.@2@D<B9112=?6C2
    .;1A523.?:2?@6A@2?C2@<3A526?=?<=2?AF6;A2?2@A@6;A526?D.A2??645A@
                                                              
                 #; =?69          =2A6A6<;21 A56@ <B?A 3<? .; 2:2?42;0F .9A2?;.A6C2 D?6A <3
  :.;1.:B@6;!.?6<;<B;AF6?0B6A<B?A.@2"<                  )  A5.AD<B910<:=29232;1.;A@
  A<A.822E09B@6C205.?42<3( ?2@2?C<6?.;12;@B?2D.A2?6@16@A?6/BA213?<:( ?2@2?C<6?6;

  .00<?1.;02D6A5A52?29.A6C2?645A@A52?2<;62A52#
                                                             
                  #;=?69        A56@<B?A6@@B21.;.9A2?;.A6C2D?6A<3:.;1.:B@0<:=2996;4#*%
    A<A.8205.?42<3( ?2@2?C<6?.;116@A?6/BA2A52D.A2?A52?2<36;.00<?1.;02D6A5A52?29.A6C2

    D.A2??645A@A52?2<;62#
                                                              
                   ;.;<?12?1.A2=?69         #*%.@@2?A216A5.1A.82;05.?42<3( .@<3=?69
                  A .9@< <?12?21 %209.:.A6<; A< N02.@2 ?292.@6;4 @A<?21 D.A2? 3?<: (  ?2@2?C<6?
                             


H              #I                                                                                    %62A:.;; .D$
$.42 #!$ "'                                                                                           52:282A.&A"
                                                                                                              &.92:#?24<;    
                                                                                                                     
                                                                                                            ;.A5.;?62A:.;;9.D0<:
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    O B;A69 %209.:.A6<; @5.?21 D6A5 #*% 02?A.6; 6;3<?:.A6<; 612;A63F6;4 A52 .BA5<?6AF 6A

     .BA5<?6G216AA<B@2@A<?21D.A2?6;( ?2@2?C<6?

                                                              
                   2@=6A2 A52 6@@B.;02 <3 A52 D?6A <3 :.;1.:B@ /F A56@ <B?A #*%P@ =?69            
  <?12? 161 ;<A56;4 A< 0<;A?<9 A52 16@A?6/BA6<; <3 D.A2? A5?<B45 A52 6;8 %6C2? .: .@ #*%

  D.@ </964.A21 A< 1< B;12? #%&                 #%&          .;1 A52 D?6A 6@@B21 /F A56@ <B?A
  ;@A2.1A52<?12?.99<D21%209.:.A6<;A<0<;1B0AA5239<D2E.0A9F.@=9.;;21D6A5<BA#*%

  :.86;4.;F1206@6<;.@A<D52A52?A5239<DD.@6;.00<?1.;02D6A5A52#.;1#?24<;

  9.D<?;<A'56@6@:.12</C6<B@/FA523.0AA5.A%209.:.A6<;5.@0<;A6;B21A<B@2D.A2?3?<:

    ( A<@.A6@3F6A@&</964.A6<;@M@=206360.99FA52?292.@2<3.9.?42>B.;A6AF<3@A<?21D.A2?
    .@ . @<0.9921 N39B@56;4 39<DOM2C2; .3A2? #*% =B?=<?A219F NA<<8 05.?42O <3 (   '52
    4?.=5 /29<D .C.69./92 =B/9609F <; A52 (& 2<9<460.9 &B?C2FP@ D2/@6A2 @5<D@ A5.A .3A2?

    #*%=B?=<?A219FNA<<82E09B@6C205.?42O<3( <;=?69                         .;1<?12?21%209.:.A6<;
    A< 02.@2 ?292.@6;4 @A<?21 D.A2? %209.:.A6<; ;2C2?A5292@@ ?292.@21 6A@ 39B@56;4 39<D /246;;6;4
  <;=?69                .;10<;A6;B6;4B;A69!.F          @A56@4?.=5092.?9F@5<D@A5216@05.?42
  <C2? 6;8 %6C2? .: 1B?6;4 A56@ =2?6<1 6;0?2.@21 @5.?=9F  '56@ 6;0?2.@21 >B.;A6AF <3 D.A2?
  ?292.@21?23920A@A52?292.@2<3@A<?21D.A2?3?<:( D6A5<BA.D.A2??645A.;1@B056;0?2.@21

  39<D@0.;;<A/2.AA?6/BA21A<96C2<?;.AB?.939<D<3A529.:.A5%6C2?
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H              #I                                                                                      %62A:.;; .D$
$.42         #!$ "'                                                                                      52:282A.&A"
                                                                                                                &.92:#?24<;    
                                                                                                                       
                                                                                                              ;.A5.;?62A:.;;9.D0<:
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                                                               
                   232;1.;A@5.C2NA.82;05.?42O<3( 6;;.:2<;9F232;1.;A@5.C21<;2;<A56;4A<
    =?2C2;A A52 .0AB.9 ?292.@2 <3 D.A2? 6; .; B;9.D3B9 :.;;2? 12@=6A2 092.? 2C612;02 A5.A

    %209.:.A6<;6@39<BA6;4232;1.;A@P<?12?

                                                               
                  232;1.;A@ 5.C2 A52 924.9 .BA5<?6AF B;12? #?24<; 9.D A< 1< :<?2 A5.; :2?29F 6@@B2
  <?12?@D5605.?2D<?121@<.@A</2A<<A592@@A</26;4D6A5.;10.;.;1.?2/26;464;<?21A<A52

  2EA2;AA52F:.F/26;A2?=?2A21.@5.C6;4.;FA22A5232;1.;A@.;1A526?.42;A@:.FA.820<;A?<9

  <3 52.14.A2@ .;1 <A52? 12C602@ 3<? D.A2? 16@A?6/BA6<; :.F =B?@B2 924.9 .0A6<;@ A< =?2C2;A

    B;9.D3B9?292.@2@<3@A<?21D.A2?.;1:.F@228=B;6A6C2:2.@B?2@.4.6;@A6;16C61B.9@D5<39<BA
    A526?.BA5<?6AF #%&              ,@2AA6;4<BAD.A2?:.@A2?1BA62@-#%&        ,4?.;A6;4
    D.A2?:.@A2? =<D2? A< .??2@A .;1 3692 0<:=9.6;A@- #%&                #%&          ,;<A6;4 A5.A
    2.0516A05<?0.;.9:B@A5.C2.52.14.A2A5.A0.;/29<0821.;182=A09<@21/FA52D.A2?:.@A2?-
    #%&                   ,.BA5<?6AF<3D.A2?:.@A2?A<09<@216A052@-#%&        ,@.:2-<D2C2?A52F
  5.C2;<AA.82;  <3A52@2@A2=@<?<A52?D6@2@<B45AA<2;@B?2A5.A%209.:.A6<;0<:=962@D6A5

  #*%P@N<?12?O
                                                               
                  232;1.;A@ 0.;;<A .@@2?A A5.A A52F 5.C2 A.82; N2E09B@6C2 05.?42O <3 (  ?2@2?C<6? /F
  6@@B6;4.;<?12?A5.A6@@6:=9F/26;464;<?21.;1A.86;4;<@A2=@A<2;3<?02A526?<?12?A6@092.?
    A5.A232;1.;A@5.C2;26A52?=5F@60.9;<?.0AB.90<;A?<9<3( ?2@2?C<6?
                                                                
                   B?A52? 232;1.;A@ 5.C2 6;@6@A21 A52F :B@A 0<;1B0A .; 6;C2@A64.A6<; =?6<? A< A.86;4
    05.?42<3( ?2@2?C<6?.;112A2?:6;6;4A5216@A?6/BA6<;<3D.A2?A52?23?<:$9.6;A633:.6;A.6;@
    ;< @B05 6;C2@A64.A6<; 6@ ;202@@.?F  ; 3.0A @B05 .; 6;C2@A64.A6<; <3 A52 ?29.A6C2 ?645A@ <3 A52
  =.?A62@A<A56@16@=BA25.@.9?2.1F0<;1B0A21<C2?A52=.@A3<B?120.12@6A0B9:6;.A216;
  A52#D56052@A./96@52@.;1@2A@<BAA52?2@=20A6C22;3<?02./92?645A@<3A52=.?A62@"<

         3B?A52?6;C2@A64.A6<;6@;202@@.?F
H              #I                                                                                     %62A:.;; .D$
$.42         #!$ "'                                                                                     52:282A.&A"
                                                                                                               &.92:#?24<;    
                                                                                                                      
                                                                                                             ;.A5.;?62A:.;;9.D0<:
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                                                                  
                   C2; 63 @<:2 3.0AB.9 6;C2@A64.A6<; :B@A A.82 =9.02 =?6<? A< A52 12A2?:6;.A6<; <3 5<D
    D.A2?@5<B91/216@A?6/BA21M3<?6;@A.;02A<16@A6;4B6@5/2AD22;96C239<D.;1@A<?21D.A2?6;

    ( MA56@ 6;3<?:.A6<; 6@ ?2.169F .C.69./92 A< #*% D5605 ?2>B6?2@ A5.A .99 <D;2?@ <3

  @A?B0AB?2@ A5.A </@A?B0A A52 ;.AB?.9 39<D <3 A52 ?6C2? :.6;A.6; :2.@B?6;4 12C602@ @B05 A5.A A52

  ;.AB?.939<D<3A52?6C2?0.;/22.@69F12A2?:6;21 #%&                     
                                                                 
                   .@A9F ?24.?192@@ <3 A52 92C29 <3 3.0AB.9 6;C2@A64.A6<; ?2>B6?21 232;1.;A@ :B@A NA.82
  2E09B@6C2 05.?42O <3 (  B=<; A52 3696;4 <3 A52 0<:=9.6;A ;<A B=<; A52 0<:=92A6<; <3 .;

    6;C2@A64.A6<;  232;1.;A@ 5.C2 092.?9F 3.6921 A< 1< @< 52?2 @6;02 %209.:.A6<; 0<;A6;B2@ A<
    ?292.@2 D.A2? D6A5<BA . @20<;1.?F D.A2? ?645A ;<AD6A5@A.;16;4 232;1.;A@P N<?12?O A< 02.@2
    1<6;4 @<  232;1.;A@ 5.C2 A.82; ;< .0A6<; A< 2;3<?02 A526? N<?12?O 12@=6A2 A52 .C.69./696AF <3

    .C2;B2@A<1<@<.;1A5B@0.;;<A09.6:A<5.C2A.82;N2E09B@6C205.?42O<3A52?2@2?C<6?
                                                                
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                                                20CV17922
  DENIED. Respondents' Motion restates their misapprehension of this courts Orders in 20CV17922
  and 20CV15606. Respondents' accepted exclusive jurisdiction over the UKL pursuant to ORS
  540.210. Respondents are required by that statute to divide and distribute the water therefrom in
 1accordance with the respective and relative rights of the various users. Despite this statutory obligation,
  Respondents have continued to allow the Bureau of Reclamation to take Stored Water without
 2determining the Bureau's right to do so. The Respondents continue to violate the Oregon Water Rights
  Act by allowing the Bureau to take and use Stored Water in the UKL without determining it is entitled to do
 3so as required by ORS 540.210. Respondents must stop the release until a determination is made
  pursuant to ORS 540.740. Nothing in the Court's Order dictates how the Respondents make the
 4determination or what IN criteria
                            THE CIRCUIT
                                    is used.COURT   OF THE
                                             TPC, LLC        STATE308
                                                        v. OWRD,   OF Or.App.
                                                                      OREGON  177 is not analogous or
 5factually similar to this case.  MAKE   A DETERMINATION.                          Signed: 1/8/2021 11:52 AM
                                      FOR THE COUNTY OF MARION
 6   KLAMATH IRRIGATION DISTRICT,                          Case No. 20CV17922
 7                  Petitioner,                                            ION FOR
                                                           RESPONDENTS' MOTION
                                                           RECONSIDERATION
 8          v.
 9   OREGON WATER RESOURCES
     DEPARTMENT, an agency of the state of
10   Oregon, THOMAS BYLER, in his official                 ORS 20.140 - State fees deferred at filing
     capacity as Director of Oregon Water
11   Resources Department, and DANETTE
     WATSON, in her official capacity as
12   Watermaster for the Oregon Water Resources
     Department,
13
                    Respondents.
14

15                                                MOTION
16          Respondents move for reconsideration of their Motion to Dismiss based on lack of
17   subject matter jurisdiction. The Court of Appeals ruled on December 30, 2020, that the Marion
18   County Circuit Court lacks subject matter jurisdiction over determined claims “currently subject
19   to pending exceptions before the Klamath County Circuit Court.” TPC, LLC v. Water Resources
20   Dept., slip opinion, 308 Or App 177, 198 (December 30, 2020). Petitioner’s attempt to use ORS
21   540.740 to circumvent the exclusive adjudication process must be rejected and the claim
22   dismissed because this Court lacks subject matter jurisdiction.
23          The Klamath County Circuit Court, in Case No. WA1300001, has exclusive jurisdiction
24   over the ACFFOD. Petitioner’s second claim under ORS 540.740 seeks an injunction to compel
25   the watermaster to “carry into effect” the ACFFOD but on terms that are contrary to the
26   ACFFOD. Specifically, the ACFFOD does not confer a right on petitioner to control operation
Page 1 - RESPONDENTS' MOTION FOR RECONSIDERATION
         34859822

                                                   Department of Justice
                                                  100 SW Market Street
                                                    Portland, OR 97201
                                           (971) 673-1880 / Fax: (971) 673-5000
            Case 1:21-cv-00504-AA         Document 1-1             Filed 04/05/21   Page 172 of 292




 1   of the United States Bureau of Reclamation’s Klamath Project diversion and distribution works

 2   or to prohibit the release of stored water by the Bureau when there is sufficient water present to

 3   satisfy petitioner’s determined claim under the ACFFOD. Those issues are presently pending

 4   before the adjudication court. Therefore, this Court lacks subject matter jurisdiction.

 5   Respondents request that the Court reconsider the motion to dismiss for lack of subject matter

 6   jurisdiction and dismiss petitioner’s claim for an injunction under ORS 540.740.

 7                                    POINTS AND AUTHORITIES

 8           Respondents moved to dismiss petitioner’s injunction claim pursuant to ORCP 21A(1)

 9   for lack of subject matter jurisdiction based on KBA exclusivity.1 The question presented was

10   the same question before the Court of Appeals in TPC, namely “whether the subject matter of
11   the petitions herein was nonetheless within the scope of the exclusive jurisdiction of Klamath
12   County Circuit Court, as provided in ORS chapter 539, because petitioners’ claims were bound
13   up with the KBA, a proceeding under ORS chapter 539.” TPC, 308 Or App at 191 (emphasis in
14   original). The record shows that here, as in TPC, the answer is yes. The Court lacks jurisdiction
15   and the claim under ORS 540.740 must be dismissed.
16           As relevant here, the ACFFOD establishes that (1) the Bureau of Reclamation is the sole
17   owner of a storage right in Upper Klamath Lake (Ex 507) and (2) petitioner is a co-owner with
18   the Bureau and others of a right to use water from Upper Klamath Lake and the Klamath River
19   (Ex 508). There is no dispute that the ACFFOD does not determine (a) the amount of stored
20   water petitioner or its co-owners are entitled to use or (b) “the relative rights of the KPWU
21   entities and the United States to control or operate diversion and distribution works, including
22   headgates, pumps, canals and other structures * * * and does not alter in any way the relative
23   rights of the United States and the irrigation entities to control or operate the irrigation works.”
24   Ex 506. The validity of the ACFFOD’s conclusions is pending review in, and subject to, the
25   1
      Respondents also moved to dismiss because ORS 540.740 does not apply to the ACFFOD,
26   petitioner lacked standing and the KBA is another action pending, among other grounds.
Page 2 -   RESPONDENTS' MOTION FOR RECONSIDERATION
           34859822

                                                     Department of Justice
                                                    100 SW Market Street
                                                      Portland, OR 97201
                                             (971) 673-1880 / Fax: (971) 673-5000
           Case 1:21-cv-00504-AA         Document 1-1             Filed 04/05/21   Page 173 of 292




 1   exclusive jurisdiction of the KBA court. Specifically, the question of whether the ACFFOD

 2   should have determined control of the works, including the A-Canal and the Link River Dam, is

 3   pending before the adjudication court. Ex 513, p 9 (U.S. Exception 22: the ACFFOD “should

 4   provide that the control and operation of Project works extends to the right to administer

 5   contracts between the United States and Project water users for the diversion and use of Project

 6   water.”); see also Ex 514, p 9 (Agri-Water Exception 9 to the “conclusion that the claimants are

 7   not required to show the capacity of the storage system or the need for the entire amount of water

 8   claimed for storage”).

 9          As in TPC, the parties here agree that “Klamath County Circuit Court has exclusive

10   subject matter jurisdiction to review the KBA order.” 308 Or App at 192. To determine whether

11   the subject matter of the TPC petitioners’ injunction claim was within that exclusive jurisdiction,

12   the Court of Appeals considered authorities from the land use context concerning LUBA’s

13   exclusive jurisdiction. Id. Among other parallels, the Court of Appeals explained that the

14   requested relief – an injunction – made the TPC issue analogous to the circumstances in The

15   Flight Shop, Inc. v. Leading Edge Aviation, Inc., 277 Or App 638 (2016). In Flight Shop, the

16   Court of Appeals had “noted that the plaintiff’s requested remedies of an injunction to prevent

17   defendant from operating its fueling station and an order to remove the fuel tanks ‘underscore the

18   impropriety of circuit court intervention,’ because whether or not such remedies would be proper

19   would have required predicting the outcome of the land use decisional process. Id. at 646-47.”

20   308 Or App at 193 (emphasis added). The same is true here.

21          As written, the ACFFOD expressly concludes that, “[a] determination of the relative

22   rights of the KPWU entities and the United States to control or operate diversion and distribution

23   works, including headgates, pumps, canals and other structures, is not within the scope of the

24   Adjudication * * *.” Ex 506 (emphasis added). Petitioner’s claim is based on the contention that

25   the watermaster has failed to carry the ACFFOD into effect and, therefore, this Court can and

26   must “enjoin the unlawful uses of water by Reclamation” by controlling the Bureau’s diversion
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         34859822

                                                    Department of Justice
                                                   100 SW Market Street
                                                     Portland, OR 97201
                                            (971) 673-1880 / Fax: (971) 673-5000
            Case 1:21-cv-00504-AA        Document 1-1             Filed 04/05/21   Page 174 of 292




 1   and distribution works. Complaint, ¶¶ 57-60. This is exactly what the TPC court held the circuit

 2   court cannot do.

 3           In TPC, the petitioners’

 4                   * * * claim, and its requested relief, however, is irreconcilably bound up
             with the KBA, because it required Marion County Circuit Court to decide whether
 5           the Hyde Agreement placed a limitation on the Klamath Tribes’ KBA-determined
             water right claims. The KBA adjudicator had already rejected that notion,
 6           concluding that the no-call provision in the Hyde Agreement was “not pertinent to
             the determination of a water right claim.” That decision is currently on review
 7           before Klamath County Circuit Court in its review of the KBA order.
 8   308 Or App at 197. Similarly, petitioner’s claim here depends on an interpretation of the

 9   ACFFOD already rejected by the adjudicator in the conclusion that control of the works is not

10   “within the scope” of the ACFFOD. The circuit courts lack subject matter jurisdiction to issue

11   an injunction that predicts that the KBA court will ultimately modify the ACFFOD.

12                                            CONCLUSION

13            Petitioner seeks a remedy based on the erroneous assumption that the ACFFOD will

14   ultimately determine the relative rights of the Bureau and petitioner “to control or operate

15   diversion and distribution works” and require the Bureau to retain an entire season of stored

16   water petitioner to use, or not use. This Court lacks subject matter jurisdiction over that

17   decision. While exceptions to the ACFFOD are pending, the watermaster regulates in

18   accordance with the prior appropriation doctrine and the relative rights in the determined claims

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Page 4 -   RESPONDENTS' MOTION FOR RECONSIDERATION
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                                                   100 SW Market Street
                                                     Portland, OR 97201
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 1   as stated in the ACFFOD. ORS 540.740 applies (if at all) only to make sure that the watermaster

 2   carries the ACFFOD into effect as written. The injunction claim should be dismissed.

 3           DATED January 7, 2021.

 4                                                      Respectfully submitted,
 5                                                      ELLEN F. ROSENBLUM
                                                        Attorney General
 6

 7

 8                                                          s/ Darsee Staley
                                                        DARSEE STALEY #873511
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11                                                      Of Attorneys for Oregon Water Resources
                                                        Department, Thomas Byler and
12                                                      Danette Watson
13

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Page 5 -   RESPONDENTS' MOTION FOR RECONSIDERATION
           34859822

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 1                                   CERTIFICATE OF SERVICE

 2           I certify that on January 7, 2021, I served the foregoing RESPONDENTS' MOTION

 3   FOR RECONSIDERATION upon the parties hereto by the method indicated below, and
 4   addressed to the following:
 5
     Nathan R. Rietmann                                        HAND DELIVERY
 6   Rietmann & Rietmann, LLP                                  MAIL DELIVERY
 7   1270 Chemeketa St. NE                                     OVERNIGHT MAIL
     Salem, OR 97301                                         X SERVED BY EFILING
 8     Attorneys for Klamath Irrigation District

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13                                                       Of Attorneys for Respondents

14

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                                                           REGISTER OF ACTIONS
                                                                CASE NO. 20CN04464

Klamath Irrigation District vs Oregon Water Resources Department           §                                        Procedural Matters -
                                                                                                       Case Type:
                                                                           §                                        Contempt of Court Remedial
                                                                           §                            Date Filed: 10/23/2020
                                                                           §                             Location: Marion
                                                                           §

                                                               RELATED CASE INFORMATION

Related Cases
 18CV18112 (Contempt)
 20CV15606 (Contempt)
 20CV17922 (Contempt)
 20CN04465 (Related - Same Occurrence)
 20CN04466 (Related - Same Occurrence)

                                                                   PARTY INFORMATION

                                                                                                                         Attorneys
Defendant      Oregon Water Resources Department                                                                         DARSEE STALEY
                                                                                                                          Retained
                                                                                                                         971 673-1880(W)


Plaintiff      Klamath Irrigation District                                                                               NATHAN R RIETMANN
                                                                                                                         503 551-2740(W)

                                                                  CHARGE INFORMATION

Charges: Oregon Water Resources Department                                                 Statute               Level                 Date
1. Contempt of Court/Remedial                                                              33.055                N/A                   10/23/2020


                                                             EVENTS & ORDERS OF THE COURT

           OTHER EVENTS AND HEARINGS
10/23/2020 Motion - Show Cause
             RE: Contempt, including for Violation of Injunction
             Created: 10/26/2020 8:46 AM
10/23/2020 Declaration
             of Gene Souza in Support of KID Motion for Contempt
             Created: 10/26/2020 8:46 AM
10/23/2020 Declaration
             of Nathan Rietmann Dated October 2, 2020
             Created: 10/26/2020 8:46 AM
10/26/2020 Assignment - Trial Judge (Judicial Officer: Bennett, J Channing )
             ec: Plaintiff's Counsel 10.27.20
             Created: 10/26/2020 8:46 AM
10/26/2020 Motion - Amend
             Created: 10/26/2020 9:42 AM
10/26/2020 Declaration
             of Nathan R. Rietmann Dated October 26, 2020
             Created: 10/26/2020 9:42 AM
10/26/2020 Motion - Show Cause
             (Amended) RE: Contempt, including for violation of injunction
             Created: 10/26/2020 9:42 AM
01/11/2021 Motion - Consolidate Cases
             Created: 01/12/2021 2:38 PM
01/13/2021 Letter
             Created: 01/15/2021 10:49 AM
01/26/2021 Hearing - Conference Call (9:00 AM) (Judicial Officer Bennett, J Channing)
             Counsel via TEAMS conferencing; Date set by court to discuss status of all cases; Notice sent.
             Created: 01/21/2021 8:22 AM
01/26/2021 Notes - Correspondence
             Status Sheet via TEAMS/COVID
             Created: 01/26/2021 10:59 AM
01/26/2021 Order - Show Cause (Judicial Officer: Bennett, J Channing )

https://publicaccess.courts.oregon.gov/PublicAccessLogin/CaseDetail.aspxCaseID=32552549                                                     Page 1 of 2
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            Signed: 01/26/2021
            Created: 01/26/2021 11:00 AM
03/15/2021 Motion
            to Dismiss Petitions for Contempt
            Created: 03/16/2021 8:28 AM
05/03/2021 CANCELED Hearing - Show Cause (9:00 AM) (Judicial Officer Bennett, J Channing)
            Continued
            Rietmann & Staley via TEAMS conferencing; Date set with counsel; Notice sent.
            Created: 01/26/2021 10:02 AM
05/26/2021 Hearing - Show Cause (9:00 AM) (Judicial Officer Bennett, J Channing)
            Rietmann & Staley via TEAMS conferencing; Date reset from 5.3.21 with counsel; Notice sent.
            Created: 03/15/2021 3:19 PM


                                                                 FINANCIAL INFORMATION



             Plaintiff Klamath Irrigation District
             Total Financial Assessment                                                                                              111.00
             Total Payments and Credits                                                                                              111.00
             Balance Due as of 03/26/2021                                                                                              0.00

10/23/2020 Transaction Assessment                                                                                                     111.00
10/23/2020 Counter Payment                 Receipt # 2020-44693-TP                         Klamath Irrigation District              (111.00)




https://publicaccess.courts.oregon.gov/PublicAccessLogin/CaseDetail.aspxCaseID=32552549                                          Page 2 of 2
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Prepared for the United States
By Bruce D. Bernard, Trial Attorney
Colorado Bar No.12166

                              IN THE CIRCUIT COURT OF THE STATE OF OREGON

                                               FOR THE COUNTY OF KLAMATH

     In the Matter of the Determination of the Relative Rights of the Waters of the Klamath River,
                                   A Tributary of the Pacific Ocean


In Re:                                                                     )   Case No.: WS1300001
WATERS OF THE KLAMATH RIVER                                                )
BASIN,                                                                     )   UNITED STATES’ MEMORANDUM OF
                                                                           )   POINTS AND AUTHORITIES IN
                                                                           )   SUPPORT OF ITS OBJECTION TO
                                                                           )   PETITION FOR PARTIAL STAY OF
                                                                           )   FINDINGS OF FACT AND ORDER OF
                                                                           )   DETERMINATION BY UPPER BASIN
                                                                           )   CONTESTANTS AS TO OAH CASE 003



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I.      INTRODUCTION

        The United States of America, on behalf of the Bureau of Reclamation and the Fish and

Wildlife Service (United States), hereby responds to the Petition for Partial Stay of Findings of

Fact and Order of Determination filed by the Upper Basin Contestants (UBC) as to OAH Case

003 (Petition), and UBC’s Memorandum in Support of the Petition (UBC Memo), both dated

April 30, 2013. The Petition requests the Court to stay enforcement of certain water rights for

the Klamath Reclamation Project (Project water rights) (Claims 294, 312, 317, 321-1, 321-4,

321-6, 321-9, KPCC 321-17/293/323-3) as against petitioners. Petition at 1; UBC Memo at 1-2.

These Project water rights that UBC seek to stay include water rights of the United States for the

benefit of the Bureau of Reclamation (Reclamation or BOR) (Claims 294, 321-1, 321-4, 321-6,

321-9, KPCC 321-17/293/323-3) and the United State Fish and Wildlife Service (Service or

FWS) (Claims 312 and 317) as against petitioners. All of these Project water rights were

confirmed by the Oregon Water Resources Department (OWRD) in the Findings of Fact and

Order of Determination (FFOD), and specifically by the Partial Order of Determination (POD)

for Case 003 (Claims 294, 312, 317, 321-1, 321-4, 321-6, 321-9, KPCC 321-17/293/323-3).

These Project water rights are “in full force and effect” at this time. ORS 539.130(4).1

        As an initial matter, the United States notes that the UBC Petition is deficient on its face

because it fails to meet the basic requirements of ORS 539.180 for three reasons: (i) the

“nominal” bond amount proposed by UBC does not even attempt to meet the purpose of ORS

539.180 that a stay bond be set in an amount to reasonably ensure the payment of all damages

resulting from the stay (discussed in subsection III.A.1., below); (ii) UBC’s attempt to cap their

1
         UBC characterize the Project water rights as claims but the water right claims filed in this Adjudication
were approved in the FFOD and are now water rights and fully subject to enforcement. ORS 539.170 (requiring that
division of water by OWRD “shall be made in accordance with the order [FFOD]”). Hence, this response will more
accurately refer to the now-approved Project water right claims as the Project water rights.


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damage exposure by the amount of their miserly bond ($500 per UBC member) is inconsistent

with the requirement in ORS 539.180 that UBC must be liable for all damages accrued as a result

of the stay (subsection III.A.2.); and (iii) UBC’s proposed “selective enforcement” of the Project

water rights by exempting UBC from the state’s water rights priority system is contrary to

Oregon water law (subsection III.A.3.). The UBC Petition should be denied for these procedural

reasons before the Court even reaches the merits of the arguments.

        Moreover, contrary to UBC’s position that a stay is mandatory if certain conditions are

met,2 ORS 539.180 affords the Court discretion to deny the UBC Petition as inappropriate. That

discretion should be exercised in this circumstance where UBC seeks the suspension of

otherwise enforceable water rights for this federal reclamation project that serves hundreds of

water users and thousands of irrigated acres of farmland. The Court should exercise that

discretion to deny a stay outright under a standard similar to that utilized in a preliminary

injunction context (subsection III.B, herein.).

        In subsection III.C., we demonstrate that UBC have failed to show that they satisfy this

legal standard for a stay to issue. Specifically, UBC have failed to demonstrate each (or indeed,

any) of the required four factors that must all be met to support the exercise of the Court’s

discretion in granting the stay; i.e., UBC have not shown: (i) that they are likely to succeed on

the merits of their challenges to the Project water rights in these Circuit Court proceedings; (ii)

that they will suffer irreparable injury in the absence of a stay; (iii) that the balance of hardships

tips in their favor; or (iv) that the public interest weighs in favor of issuing the stay.

        As a final introductory matter we must point out that UBC are entirely incorrect in the

premise stated throughout their brief that a stay would “preserve the status quo.” See UBC

Memo at 1, 2, 4, 9, 11. Quite to the contrary, the status quo is now enforcement of statutorily
2
        That UBC fails to meet any such conditions is a separate matter discussed in some detail in this brief.

UNITED STATES’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF ITS OBJECTION TO PETITION FOR STAY
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adjudicated water rights pursuant to state law that provides for enforcement of the FFOD at this

time. ORS 539.130(4). The status quo is not, as UBC would have it, junior water users like

UBC engaging in unfettered use of water determined to be held by senior water rights holders.

UBC’s premise is untenable. UBC’s suggestion that their requested stay will not damage the

United States and Project users because the amount of water available to the Project will be the

same as before issuance of the FFOD is patently absurd. See UBC Memo at 9. The requested

stay could only be granted upon the filing of a bond in an amount that reasonably ensures the

payment of all damages resulting from the stay. We demonstrate in subsection III.D. that, if the

Court considers granting the requested stay, the bond should be set at $42.16 million.

II.    BACKGROUND

       While an expansive discussion of the legal and factual background of the Klamath Basin

Adjudication (Adjudication or KBA) is not necessary in this limited context of a petition for a

stay, the United States provides the following summary in response to UBC’s Statement of

Background. See UBC Memo at 2-5. Moreover, UBC omit critical portions of that legal and

factual history.

       UBC provide a partial history of the water rights proceedings before OWRD, including

the Office of Administrative Hearings (OAH). Id. at 3. UBC note that the contests filed by

certain of its members were referred to the OAH for resolution and that certain exceptions were

filed to the Proposed Order issued by OAH. Id. UBC’s limited discussion of their participation

in the administrative process does not paint the full picture of the extent of that participation.

UBC participated from the inception of the Adjudication through the month-long evidentiary

hearing, the extensive post hearing briefing, and the filing of exceptions to the Proposed Order.




UNITED STATES’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF ITS OBJECTION TO PETITION FOR STAY
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        Claims for water rights for the Klamath Reclamation Project were filed separately by the

United States and the Klamath Project Water Users (KPWU) in 1997. Proposed Order at 4. The

Project claims were based on the May 19, 1905 Notice of Appropriation filed pursuant to the

federal Reclamation Act of 1902 (43 USC 371 et seq.), and the State of Oregon’s Act of

February 22, 1905 (Or. Gen. Laws, 1905, Ch. 228) (Oregon’s 1905 Act). Contests to those

claims were filed in 2000, including contests by certain of the UBC members. FFOD at 10;

Proposed Order at Appendix 1 (listing each contest by claim number, contest number, and name

of contestant).

        Proceedings before the OAH commenced in December 2000. December 28, 2000 letter

from OAH identifying the Administrative Law Judge appointed to handle Case 003, setting a

pre-hearing conference and other matters, attached as U.S. Ex. 4 to the Declaration of Bruce D.

Bernard (Bernard Declaration). Pre-hearing statements were filed by the parties to Case 003,

including UBC.3 UBC raised a number of legal issues and filed a lengthy document styled

“Analysis of the Bureau of Reclamation Claims,” dated November 1, 1999, and propounded

extensive discovery requests. See Pre-Hearing Statement of Roger Nicholson, et al., March 20,

2001, attached as U.S. Ex. 5 to Bernard Declaration. After the filing of pre-hearing statements,

a number of pre-hearing motions were filed, briefed and resolved. Extensive discovery was

conducted. The parties engaged in settlement discussions throughout 2002, culminating in a

significant stipulation narrowing the issues among the Klamath Project Water Users, the

Klamath Tribes, and the United States. See POD at 92-95; Proposed Order at 35-39 (referencing

Stipulation approved by order entered December 6, 2002, Order on Motion to Clarify Scope of

Proceedings, agreed to by all parties and entered April 7, 2003).


3
        In the pre-hearing phase, UBC referred to themselves as the “Nicholson Group.” See, e.g., Order Denying
Reset, March 3, 2004, attached as U.S. Ex. 6 to Bernard Declaration.

UNITED STATES’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF ITS OBJECTION TO PETITION FOR STAY
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       A substantial quantum of evidence was filed and presented in this case, including 55 sets

of written direct testimony and hundreds of exhibits, totaling many thousands of pages. See

Proposed Order at 5, 8-10, Appendix II. Following the filing of the direct evidence, a month

long evidentiary cross-examination hearing took place in April 2004, consisting of live cross-

examination, redirect and rebuttal testimony, and rebuttal evidence. See id. at 5, Appendix II.

The hearing was followed by extensive post-hearing briefing over the next two years. The

Proposed Order was issued on November 16, 2006. UBC filed numerous and detailed

exceptions to the Proposed Order. See e.g., United States’ Response to Exceptions to Proposed

Order at 75-88 (responding to exceptions filed by UBC), attached as U.S. Ex. 7 to Bernard

Declaration. UBC participated fully throughout this entire process and has not identified any

issue in their Petition that was not fully considered during the administrative phase of Case 003

spanning over more than eight years.

       On March 7, 2013, OWRD issued and filed the FFOD with this Court. The POD on the

Project water rights approved rights for 486,828 acre-feet of active storage in Upper Klamath

Lake, and a total storage amount, including inactive storage of 629,870 acre feet, and irrigation

of over 200,000 acres within the Project boundaries. POD at 44, 47-48; UBC Memo at 2. The

POD approved the storage right and reuse rights in the name of BOR, and the use of water for

agricultural irrigation on the Lower Klamath and the Tule Lake National Wildlife Refuges

(Refuges) in the name of the Service. The Refuge lands are farmed by Project water users

pursuant to one-year leases by the Service (Refuge lease lands) and by individual farmers under

cooperative agreements with the Service (Refuge cooperative farm lands). The POD rejected

UBC’s exceptions to the Proposed Order. POD; UBC Memo at 3.




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       On April 30, 2013, UBC served their Petition seeking a stay of the Project Water rights as

against petitioners. UBC’s Petition and Memorandum do not identify the bases upon which

UBC intend to challenge the POD. UBC’s Memorandum simply notes that the POD rejected a

number of UBC’s contest grounds and exceptions, including exceptions as to the size and extent

of the Klamath Project, the diligence with which the Project was developed, and the 1905

priority for the irrigated agricultural lands that are part of the Refuges. UBC Memo at 3, citing

UBC Exceptions, Proposed Order and POD. The grounds UBC elect to pursue in their

anticipated exceptions to the POD will presumably be among the grounds for their exceptions to

the Proposed Order. These issues have been thoroughly briefed, argued, and heard over the last

eight years and UBC makes no showing that they have viable grounds for gaining a reversal or

significant modification of the POD for the Project water rights.

       We proceed now to analyze UBC’s Petition in light of this background.

III.   ARGUMENT

       A.      The Petition Is Deficient On Its Face And Must Be Denied.

       The UBC Petition is deficient in three ways that render it subject to denial as a

preliminary matter. First, the Petition’s nominal bond amount does not even purport to meet the

purpose of ORS 539.180 that a stay bond be set in an amount to reasonably ensure the payment

of all damages resulting from the stay. Second, also contrary to the plain language of ORS

539.180, UBC impermissibly attempt to “cap” its liability by the bond amount of $500 rather

than agreeing to pay all damages. Finally, UBC’s Petition would result in selective enforcement

of water rights in a manner contrary to Oregon water law. Each of these deficiencies is a blatant




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failure to comply with Oregon law, thus, the UBC Petition and attendant Undertakings4 must

both be rejected.

             1. The UBC Petition and related Undertakings are impermissible because a
                “nominal” bond amount does not even attempt to meet the purpose of ORS
                539.180 that a stay bond be set in an amount to reasonably ensure the
                payment of all damages resulting from the stay.

         An ORS 539.180 stay may be issued only in accordance with the statute’s requirements,

that is, only upon the filing of a bond or irrevocable letter of credit in the amount the court

determines is sufficient, and the staying party is held liable for “all damages that may accrue by

reason of the determination not being enforced.” ORS 539.180. The intent of the statute is clear

from its plain language and context:5 a stay bond needs to be set in an amount to ensure the

payment of the damages resulting from the stay. In other words, the bond is to ensure that

holders of water rights recognized in the FFOD will be kept whole in the event the FFOD’s

partial orders of determination confirming the water rights are ultimately affirmed by the Court

in its final decree. When understood in this statutory context and purpose, the standard to

calculate the bond is readily apparent. As aptly noted in OWRD’s response to the petitions for

stay,6 the plain meaning of the statute that gives “best effect” to the operative phrases of ORS

539.180 is that “the Court shall determine the amount of the bond based on the need to

reasonably guarantee payment of all potential damages,” citing Valencich v. TNT Homes, 193

Or. App. 47, 54 (2004) (“Litigation bonds are intended to contribute to judicial finality by

4
          On May 3, 13, and 17, 2013, UBC Petitioners filed with the Court a number of documents all titled
Undertaking for a Partial Stay of the Findings of Fact and Partial Order of Determination for OAH Case 003
(Undertaking). Each Undertaking was associated with individual members of UBC Petitioners and had attached to it
a receipt for the deposit of $500. Each deposit was purported to be “in lieu of a bond or irrevocable letter of credit,
as allowed by ORS 22.020” for named individual members of the UBC Petitioners.
5
         An appropriate tool of statutory construction is to examine “both the text and context of the statute,” which
includes “other provisions of the same statute and other related statutes.” Portland General Elec. Co. v. Bureau of
Labor and Industries (Portland General), 317 Or 606, 610-11, 859 P.2d 1143, 1145-46 (1993).
6
         State’s Response to Petitions for Partial Stay, May 29, 2013 (State’s Response), at 8.

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ensuring the payment of adjudicated liabilities.”). So, here, the Court’s responsibility, if it

considers issuing a stay, is to require a bond that reasonably assures that the United States and

the Project users will be kept whole.

       Properly understood, the statute is fully consistent with Oregon statutes providing for

provisional relief in other contexts. See, e.g., ORCP 82.A(1)(a) (“No restraining order or

preliminary injunction shall issue except upon the giving of security by the applicant, in such

sum as the court deems proper, for the payment of such costs, damages, and attorney fees as may

be incurred or suffered by any party who is found to have been wrongfully enjoined or

restrained.”). Oregon courts have followed this statutory language in confirming that a bond

must be sufficient to cover all reasonable potential damages incurred if an injunction is

ultimately reversed. Oregon Educ. Ass'n v. Oregon Taxpayers United PAC, 227 Or App 37, 45,

204 P.3d 855, 860 (2009) (“[T]he purpose of a bond or other security is to protect the party

enjoined from damages that occur because of the wrongful entry of the preliminary injunction.”)

(citing Kern et al. v. Gentner et al., 176 Or 479, 159 P.2d 190 (1945)).

       Indeed, the necessity for securing all damages that may accrue under the requested stay is

especially critical here – where UBC represent that some of their members will likely end up

being unable to pay those damages. If, as UBC assert, the Project water rights will put these

petitioners “directly at risk” of being unable to “sustain their livelihoods,” UBC Memo at 3-4,

that risk is no less once the Project water rights are confirmed in the final decree, and the time for

petitioners to pay the damages associated with a stay finally arrives.

       In an attempt to get around ORS 539.180’s clear mandate that petitioners must pay “all

damages that may accrue by reason of the determination not being enforced,” UBC urge the

court to reject this statutory requirement and, instead, conclude that the totality of potential



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damages should be capped at a “nominal” sum because: (i) before the determination was issued –

these water rights could not be enforced; and (ii) damages are just too difficult for UBC to

determine. See id. at 9-10 (stating the petition maintains the “status quo,” i.e., the inability of the

Project prior to the determination to make a call); Id. at 10-11 (asserting that damages are

speculative because many factors, in addition to water rights administration by priority, affect

availability and use of water).

       UBC’s nominal damages approach must be rejected as a thinly veiled attempt to evade

the relevant statutory language. The correct understanding of ORS 539.180 requires UBC’s

bond to cover all damages reasonably ascertainable at this time that may accrue to the United

States and the Project users as a result of the stay. Nominal, as UBC must know, means “[n]ot

real or actual.” Black’s Law Dictionary (5th ed., 1979), at 946. As the damages surrounding the

loss of the Project water rights during the course of the expected stay are real and substantial, see

subsection III.D.4., below, UBC cannot evade the statutory responsibility with some legal sleight

of hand. Moreover, contrary to UBC’s attempted rationalizations for a nominal bond amount: (i)

it is beyond dispute that issuance of the FFOD significantly changes the current status of matters

and made the Project water rights fully enforceable (discussed in subsection D.3., below); and

(ii) estimating damages is not speculative when using a legally recognized standard (value of

property that cannot be used) and well-qualified professionals to implement it (subsections D.3.

& 4.). UBC’s request for a stay that would expressly not be secured in an amount that covers the

damages that may accrue fails on its face to comply with ORS 539.180 and must be denied.




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           2. UBC’s damages cannot be capped by the amount of the bond but, instead,
              UBC must be liable for all damages accrued as a result of the stay.

       Additionally and directly contrary to ORS 539.180, UBC impermissibly seek to “cap”

their damages at the amount of the $500 bond per UBC member, in complete disregard of the

statutory requirement. In direct contrast to this “cap” approach, the statute requires UBC to

assume liability for all damages the United States and the Project users incur as a result of the

stay. Each individual Undertaking signed by a member or members of UBC is put forward as

security for damages that may accrue by reason of enjoining exercise of the Project water rights

to an amount “not exceeding, however, the sum of $500 for the totality of damages associated

with a stay of all of the claims noted herein.” See Undertakings for a Partial Stay of the Findings

of Fact and Partial Order of Determination for OAH Case 003, filed May 3, 2013, at 2 (emphasis

added) (the 38 Undertakings filed May 3, 13 and 17, 2013 totaling $19,500). The statutory

language, though, requires that any bond be conditioned on the stipulation that the party “will

pay all damages” accruing as a result of the stay. ORS 539.180. The UBC Petition and

Undertakings are therefore deficient on their face and the Petition must be denied.

       Moreover, UBC’s position forces the illogical and untenable result that UBC can use the

Project water rights during the time of the Circuit Court proceedings and then, at the end of the

day, when the final decree is issued, and it is confirmed that UBC enjoyed an illegal use of the

United States’ and Project users’ property, all the Court will then say to the United States and the

Project users is, “sorry, all you get is the nominal bond amount.”

           3. UBC’s attempt to selectively enforce the Project water rights by exempting
              UBC from the priority system is contrary to Oregon water law.

       UBC have submitted a request for a “partial stay of the enforcement of certain portions”

of the FFOD, i.e., the Project water rights. See Petition at 1; UBC Memo at 1-2. UBC’s partial



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stay request apparently has two components. The first stay-component is a stay of the Project

water rights, specifically Claim Nos. 7 294, 321-1, 321-4, 321-6, 321-9, KPCC 321-17/293/323-

3. Petition at 1; UBC Memo at 2. The second stay-component is a limited stay of each of these

Project water rights effective only in favor of the named UBC Petitioner(s) and no other water

right holders. See, e.g., Petition at 1 (“UBC petitions the Court for an order staying the operation

and enforcement against the petitioners”) (emphasis added); UBC Memo at 4 (the requested stay

“is only a stay to restrict a call as to the petitioners noted herein”) (emphasis added); [Proposed]

Order for Stay Bond and Partial Stay of Findings of Fact and Order of Determination for OAH

Case 003 (“IT IS HEREBY ORDERED that operation of the [FFOD concerning the Project

claims is] stayed as to the following petitioners:”) (emphasis added); Undertaking of Clifford

Rabe at 2 (submitting $500 cash “for the payment … [of] all such damages that may accrue unto

[BOR and the identified irrigation district entities and Project users] … by reason of the FFOD

not being enforced against Clifford Rabe….”) (emphasis added). 8

        Although UBC’s first stay-component, i.e., an attempt to stay only a portion of the FFOD

– the POD for the Project water rights – is consistent with ORS 539.180 which allows for the

stay of “the operation” of the FFOD “in whole or in part,” UBC’s second stay-component is not.

Under the latter, UBC propose a limited stay effective only for the benefit of selective water

rights. Such is an attempt at impermissible selective enforcement of the Project water rights.

        As a starting point, in UBC’s seeking selective enforcement, what is being sought is the

protection of all of UBC’s water rights from a “call” to enforce the Project water rights (i.e., a

call to the watermaster to require junior appropriators to cease diversions in order to provide


7
        Since no new number has been assigned to the approved water rights, we refer to the approved rights by the
claim number assigned in the OWRD administrative adjudication proceedings.
8
        All of the 38 Undertakings filed by UBC Petitioners utilize this same limiting language.

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sufficient water to meet the senior, May 19, 1905, Project water rights). Such requested stay

protection as described by UBC would apply to all UBC water rights. For example, referencing

the State’s listing of Wood River water rights at Exhibit A to the State’s Response, UBC’s

requested stay would protect all of their water rights ranging in priority from 1910 to 1987

(earliest UBC priority junior to 1905 to latest UBC priority), but would not provide any

protection for all other similarly situated water rights. Thus, for example, a non-UBC water user

with a 1910 or 1914 water right (such as those reflected on Exhibit A to State’s Response) might

be subject to a call, yet a UBC water user with a 1987 water right would not. As the State notes,

exempting UBC and requiring OWRD to “skip over” UBC’s junior water rights in meeting the

call would result in OWRD curtailing water rights with priorities senior to those of some of the

UBC petitioners, while the junior UBC rights continued to divert water. State’s Response at 16.

Such selective enforcement would also result in curtailment of other non-UBC junior water

rights in greater quantities than would be required if UBC’s water rights were not exempted from

the call. See generally Declaration of Marc E. Van Camp (Van Camp Declaration) attached as

U.S. Ex. 1 to Bernard Declaration; State’s Response at 15-16, Exhibit A. Exempting UBC could

also result in the call reaching water right priorities that would not need to be called-out to satisfy

the call if UBC’s water rights were available to meet the call. See id.

       Such selective enforcement by individual water right(s) is contrary to Western water law

generally and Oregon water law specifically. Oregon, like much of the West, follows the prior

appropriation water rights doctrine. Under the prior appropriation doctrine, the highest priority

water right is fully met before the next (junior) water right is met, thus often described as “first in

time, first in right.” Benz v. Water Resources Comm’n, 94 Or App 73, 79, 764 P.2d 594, 599

(1988). See Wyoming v. Colorado, 259 U.S. 419, 488 (1922) (noting that water rights are not



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guarantees that water will be available, but rather guarantee a right to take water, in priority, “if

the requisite amount of water be there”). In times of water shortage, then, under the prior

appropriation system, when a call is made, the most junior water right is shut off first, then the

second most junior, and so on.

       The practical work of implementing any call made is done by the OWRD watermaster.

Following the prior appropriation doctrine, ORS 540.045 informs the watermaster’s duties vis-à-

vis the water users as follows: “Each watermaster shall: [] Regulate the distribution of water

among the various users of water from any natural surface or ground water supply in accordance

with the users’ existing water rights of record in the Water Resources Department.” ORS

540.045(1)(a). As a practical matter this means that“[i]n times of water shortage, . . . . water

rights holders may ‘call’ their water rights through the watermaster. The water master will then

shut down use by junior rights holders.” 4 Waters and Water Rights, Robert E. Beck and Amy

L. Kelley, eds., 3rd ed. (2010), J. Neuman, Oregon at 13. Thus, enforcement of a water right in

Oregon, by statute, requires curtailment of usage starting from the most junior priority date and

moving to the more senior priority date, until the water right being enforced is satisfied or there

are no more water rights junior to the water right being enforced to be curtailed.

       The effect of UBC’s stay request is obvious – it would turn the prior appropriation

doctrine on its head, thereby allowing a junior UBC water right holder to step in front of other,

more senior water rights holders. Under UBC’s selective enforcement scheme, UBC members

would be unaffected by a Project water right call, whatever the priority date of their water rights,

while water rights more senior to some of UBC’s water rights would be subject to being shut off.

Such clear derogation of established Oregon water law is unsupportable, contrary to law, and

cannot be allowed by the Court.



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       In sum, UBC’s Petition and Undertakings should be rejected because, on their face, they

violate the statutory requirements for an ORS 539.180 stay. However, if the Court does not

reject the Petition and Undertakings on this basis, the Court should reject them for the additional

reasons described below.

       B.     The Court Has Discretion To Deny The Stay Petition And Should Exercise
       That Discretion Under A Standard Similar To That Applicable A Preliminary
       Injunction.

       UBC argue that ORS 539.180 provides for a stay as a matter of right once the Court has

determined the amount of the bond. UBC Memo at 2, 5-6. The language of the statute,

however, indicates that the Court retains discretion to determine whether to issue the stay in the

first instance. Since a stay is a provisional remedy similar to an injunction, the Court should

utilize the preliminary injunction standard in an analogous manner to exercise its discretion to

determine whether issuance of a stay is appropriate in this context.

       The plain language of ORS 539.180 demonstrates that the Court retains discretion

whether to grant a petition to stay the enforcement of the FFOD – even in the event that a proper

bond could be posted. The statute provides:

       At any time after the determination of the Water Resources Director has been
       entered of record, the operation thereof may be stayed in whole or in part by any
       party by filing a bond or an irrevocable letter of credit issued by an insured
       institution as defined in ORS 706.008 in the circuit court wherein the
       determination is pending, in such amount as the judge may prescribe, conditioned
       that the party will pay all damages that may accrue by reason of the determination
       not being enforced. Upon the filing and approval of the bond or letter of credit,
       the clerk of the circuit court shall transmit to the Water Resources Department a
       certified copy of the bond or letter of credit, which shall be recorded in the
       department records, and the department shall give notice thereof to the
       watermaster of the proper district.

ORS 539.180 (emphasis added). The statute’s use of the term “may,” rather than “shall,”

confirms that the Court retains discretion whether to issue the stay when a bond is filed. See e.g.



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Nibler v. Oregon Dept. of Transp., 338 Or. 19, 26, 105 P. 3rd 360, 363 (Or. 2005) (stating that the

word “may” should be given its ordinary permissive meaning and finding that such meaning

provided the plaintiff with discretion to choose an action under the applicable statute). If the

Oregon legislature had intended that the statute provide for a stay as a matter of right, it could

have substituted the word “shall” for the word “may” in the statute. Linguistic differences are

important because “when construing statutes, [a] court first considers statutory text and context

and, to extent useful to court's analysis, legislative history.” Pine Ridge Park v. Fugere, 252 Or

App 456, 459, 287 P.3d 1268, 1269 (2012) (citing State v. Gaines, 346 Or 160, 171-72, 206 P.3d

1042 (2009)). Also, “words of common usage typically should be given their plain, natural and

ordinary meaning.” Portland General, 317 Or at 611, 859 P.2d at 1146.

       Moreover, in other similar contexts, Oregon case law holds that courts generally have

discretion regarding whether to grant or deny a petition for stay. See, e.g., Armatta v. Kitzhaber,

149 Or.App. 498, 501 943 P.2d 634, (1997) (finding that the court had “inherent authority” to

use its discretion to balance the competing interests in staying an injunction); Harnisch v.

College of Legal Arts, Inc., 243 Or.App. 16, 27, 259 P.3d 67 (2011) (holding that courts have

discretion to stay actions pending the resolution of relevant arbitration proceedings); Matter of

Marriage of McGinley, 156 Or.App. 449, 450, 965 P.2d 486 (1998) (finding that ORS 19.350

provided the court with discretion regarding issuing a stay regarding future payment of child

support).

       Finally, even if the Court were to conclude that the statute is unclear as to whether the

Court retains discretion whether to grant a petition to stay, any ambiguity should be read to

provide the Court with the discretion to decide whether a stay is appropriate in the present

context, where the Petition seeks to stay the water rights for a major federal reclamation project



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involving fifteen irrigation district entities, serving hundreds of water users, and encompassing

over 200,000 irrigated acres in two states, including over 43,000 acres of irrigated lands in two

National Wildlife Refuges. See POD at 70; UBC Memo at 2. The Court should not retreat to an

interpretation that ties its hands, but should exercise the discretion suggested in ORS 539.180 to

determine whether a stay of Project water rights is appropriate in the present context.

         In the State’s Response to Petitions for Partial Stay, dated May 29, 2013 (State’s

Response), the State interprets ORS 539.180 as limiting judicial discretion to determination of

the appropriate amount of the bond. State’s Response at 7-8. Such limited judicial discretion

may make sense in straight-forward stay petitions affecting a discrete number of water rights on

a given stream and limited in geographic scope.9 But, such a limit on judicial discretion is

inappropriate in this situation. Here, the overall magnitude of the scope of the stay sought by

UBC would have extensive impacts throughout the entire Upper Klamath Basin. It covers the

entire area above Upper Klamath Lake. In light of the nature and extent of the Project water

rights and the magnitude of the scope of the requested stay, the Court should determine that it

has discretion to analyze whether a stay is appropriate in this circumstance before it reaches the

determination of an appropriate bond amount.
9
         UBC cite to two stay petitions dating from the early 1900s as support for their assertion that a stay is
granted automatically. UBC Memo at 6 (relying on Burnt River stay, dated 1922, and Rogue River stay, dated
1916). Both of those stays were fundamentally different than the circumstances present here and illustrate cases
where limited judicial discretion may be appropriate. In particular, these stay petitions were uncontested and
involved small amounts of water as between a limited number of state law based water right owners that were
affected by the stays for relatively short periods of time.

         The Burnt River stay involved irrigation of 14.5 (or 16) acres subjected to a 4-week stay. See Burnt River
Adjudication (Oregon State Water Board Apr. 13, 1921) (FFOD), excerpt attached as U.S. Ex.8 to Bernard
Declaration, at 99; Ex.15 of Declaration of Elizabeth Howard at 578; Burnt River Adjudication (Baker County,
Oregon Circuit Court June 30, 1922) (Decree Amending the Apr. 13, 1921 FFOD), excerpt attached as U.S. Ex. 9 to
Bernard Declaration, at 373-374.

        The Rogue River stay involved conversion of 22 cfs total from mining to irrigation for a 2 year and 9
month stay See Ex.16 of Declaration of Elizabeth Howard at 104; Rogue River Adjudication (Jackson County,
Oregon Circuit Court Apr. 26, 1919) (Final Decree), excerpt attached as U.S. Ex. 10 to Bernard Declaration, at 69-
70.


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         In exercising its discretion whether to issue a stay, the Court should apply standards

similar to the preliminary injunction context so that such discretion is applied in a systematic,

orderly manner. A stay pursuant to ORS 539.180 is similar to a preliminary injunction in the

general legal context because both actions seek to suspend the enforcement of a court order or

prevent a certain action until a judicial proceeding is complete. The similarity between a stay

and an injunction was acknowledged in Pacific Live Stock Co. v. Lewis, 241 U.S. 440, 454

(1916) (“Although containing no provision for an injunction, the statute under consideration

permits the same result to be reached in another way, for it declares that the operation of the

board's order ‘may be stayed in whole or in part’ by giving a bond in such amount as the judge of

the court in which the proceeding is pending may prescribe….”) (emphasis added). While it is

certainly true that the ORS 539.180 stay process is unique and not in all ways like a preliminary

injunction, the court’s discussion in the Pacific Live Stock Co. decision demonstrates that the

processes are quite similar for present purposes.10 Utilization of the injunction legal standards to

provide legal guidance in this analogous context is appropriate, and no other set of standards so

readily suggests itself.11

         Because Oregon caselaw does not provide clear direction regarding the standard to apply

in preliminary injunction cases, the Civil Pleading and Practice Manual directs practitioners to

look to the federal preliminary injunction standard. Oregon Civil Pleading and Practice, Vol. 2,

Ch. 34, p. 34-21 (2012 Revision) (“In view of the paucity of Oregon authority concerning

10
         The State interprets this language from the Pacific Livestock Co. decision as drawing a distinction between
an injunction and a stay under ORS 539.180. State’s Response at 7. On the contrary, however, a close review of the
language demonstrates that the Court was actually noting the similarity between the two processes and, while a
539.180 stay certainly has unique aspects, the general standards utilized in a preliminary injunction context provide
useful guidance here in light of the similarities that ultimately provide the “same result.” Pacific Live Stock Co., 241
U.S. at 454.
11
          UBC’s reliance on Pacific Live Stock Co., 241 U.S. at 454, for the premise that a stay must be granted as a
matter of right is misplaced because the case simply acknowledged that a stay may be available in a similar manner
as an injunction is available in other situations. UBC Memo at 6 n.5.

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specific standards for granting preliminary injunctions, Oregon courts may look to the tests used

by federal courts in determining whether to grant preliminary injunctive relief.”), see also Von

Ohlen v. German Shorthaired Pointer Club of Am., Inc., 179 Or App 703, 710-11, 41 P.3rd 449

(2002) (common law as well as decisions interpreting FRCP 65, the federal counterpart to ORCP

79, are persuasive authority concerning injunctive relief).

        According to federal law, the party seeking a preliminary injunction must establish each

of the following factors: (1) likelihood of success on the merits; (2) likelihood that the party will

suffer irreparable harm in the absence of preliminary relief; (3) the balance of equities tips in that

party’s favor; and (4) an injunction is in the public interest. Winter v. Natural Resources Defense

Council, Inc., 555 U.S. 7, 20, 129 S. Ct. 365 (2008). Because it “is an extraordinary and drastic

remedy,” Munaf v. Geren, 553 U.S. 674, 689, 128 S. Ct. 2207, 2219 (2008) (citation omitted), an

injunction “should not be granted unless the movant, by a clear showing, carries the burden of

persuasion.” Mazurek v. Armstrong, 520 U.S. 968, 972, 117 S. Ct. 1865, 1867 (1997) (citation

omitted). If a plaintiff fails to meet its burden on any of the four requirements for injunctive

relief, its request must be denied. Winter, 555 U.S. at 23 (denying motion for injunctive relief

based on the public interest and balance of hardship factors alone, where court assumed a

likelihood of success on the merits of NEPA claims and irreparable injury to endangered

species). The Court should apply these same principles in this case as it considers whether to

issue a stay under ORS 539.180 and should deny the requested stay because UBC, the movant

seeking the stay, has not demonstrated, by a clear showing, that it meets each (or, really, any) of

the four factors.

        C.   Application Of These Legal Standards To The Project Water Rights
        Demonstrates That The Petition Should Be Denied.




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                  1.     UBC have not shown that any exceptions they may file to the Project’s
                  water rights are likely to succeed on the merits.

         Applying the first of the four preliminary injunction criteria here, the Court should deny

UBC’s Petition because UBC have not even attempted to establish that their unidentified

challenges to the Project water rights are likely to succeed on the merits, i.e., that their success

on the merits is more probable than not. Critically, UBC do not even identify the challenges they

intend to present. Each of the Undertakings merely states that petitioner “intends to file

Exceptions to the FFOD on the claims that are anticipated to impact [petitioner’s] ability to

irrigate . . .and desires that the operation of the FFOD as it pertains to the [enumerated Project

water rights] be stayed as to it until said Exceptions have been heard and finally determined.”

See, e.g., Undertaking of Clifford Rabe at 2. UBC’s Memorandum does not add much. The

Memorandum simply states that certain of the petitioners filed contests to the claims and filed

exceptions to the Proposed Order for Case 003.12 UBC Memo at 3. UBC then note that their

exceptions generally challenged the size of the Klamath Project, the diligence with which it was

developed, and the award of 1905 priorities to the wildlife refuges. Id. UBC concede that the

ALJ and OWRD rejected their challenges in issuing the Proposed Order and the POD on the

Project water rights. Id. Presumably, UBC intend to file these same exceptions to the POD for

the Project rights. These arguments were repeatedly and unsuccessfully advanced by UBC

during the administrative phase of this Adjudication. UBC’s arguments are not strong and it is

not likely that they will succeed in obtaining a reversal of POD for the Project water rights.

         As outlined in detail in the Background above in Section II, all of UBC’s arguments were

fully and repeatedly put forth, and fully and repeatedly rejected, in the proceedings before


12
          Based on the identical Undertakings filed by the 38 petitioners, it appears that petitioners who did not even
bother to file contests to the Project claims intend to file exceptions to the POD for the Project water rights and, on
that basis alone, request the Court to stay the Project rights based on the filing of a cash bond capped at $500.

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OWRD. Substantial evidence was presented by the United States and KPWU as to the

development of the Klamath Project and the pre-Project water rights that were acquired by the

United States for the Project. As the ALJ and OWRD concluded, that evidence clearly shows

that the United States and the Project users relied on the common understanding of the 1905

Oregon Act and developed the massive Klamath Project with diligence. See POD at 39-41.

UBC’s arguments are unconvincing and have been rejected at every phase of this proceeding.

UBC have alleged no reason this Court would be inclined to reverse OWRD’s approval of these

rights. Nothing in UBC’s Memorandum suggests that it is likely that this Court will reach a

different result.

        Even under the Ninth Circuit’s “sliding scale” approach, which allows for a preliminary

injunction to be granted upon a lesser showing on the merits and a stronger showing on the

balance of hardship, UBC cannot satisfy the test. See Alliance for the Wild Rockies v. Cottrell,

632 F.3d 1127, 1134-35 (9th Cir. 2011). Under this approach,

        “serious questions going to the merits” and a balance of hardships that tips
        sharply towards the plaintiff can support issuance of a preliminary injunction, so
        long as the plaintiff also shows that there is a likelihood of irreparable injury and
        that the injunction is in the public interest.

Id. at 1135. The rationale for the sliding scale approach is that where the harm to be suffered by

the plaintiff sharply outweighs the harm that could be suffered by the other party by virtue of

granting the preliminary injunction, the court should be able to preserve the status quo pending at

least some discovery and hearing on the merits of the case, provided the plaintiff has established

there are “serious questions on the merits.” See id. at 1134 (quoting Save Strawberry Canyon v.

Dep’t of Energy, 2009 WL 1098888 (N.D. Cal. Apr. 22, 2009)). In any event, UBC make no

showing on the merits, fail to establish that the balance of hardships tips even modestly in their

favor, and seek to upset rather than preserve the status quo. Moreover, the rationale for


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employing a sliding scale approach is entirely absent here because the arguments on the merits of

any challenge UBC may raise have already been the subject of extensive discovery and hearing

and – after extensive briefing and exhaustive argument – have already been considered and

rejected by the ALJ and by OWRD. Even if the Court were to consider this approach, UBC’s

Petition must be rejected because (i) the sliding scale standard requires that they show a “fair

chance of success on the merits,” National Wildlife Fed’n v. Coston, 773 F.2d 1513, 1517 (9th

Cir. 1985), and UBC have not identified the bases upon which they may challenge the POD and

have not even alleged that they have any reasonable prospect of prevailing on any exceptions

they may ultimately elect to file; (ii) UBC have not shown and cannot show that the balance of

hardships tips sharply in their favor (discussed in subsection 3, below); and (iii) UBC have not

established the other two preliminary injunction factors that must still be met under the sliding

scale approach -- irreparable harm (discussed in subsection 2, below) and that public interest

favors issuance of the preliminary injunction (discussed in subsection 4, below).



               2.     UBC have not shown that UBC members are likely to suffer
               irreparable harm in the absence of a stay.

       Under the second factor of the preliminary injunction criteria, to prevail in obtaining a

stay UBC must establish that it is likely that UBC members will experience irreparable harm in

the absence of a stay. See Winter, 555 U.S. at 22 (holding plaintiff seeking preliminary relief

must demonstrate that irreparable harm is “likely” and not just a “possibility”). UBC bear the

burden to produce evidence of irreparable harm. Mazurek, 520 U.S. at 972 (the movant must

meet the burden of persuasion with a clear showing). However, UBC’s Memorandum provides

only vague allegations of economic harm, averring in general terms to feared damage to UBC’s

members’ “livelihoods,” without citing any evidence to substantiate their claims. See UBC


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Memo at 3-4 (Petitioners’ “ability to irrigate their lands, to sustain their livelihoods, and to

ensure the survivability of their communities, are directly at risk as a result of the claims

awarded” to the Project Claimants.). The individual “Undertakings” submitted by UBC

members likewise do not provide any concrete evidence of harm, merely representing that the

Project water rights “are anticipated to impact [petitioner’s] ability to irrigate,” without

explaining to what extent, if any, this is likely to result in harm, much less irreparable harm, to

the UBC petitioner. See, e.g., Undertaking for a Partial Stay of the Findings of Fact and Order

of Determination for OAH Case 003, Clifford Rabe, filed May 3, 2013, at 2.13 The only

declaration attached to the UBC Memorandum is from their attorney, Elizabeth Howard. None

of the UBC members offered declarations explaining their irrigation operations in precise terms

with concrete examples of how their businesses would be affected if the water available for

irrigation were less.14 Because UBC have failed to meet their burden of proof to establish that

irreparable harm to UBC members is likely, UBC’s Petition should be denied.

         Further, UBC’s allegations of economic harm, even if substantiated by evidence of the

alleged financial harm likely to be suffered by each individual UBC member, are not necessarily

sufficient to constitute the requisite showing of “irreparable” harm. As described above, UBC

have made only vague allegations alluding to possible financial harm that might be suffered by

UBC members. UBC have not shown that their alleged economic harm meets the high bar to

establish the “irreparable harm” criteria. Cf. Nw. Title Loans, LLC v. Div. of Fin. and Corporate


13
        For ease of reference by the Court, a copy of Mr. Rabe’s “Undertaking” is attached as U.S. Ex. 11 to the
Bernard Declaration. All 38 Undertakings filed by UBC Petitioners include identical language.
14
         Should UBC seek to produce concrete evidence of UBC members’ financial circumstances and alleged
economic harm in their reply to this response, the Court should reject such offering as untimely because such
evidence should have been supplied at the outset and is not appropriate for a reply brief. Alternatively, if UBC
attempt to first make their case in the form of a reply, and the Court accepts this delinquent offering, then the United
States and other parties must have an opportunity to respond to such UBC evidence.


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Sec., 180 Or. App. 1, 13 (2002) (holding in petition for stay of administrative rule that allegation

of being put “out of business” in Oregon was not sufficient “irreparable harm” where petitioner-

corporation would still exist and could do business in other states).

        In fact, UBC make no showing that they will suffer irreparable harm if the Project water

rights are enforced. Indeed, many of the UBC petitioners have water rights that are senior to the

Project’s 1905 water rights and that will not be impacted at all by enforcement of the Project

rights. Of the 38 UBC petitioners listed in Exhibit 1 to the Petition, 16 have Walton water rights

that enjoy an 1864 priority – substantially senior to the Project’s 1905 water rights. See FFOD at

24 (Walton rights are entitled to a priority date of October 14, 1864). UBC provided no

information regarding the exact nature of the water rights purported to be held by its members,

and made no attempt to analyze the actual impact of priority administration on their junior rights,

so it is difficult to determine the extent of any impact to them.

        Moreover, there is evidence that even some of the UBC members with water rights junior

to 1905 may not suffer as UBC claim where their access to groundwater offsets surface water

limitations and where drought relief is made available. Some UBC members have rights to use

groundwater for irrigation, in addition to surface water, that may not be regulated in the event of

call by the Project water rights.15 The example of UBC member Thomas (Tom) Mallams is

illustrative. According to the water rights information available through OWRD’s Water Rights

Information System, Mr. Mallams has approximately 109 acres that he irrigates primarily with

surface water, but he also has a groundwater permit that allows him to supplementally irrigate

those 109 acres from a well he uses to irrigate another 31.4 acres of land. See Permit G-15431,

Certificate 83139, and Certificate 83140, attached as U.S. Ex. 12 to Bernard Declaration. Thus,

15
        Exhibit 1 to UBC’s Memorandum lists “Water Rights Information” for each UBC member; but the exhibit
omits water rights information for UBC members’ groundwater use.


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so long as Mr. Mallams’ groundwater use does not interfere with the Project’s surface water

rights, enforcement of the Project water rights might have little to no impact on Mr. Mallams’

ability to irrigate his lands.

        Additionally, any economic harm suffered by UBC members may be mitigated, at least in

part, by various forms of drought, disaster, and emergency relief that the federal and state

government routinely provides to farmers facing such situations. For example, when Klamath

Reclamation Project water users had their water use temporarily shut off in 2001, Congress

approved some $20 million in drought relief aid to the farmers. Klamath Basin Water

Conservation Program, 2001 Supplemental Appropriations Act, Pub. L. 107-20, §2104, 115

Stat. 155, 166 (2001). Already this irrigation season, the Governor of Oregon has issued a

drought declaration for Klamath County. Executive Order No. 13-05, April 18, 2013, 52 Or.

Bull. 8 (May 1, 2013) (Governor’s Drought Declaration), attached as U.S. Ex. 13 to Bernard

Declaration. The declaration was issued at the request of the Klamath County Commissioners.

See Letter from Klamath County Commissioners Tom Mallams, Dennis Linthicum, and Jim

Bellet to Governor John Kitzhaber, dated April 16, 2013 (Klamath County Commissioners’

Letter), attached as U.S. Ex. 14 to Bernard Declaration.

        The Commissioners listed a panoply of possible resources to alleviate the effects of the

situation, including:

        State coordinating assistance with federal programs that may provide assistance to
        our citizens, temporary permits under an expedited process, temporary transfers of
        existing water rights, temporary in-stream leases, special option agreements,
        temporary option agreements, temporary substitution of supplemental ground
        water rights for a primary surface water right, temporary exchange of surface
        water rights, . . . and various federal assistance programs.

Id. at 2. The Governor’s Drought Declaration directed the Oregon Department of Agriculture to

coordinate and provide assistance in seeking federal resources available to mitigate conditions


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resulting from drought and affecting agricultural recovery in the basin. Governor’s Drought

Declaration, U.S. Ex. 13 at 1. UBC’s description of feared economic harms makes no mention

of the various types of relief programs from which UBC members will likely stand to benefit.

         In sum, UBC have not shown that they will incur irreparable harm in the absence of a

stay of enforcement of the Project water rights. UBC’s sweeping statements as to the disruptions

that would result from curtailment of their out-of-priority junior diversions, are entirely

unsupported by any evidence or analysis.

         In any event, curtailment of UBC’s out-of-priority junior diversions does not constitute

cognizable harm – it is simply the long overdue allocation of water in accordance with Oregon’s

prior appropriation system. Indeed, all of UBC’s complaints are with the effects of prior

appropriation on their junior water rights.16 UBC have taken advantage of their out-of-priority

water use for over a hundred years and seek to keep the Basin free from regulation for another

decade or so. See UBC Memo at 9 (“For nearly a century, Claimants have operated without a

call on the Upper Basin.”). The elimination of the bonanza that has been enjoyed by UBC’s

junior rights under a non-regulated system does not constitute “irreparable harm” – it is simply

the result of giving effect to water rights priorities. This is especially the case here – where as

demonstrated in subsection 1, above, UBC provides absolutely no reason why a stay will do

anything more than delay the day of reckoning. Moreover, as shown in subsections 3 and 4,

below, implementation of regulation protects the relative rights and equities of the parties, as

16
          See UBC Memo at 1 (“Petitioners seek to maintain access to the water needed by the individual families
and business [sic] included in this petition to support their farms and ranches and ecotourism businesses during the
pendency of the adjudication proceeding in circuit court.”); UBC Memo at 3-4 (“[Petitioners’] ability to irrigate their
lands, to sustain their livelihoods, and to ensure the survivability of their communities, are directly at risk as a result
of the claims awarded” to the Project Claimants.); UBC Memo at 4 (stating that a call by BOR on the irrigation
withdrawals in the Upper Basin would require “OWRD to shut down the irrigation that is the source of the
livelihoods for the Upper Basin’s families and landowners.); UBC Memo at 4 (noting that Petitioners request a stay
of the Project water rights to avoid curtailment of their irrigation diversions.); UBC Memo at 11 (“should a call be
made by Claimants, these petitioners could be faced with the inability to earn income”).


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well as the public interest. Finally, as addressed in Section D, delaying enforcement will only

increase damages to the Project water rights – which UBC appear unwilling or unable to cover.

                  3.   UBC have not shown that the balance of hardships tips in UBC
                  members’ favor.

         The third criterion UBC must establish under the preliminary injunction standard is that

the balance of equities (hardships) tips in UBC’s favor. See Winter, 555 U.S. at 20. As

demonstrated below, UBC have not and cannot succeed in establishing that the balance of

hardships tips in UBC’s favor.17 Even assuming that UBC members will suffer economic harm

if enforcement of the Project water rights against UBC members’ more junior rights is not

stayed, the balance of hardships here tips steeply against UBC due to: (i) the demonstrated loss

of water and economic harm to Project irrigators; (ii) the adverse impact on the United States’

ability to deliver water under contracts to privately-owned farms within the Project lands,18 (iii)

the unavailability of water to satisfy the requirements of irrigated lands within the Lower

Klamath and Tule Lake Refuges and the consequent economic harm from the loss of crop yield;

(iv) unquantified harm to the waterfowl and recreational uses on the Refuges which will not have

the benefit of irrigated Refuge lands; and (v) the continued shifting of obligations imposed by the


17
        Under the “sliding scale approach” used by the Ninth Circuit, described in subsection III.C.1., above, the
showing here would need to be even stronger – UBC would be required to show that the balance of hardships tips
“sharply” in their favor.
18
          As used in this Memorandum, the term “Project lands” refers to: (i) individually-owned irrigated lands
within the Project; (ii) lands on the Lower Klamath and the Tule Lake Refuges that are owned by the United States
and leased to farmers (Refuge lease lands), and which are within the Project; and (iii) lands on the Tule Lake Refuge
that are owned by the United States and currently farmed by individuals under cooperative agreements with the
Service, and which are within the Project (Tule Lake cooperative farm lands). The analyses described in the Van
Camp Declaration and the Howitt Declaration pertain to these Project lands all of which are within the service area
of the KPWU irrigation entities. “Project lands” as used in this Memorandum do not include the cooperative farm
lands within the Lower Klamath Refuge in California that are owned by the United States and currently farmed by
individuals under cooperative agreements with the Service, and which are within the boundaries of the Project, but
outside the service area of the KPWU irrigation entities (Lower Klamath cooperative farm lands). These Lower
Klamath cooperative farm lands were not included in the analyses described in the Van Camp Declaration and the
Howitt Declaration, and are separately addressed by the Declaration of George Moss Driscoll discussed below.


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Endangered Species Act from UBC to the United States and Project users concerning the

protection of the endangered sucker fish that inhabit Upper Klamath Lake.

         UBC’s general allegations of harm are unsubstantiated and misstated. While UBC assert

that their ability to sustain their livelihoods will be put at risk under priority regulation, they

provide no support for their broad allegations.19 As noted above, some of the UBC members

have water rights senior to the Klamath Project water rights, some have groundwater rights with

which to offset surface water limitations, and various forms of drought, disaster, and emergency

relief drought relief may be available. UBC simply provided no information that establishes any

actual harm to its members.

         On the other hand, the injury that would accrue to the Klamath Project, the Project

users,20 and the Lower Klamath Refuge cooperative farm lands under a stay is demonstrable and

substantial. In dry years when it is likely that a call for enforcement of the Project water rights

will be made, the Project will be short of water. As established in the Van Camp Declaration,

while the actual amount of water shortage to Project lands will vary by year and depending upon

hydrologic conditions in the Basin, the shortage of water can be significant. Van Camp

Declaration at 8 ¶ 17. Over the five year dry period analyzed by Mr. Van Camp, the shortages to

Project lands are as high as 223,000 acre-feet in one irrigation season, and 578,000 acre-feet over

the identified five year period. Id. Mr. Van Camp concludes, based upon his professional

opinion and the analyses presented, that a conservative estimate of the water that would become

19
          See UBC Memo at 3-4 (“Their ability to irrigate their lands, to sustain their livelihoods, and to ensure the
survivability of their communities, are directly at risk as a result of the claims awarded through the FFOD to the
Claimants.”); UBC Memo at 4 (“in particular the smallest businesses may be unable to continue their participation
in this case as they will be deprived of their ability to make a living and pay the fees and costs associated with the
circuit court proceedings.”) (Enforcement of the FFOD “would prevent them from irrigating and sustaining their
ranches, farms, and businesses in the Upper Basin during the pendency of this case.”).
20
         As used in this Memorandum, the term “Project users” refers to the nonfederal users of Project water,
including the farmers of the Refuge lease lands and of the Tule Lake cooperative farm lands.


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available to Project lands if junior upstream water rights were curtailed is 90,000 acre-feet per

irrigation season. Id. at 20-21 ¶ 54. The total amount of the 578,000 acre-foot shortage to

Project lands that could be made up over the five year dry period analyzed by Mr. Van Camp is

337,000 acre feet. Id. at 8 ¶ 17, at 20-21 ¶ 54. See also Declaration of Richard E. Howitt

(Howitt Declaration), attached as U.S. Ex. 2 to Bernard Declaration, at 8 ¶ 20. This shortage of

water to the Project lands would result in significant economic damage. Moreover, as discussed

below, Mr. George Ross Driscoll determined that the Lower Klamath cooperative farm lands

would also suffer shortages and significant economic damages.

       As analyzed in the Howitt Declaration, the damages to the United States and the Project

users from not being able to call-out junior rights over the five year period analyzed total $39.77

million. Howitt Declaration at 12 ¶ 33. In addition, as addressed in the Declaration of George

Moss Driscoll (Driscoll Declaration), attached as U.S. Ex. 3 to Bernard Declaration, the

additional economic damage to the Lower Klamath cooperative farm lands over this five year

period (lands not addressed by the Van Camp and Howitt Declarations) would very

conservatively add another $2.39 million to the damage total, for a total sum of $42.16 million.

See Driscoll Declaration at 6 ¶ 12.

       The United States through Reclamation is obligated under contract to deliver Project

water for irrigation of Project lands. POD at 31 ¶ 81. As demonstrated by the Van Camp

Declaration, if a call cannot be made to satisfy the Project water rights in dry years, water

deliveries to Project lands would be severely impacted. While these contracts contain various

provisions that relieve the United States from damages caused by a water shortage, water users

under these contracts would suffer significant damages from diminished deliveries under their




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contracts. See Klamath Irrigation District Contract at 26 (Article 26 – United States Not Liable

for Water Shortage), attached as U.S. Ex. 15 to Bernard Declaration.

       The anticipated water shortage will also adversely impact the Lower Klamath National

Wildlife Refuge and the Tule Lake National Wildlife Refuge. In addition to diminished

deliveries to the Refuges’ lease lands and Tule Lake cooperative farm lands that are included as

Project lands in Mr. Van Camp’s and Dr. Howitt’s analyses, the Lower Klamath cooperative

farm lands would also suffer increased shortages in an unregulated system. In certain dry years,

without the ability to make a call on junior water rights, Lower Klamath cooperative farm lands

that would receive water under regulation would experience greater shortages and in some years

would receive no water. This could impact up to an additional 4,474.4 acres of Lower Klamath

cooperative farm lands that are within the Project, but outside of the KPWU service area and not

included Mr. Van Camp’s and Dr. Howitt’s analyses. Driscoll Declaration at 4 ¶ 8. The

economic damage from this loss of irrigated acreage is conservatively calculated at $2.39

million. Id. at 6 ¶ 12. And none of the calculated economic losses take into account the

economic impacts of diminished habitat, loss of waterfowl use, and diminished recreational

opportunities on the Refuges.

       Finally, UBC assert that, absent a stay, the burden of compliance with the Endangered

Species Act (ESA) through the obligations created under biological opinions issued to the

Bureau of Reclamation will “shift, likely in their entirety, to [UBC].” UBC Memo at 10. Again,

however, UBC provide no support for this broad assertion. The issue presented by UBC’s

Petition is one of water rights administration and enforcement of the Project water rights – not a

question of the parties’ respective obligations under the ESA. In any event, UBC provides no

support for its bald statements that the “burden” of ESA compliance will “shift” to the Upper



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Basin water users. See id. Nor does UBC explain why or how UBC members should be excused

from compliance with the ESA. Indeed, the lack of enforcement of water rights prior to the

issuance of the FFOD has added to the “burden” of the Project in meeting legal obligations under

the ESA. UBC’s unregulated diversions of water from the tributary sources to Upper Klamath

Lake has forced the Project to make more water available for ESA purposes to meet its ESA

obligations, resulting in less water available for Project irrigation. UBC now request that the

Court delay water rights regulation for another decade or so UBC can continue their out-of-

priority diversions and prolong this undue burden on the Project, its water users, and the

Refuges.

       In sum, the balance of hardships tips steeply in favor of the United States and the Project

users and against UBC. The significant out-of-priority diversions of water by junior water rights

owners, as identified in the Van Camp Declaration, will cause significant water shortage and

economic injury to Project water users and the environment, as addressed in the Howitt and

Driscoll Declarations. The certainty and extent of this demonstrated harm to the Project water

rights under a stay in enforcement outweighs UBC’s general, unsubstantiated allegations of

potential injury to UBC from regulation which, in any event, is simply a consequence of

allocating water under Oregon’s prior appropriation system.

                      4.     UBC have failed to establish that staying enforcement of the
               Project water rights is in the public interest.

       UBC have also failed to meet their burden to establish the fourth preliminary injunction

factor, as they have not shown that the public interest favors a stay of enforcement of the Project

water rights. Apart from unsubstantiated hyperbole about the impact that enforcement of the

Project water rights might have on the local community, see UBC Memo at 3-4 (speculating that

the Project water rights put “the survivability of their communities . . . directly at risk”), UBC’s


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Memorandum does not address the public interests involve here at all. While “[t]he effect on the

health of the local economy is a proper consideration in the public interest analysis,” Alliance for

the Wild Rockies v. Cottrell, 632 F.3d 1127, 1138 (9th Cir. 2011), UBC entirely fail to consider

the adverse consequences that their requested stay would have on the Project and Refuge

irrigators who are part of this same broader community. UBC also fail to take into account the

non-economic, institutional and natural resource preservation concerns raised by their request to

suspend operation of the prior appropriation system. The Court must not stay enforcement of the

Project water rights unless the public interests in favor of the stay outweigh the public interests

that favor not issuing the stay. Id. Moreover, in balancing these competing public interests, the

Court should consider “‘whether there exists some critical public interest that would be injured

by the grant of preliminary relief.’” Id. (quoting California Pharm. Ass'n v. Maxwell–Jolly, 596

F.3d 1098, 1114–15 (9th Cir. 2010)).

       In this case two “critical public interests” would be injured by virtue of granting UBC’s

requested stay: the integrity of Oregon’s water allocation system, and the public interest in

protecting the environment and endangered species. Each of these is discussed in turn, below.

       First, there is a strong public interest in upholding Oregon’s system of prior appropriation

and giving effect to the property rights that have been perfected under that system. The only

rationale provided by UBC in support of their requested stay run directly contrary to this public

interest. UBC essentially ask the Court to give them cover from Oregon’s prior appropriation

system by holding the Project water rights in abeyance and allowing UBC to continue their out-

of-priority water use. The public interest is served by enforcing property rights in water – not by

insulating certain parties from application of these laws to the substantial prejudice of other

parties. Moreover, UBC’s requested stay would not protect the community from the economic



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effects of water shortage or water curtailment due to regulation – it would simply shift those

economic effects from one sector of the community to another.

        As explained above, delaying water rights regulation will cause substantial damages to

the United States and the Project users. UBC seek to impose these substantial damages – up to

$42.16 million over a five year period – while capping their obligation to reimburse the United

States and Project users for all damages that may accrue due to their continued out-of-priority

diversions to a miserly $500 each, totaling just $19,000. UBC’s attempt to profit from continued

unregulated, out-of-priority water use for years to come by having the Court indefinitely stay

Oregon’s system of water allocation, while remaining insulated from the actual damages that will

accrue flies in the face of the public interest.

        Second, protecting habitat for fish, including endangered sucker species, is also in the

public interest. See, e.g., Alliance for the Wild Rockies, 632 F.3d at 1138 (recognizing “the well-

established ‘public interest in preserving nature and avoiding irreparable environmental injury’”)

(citation omitted). Further, when Congress drafted the ESA it intended endangered species to be

given the “highest of priorities,” regardless of the economic implications. Tenn. Valley Auth. v.

Hill, 437 U.S. 153, 174 (1978). Thus, “the public interest tip[s] heavily in favor of endangered

species.” Sierra Club v. Marsh, 816 F.2d 1376, 1383 (9th Cir. 1987) (citing Hill, 437 U.S. at

193-95). Such a clear expression of congressional intent mandates this Court give the public

interest of protecting the endangered species the highest priority.

        The ESA obligates federal agencies to “to afford first priority to the declared national

policy of saving endangered species.” Tenn. Valley Auth. v. Hill, 437 U.S. at 185. Section 7 of

the ESA establishes a consultation process to insure that ‘any action authorized, funded, or

carried out by [a federal ]agency ... is not likely to jeopardize the continued existence of any



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endangered … or threatened species or result in the destruction or adverse modification of

[critical] habitat…” 16 U.S.C. § 1536(a)(2). PCFFA v. Bureau of Reclamation (9th Cir. 2005).

Under the ESA, the Klamath Reclamation Project is prohibited from engaging in any action that

is likely to “jeopardize the continued existence of” an endangered or threatened species or result

in “destruction or adverse modification of [the designated critical habitat].” Id. PCFFA v.

Bureau of Reclamation (DC NDC 2003). Agency action can be enjoined if it is in violation of

the ESA. PCFFA v. Bureau of Reclamation (DC NDC 2002) (citing Thomas v. Peterson, 735

F.2d 754, 764 (9th Cir. 1985), Pacific Rivers Council v. Thomas, 30 F.3d 1050, 1056-1057 (9th

Cir. 1994)). See also Kandra v. United States, (DOR 2001) (Reclamation may release stored

water when required to meet its obligations under the ESA); Klamath Water Users Protective

Association v. Patterson, 204 F.3d 1206, 1212 (9th Cir. 2000) (Reclamation has authority to

manage Link River Dam as necessary to meet its obligations under the ESA).

        Reclamation has an obligation under the ESA to comply with the biological opinions

issued pursuant to Section 7 of that Act. That obligation remains with Reclamation whether

there is a water shortage or not and whether the Project’s senior water rights can be enforced. If

the Project’s water rights cannot be enforced, Reclamation’s ESA obligation will necessarily be

satisfied from a smaller supply of water and Project water users will suffer greater shortages than

if their senior water rights could be enforced. Such a shortage, exacerbated by UBC’s out-of-

priority water use, would also diminish the quantity of water stored in Upper Klamath Lake. A

reduced supply of water in Upper Klamath Lake would affect Reclamation’s ability to meet its

obligations under the ESA and could result in adverse effects to endangered Lost River and

shortnose suckers protected by the ESA.21


21
        See Biological Opinion on the Effects of the Proposed Klamath Project Operations From April 2013
Through March 31, 2023 on Five Federally Threatened and Endangered Species.

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       In sum, UBC have failed to establish that the public interest weighs in favor of granting

the requested stay, and indeed it does not. UBC simply seeks to shift the burden of water

shortages and the consequential economic harm from one part of the community to the other.

UBC’s request that the Court delay water rights regulation so UBC can continue their out-of-

priority diversions and exacerbate shortages of water for use in irrigation in substantial parts of

two states, protection of fish and wildlife habitat on two National Wildlife Refuges, and

propagation of endangered fish species runs directly contrary to the public interest. Finally,

UBC’s parochial interest in being allowed to continue to use water out-of-priority does not

outweigh the public interest in upholding Oregon’s constitutional system of prior appropriation

and protecting endangered species from the very real threat of extinction, especially when courts

and Congress have recognized these as paramount public interests that must be protected.

           5. UBC have failed to establish that they are entitled to the requested stay and
              the Petition must be denied.

       UBC have failed to demonstrate that they are entitled to the stay they seek. UBC have

not shown that they are likely to succeed on the merits of their oft-rejected arguments. In the

absence of UBC establishing likelihood of success on the merits, all indications are that a stay

will, in the end, be nothing more than a court-sanctioned perpetuation of the continued

infringement of the Project’s more senior rights for the duration of these Circuit Court

proceedings. Staying enforcement of the Project water rights would result in enormous

economic hardship on the Project irrigators, diminish crop production and wildlife habitat on the

two Refuges, and threaten protected endangered fish – all contrary to the public interest. The

law is clear; the Court must deny UBC’s requested stay in its entirety.




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       D.    If The Court Considers Issuing A Stay, UBC’s Bond Must Be In An Amount
       Reasonably Calculated To Compensate The United States and The Project Users
       For The Amount Of Water That Will Be Lost To The Project Due To The Stay Of
       Enforcement Of The Project’s Senior Water Rights During The Term Of The Stay.

       In the alternative, if the Court determines that a stay could potentially be issued upon the

filing of a proper bond, the Court must set the bond amount at a sum that would compensate the

United States and the Project users for all damages that may accrue during the term of the stay.

While it is UBC’s burden to establish compliance with ORS 539.180, UBC entirely ducks the

task of assessing potential damages. The statute, however, requires an assessment of damages on

its face. UBC is required to post a bond in such an amount as the court prescribes, conditioned

that the petitioner will “pay all damages that may accrue by reason of the determination not

being enforced.” ORS 539.180 (emphasis added). UBC’s request that the Court reject this

statutory requirement and, instead, issue the requested stay based on Undertakings capped at a

nominal collective sum of $19,000 must be rejected. Under the statute, the amount of the bond

should be set based on the potential damages that may accrue during the period of the stay. In

addition, the stay and the associated security provided must be conditioned with the requirement

that petitioners will pay all damages that may ultimately accrue. Here, UBC meet neither

requirement.

       The analyses of economic damages, presented through the Declarations of Mr. Van E.

Camp, Dr. Richard E. Howitt, and Mr. George Moss Driscoll, are based on methods fully

supported by Oregon law. If the Court considers granting the requested stay, the Court should

determine the bond amount based on this assessment and set the bond at $42.16 million.

                      1.    The bond must be sufficient to compensate the United States
               and the Project users for the loss of their water.




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       As explained in subsection III.A.1, above, a stay may be issued only upon the filing of a

bond or irrevocable letter of credit in the amount the court determines, and conditioned on the

requirement that the staying party will cover “all damages that may accrue by reason of the

determination not being enforced.” ORS 539.180. UBC’s attempt to “nominalize” the bond

amount is untenable and meaningless.

       To determine a reasonable amount of prospective damages, the United States with

KPWU, have employed a valuation measure firmly recognized in Oregon law – the value of the

water rendered unavailable to satisfy the Project water rights due to the stay as determined by

market value and the cost to agricultural production. (This analysis estimates economic losses

based on the market value of water and of irrigated agricultural crops on private lands, and on

Refuge lands which currently are either leased by the Service to farmers or are farmed under

cooperative agreements between the Service and farmers; it does not include the value of lost

habitat to waterfowl, the impacts on waterfowl, or the effect on recreational use on the farmed

Refuge lands.) Conventional remedies or measures of damages like lost market value and

interest are used rather than speculating about, or insisting on proof of, the unknowable details

future events, such measures accommodate the uncertainty of evaluating what will happen in the

future. 1 Dan D. Dobbs, Dobbs Law of Remedies, Damages-Equity-Restitution 31 (2d ed. 1993).

       The market value approach is used as the measure of damages in several directly

comparable situations to that found here. For example, wrongly suffered dispossession of their

property (in that case, real estate), the court concluded that one suffering from an “erroneous

judgment affecting an interest in property” is entitled “to the reasonable rental value of the

property for” the period of dispossession. Shook v. Vonder Haar, 134 Or. App. 170, 175, 894

P.2d 1178, 1181 (1995); accord Lytle v. Payette-Oregon Slope Irr. Dist., 175 Or. 276, 287, 152



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P.2d 934, 939 (1944) (finding that the wrongly disposed debtor should receive the “reasonable

rental value, or the rents, issues and profits of the premises for the period [of dispossession].”).

         This is also true when one reviews two very similar stay statutes. Compare ORS 539.180

(stays pending appeal of a water rights determination) with ORS 19.335 (stays pending appeal of

a real property determination). In both instances a judgment rendered by a lower tribunal is

enforceable -- absent the provision of a stay and appropriate bond while the matter is being

considered by the next tribunal. When real property is the subject of the judgment sought to be

stayed on appeal, ORS 19.335(2) provides that the bond holder “will pay the value of the use and

occupation of the property for the period of possession [while the bond is in place].” In LIG

Investments LLC v. Roach, 215 Or. App. 210, 213,170 P.3d 561, 563 (2007), the Court of

Appeals found that to “pay the value of the use and occupation of the property” under ORS

19.335(2) meant the “fair market rental value of the property.” Similarly, water rights are

property rights and a water right holder denied the use of his enforceable water right is entitled to

the full market value of his water right during the period of deprivation.

         The United States, relying on KPWU’s approach, has thus based its computation of the

appropriate amount of the bond on the value of the water that would be available to the Project in

absence of an injunction on enforcement of the Project’s senior water rights.22 The United States

respectfully submits that, given that the result of the stay is to allow junior water users the use of

water that is, under the FFOD’s determinations, currently subject to the Project’s water rights –

in effect a forced lease of the Project’s water rights to the Upper Basin irrigators – the bond

amount should be no less than the average between the market value of the water and the cost to

agricultural production, a conservative estimate of damages. This is indeed a conservative

22
         As explained in subsection III.A.3., above, UBC’s proposed stay would diminish the yield of the Project’s
water rights based on all of the upstream out-of-priority diversions, not just those of UBC, because UBC’s “selective
call” proposal is contrary to Oregon law and impermissible.

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estimate because under these analyses the market value of water was determined to be higher

than the cost to agricultural production (and thus the average between the two less than the

market value). Utilizing market value makes sense because when the day comes for UBC to

make good on their obligation to pay damages pursuant to ORS 539.180, those damages would

appropriately be based on the market value; otherwise the irrigators will have profited by staying

the Project’s water rights (by paying less than the value of the water they got to use during the

stay). Lytle, 175 Or. at 290, 152 P.2d at 940 (finding that when property is restored after

wrongful dispossession the “reasonable value of [property’s] use” and the “rental value of water”

were proper measures of damages).

       The bond amount should therefore not be less than the $42.16 million sum of: (i) Dr.

Howitt’s calculated damages to Project lands consisting of private lands, the Lower Klamath and

Tule Lake Refuges’ leased lands, and the Tule Lake Refuge’s cooperative farm lands; and (ii)

Mr. Driscoll’s calculated damages to Lower Klamath Refuge’s cooperative farm lands – both of

which analyses were based on the average between market value and the cost to agricultural

production.

              2.       UBC’s errs in asserting that a nominal bond is appropriate.

       In the last one-third of the UBC Memorandum (pages 7-10), UBC make a number of

incorrect legal statements about the Court’s authority to set a bond amount, in a vain attempt to

justify their “nominal” undertaking filed with the Court. UBC’s assertions fail to alter the core

requirement of ORS 539.180 that all damages the enjoined party may accrue during the period of

the stay must be encompassed within the bond. Moreover, as explained below, UBC

substantially misread other pertinent law.




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       In order to provide some legal imprimatur for their proposed “nominal” bond to stay

enforcement of the Project water rights, UBC argue that the Circuit Court has discretion in

setting the amount of the bond under ORS 539.180. UBC Memo 7-8. UBC’s argument is in

error, though, because it ignores the primary purpose of the bond statute, which is to approximate

the damages that would make the wrongfully enjoined water right owner whole. ORS 539.180.

Similar to the adjudication stay bond statute, all the rules that UBC cite also have as their

lodestar the standard that the security must be in an amount that should cover all of the enjoined

party’s anticipated damages. See FRCP 65(c) and ORCP 82.A(1)(a). In a largely diversionary

tactic, UBC string together snippets from cases where particular facts warranted the setting of a

small bond, but as we show below, none of those special circumstances are present here.

       What gets only passing mention in UBC’s homage to judicial discretion to set the bond

amount is that the Court is required to ensure that the bond amount is reasonably sufficient to

compensate and make whole the party whose water rights are stayed. This is true for all the rules

and statues that UBC cite for initially setting the amount of the bond. ORS 539.180 (bond is to

secure petitioner’s obligation to pay “all damages that may accrue by reason of the determination

[FFOD] not being enforced”); ORCP 82.A(1)(a) & (4) (security by the entity seeking the

injunction must be for the likely “costs, damages, and attorney fees as may be incurred or

suffered by any party who is found to have been wrongfully enjoined or restrained”); and FRCP

65(c) (security provided by the moving party must be for the likely “costs and damages sustained

by any party found to have been wrongfully enjoined or restrained”). The discretion the Court

has must be utilized to assess the evidence presented on the question of the appropriate bond

amount, given the relevant standard. Discretion is not some rootless doctrine that absolves UBC

of providing the necessary amount of a bond.



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       UBC next cite several FRCP 65(c) cases that support the unremarkable -- but utterly

inapplicable -- propositions that when “’no evidence’” of damages is presented, no bond should

be required and that “‘speculative’” evidence of damages should be rejected. UBC

Memorandum at 7. Each of the cases UBC cite bears no resemblance to the instant situation. In

the case UBC quotes for the point that no bond can issue when no damages are shown,

Connecticut Gen. Life Ins. Co. v. New Images of Beverly Hills, 321 F.3d 878, 882 (9th Cir.

2003), the enjoined party did not even ask the court to set a bond. Here, to the contrary, the

United States, with KPWU, make a convincing showing in Subsection III.D.4, below, that a

large bond is necessary, given the likely great loss of valuable water during dry periods within

the term of the requested stay. In the second UBC case, the district court found that there was a

“lack of objective evidence of damages” and hence denied the bond request. Language Line

Services, Inc .v Language Services Assoc., Inc., 500 Fed Appx. 678, 682 (9th Cir. 2012). Of

course, here there is an entirely different factual record. The United States and KPWU present

here extensive testimony from well-qualified experts on the amount of water foregone under a

stay and the value of that water. See subsection III.E.4., below.

       UBC next note that in some federal preliminary injunction cases a bond has not been

required, but UBC totally omit that only a limited class of parties might seek the waiver of a

bond under FRCP 65(c), a point that exposes the utter inapplicability of their cited line of cases.

UBC Memo at 7-8. In both cases cited by UBC, the moving party was a non-profit, public

interest, environmental group that invoked citizen enforcement powers under NEPA (National

Environmental Policy Act) and the Clean Water Act, in those limited instances, the court

required no bond or a small one. Cal ex rel. Van DeKamp v. Tahoe Reg’l Planning Agency, 766

F.2d 1319, 1325-26 (9th Cir. 1985) (no bond); Save Our Sonoran, Inc. v. Flowers, 408 F.3d



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1113, 1118, 1126 (9th Cir. 2004) (requiring non-profit environmental group to provide $50,000

bond). Obviously, the ORS 539.180 bond statute has no provision for waiving the bond

requirement or for altering its measure, thus the cited cases have no applicability here. But even

if that were not true, neither UBC nor their stay petition under ORS 539.180 are anything like the

plaintiffs in the cited two cases or the claims they asserted. First, UBC are not a non-profit,

public interest, environmental group; rather they are for-profit ranchers. Second, instead of

trying to enforce specific public laws that Congress allowed individuals to use to promote the

public health and welfare, UBC, like the United States and the Project users, are seeking to

protect their water rights so that they can economically prosper. While UBC may surely seek to

protect their water rights, that does not warrant them an exemption from the requisite bond

requirements.23

         UBC end their argument with a transformation of the Court’s necessary power to

determine the amount of the bond – in light of the evidence presented on the anticipated damages

– into a general power of the Court to eliminate or sharply reduce the size of the bond based on

“equitable factors.” UBC Memo at 8. UBC’s conclusion here is wrong for at least four reasons.

First, UBC’s argument is again unmoored from the plain and unavoidable requirements of ORS

539.180 and the other bond security statutes that they cite, quoted above in the third paragraph of

this subsection, which provide monetary security for the reasonably anticipated damages of the

enjoined party during the course of the stay. Second, none of the federal preliminary injunction


23
          UBC suggest they are unable to post more than a “nominal” bond. This is not a compelling reason to cast
ORS 539.180 aside and put the United States and the Project water users at enormous risk as UBC request. See,
e.g., Alexander v. Primerica Holdings, Inc., 811 F. Supp. 1025 (D.N.J. 1993), an injunction case under FRCP 65(c),
where the plaintiff class of salaried retirees sought to block changes to their benefit packages and claimed they were
indigent and could not afford any bond. The court upheld the straightforward calculation by the company that the
stay would put the company at risk of damages over $7 million, and repeatedly emphasized the importance of the
bond requirement to keep the enjoined party whole as intended by the bond’s rationale. Id. at 1034-38. A similarly
straightforward application of ORS 539.180’s bond requirements is called for here.


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cases UBC have cited provide a general waiver of the bond requirement based on equitable

principles. The few exceptions to, or limitations on, the bond requirement that UBC have

identified are for situations far different from that here (non-profits working to advance the

public interest). Third, any equitable balancing that may occur in the preliminary injunction

setting occurs when the court assesses whether to issue a preliminary injunction, see subsection

III.C.3., above; it does not occur during the bond amount hearing. UBC are improperly mixing

separate processes. Fourth, UBC’s attempt to use the authorization in ORCP 82A(6) to reduce or

eliminate a preliminary injunction bond misses the mark. That provision refers to a limited

procedure to modify a bond that has already been set under ORCP 82A(1) or (4), which provide

for the bond to fully protect the economic interests of an enjoined party. It has no application to

ORS 539.180 or the original determination of the bond.

       UBC’s attempt to evade the central underlying requirement of ORS 539.180, to keep the

enjoined party whole for damages it may suffer during the course of the stay, must be rejected.

Such an interpretation offends the plain reading of the statutory requirement in the adjudication

statute. Further, the bond requirement in ORS 539.180 is similar to other bond requirement

rules. UBC’s purported exceptions to the normal bond requirements bear no weight when

scrutinized. The full measure of expected damages must be encompassed within the bond set

under ORS 539.180.

              3.      UBC cannot avoid the requirement for filing a bond in amount that
               covers expected damages by asserting that the requested stay preserves the
               status quo and there will therefore be no damages or because the calculation
               of damages is uncertain.




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        While the burden of showing compliance with ORS 539.180 lies squarely on petitioners,

UBC entirely duck the question of damages.24 UBC, instead urge the Court to reject the clear

statutory direction that the FFOD is fully enforceable from the date of its entry in OWRD’s

records, see ORS 539.130(4); 539.170; 539.180, and conclude UBC’s continued out-of-priority

use of water constitutes the status quo. See UBC Memo at 1, 2, 4, 9, 11. UBC errs. The status

quo is that the Project water rights are now enforceable. Oregon’s adjudication statutes could not

be more clear on this point. See ORS 539.130(4) (the FFOD “shall be in full force and effect

from the date of its entry in the records” of OWRD); ORS 539.170 (while FFOD is pending in

circuit court, the division of water shall be made in accordance with the FFOD); ORS 539.180 .

Indeed, UBC acknowledge that: “Upon OWRD’s filing of the FFOD with this Court on March 7,

2013, the FFOD became in ‘full force and effect from the date of its entry in the records of the

department, unless and until its operation shall be stayed by a stay bond as provided by ORS

539.180,’” UBC Memo at 3, quoting ORS 539.130(4).

        So too should UBC lose credibility in suggesting that the requested stay will not damage

the United States and the Project users because “[t]hey will enjoy the same water availability

they had before issuance of the FFOD,” See UBC Memo at 9. UBC’s attempt to convince the

Court to ignore the obvious fact that the FFOD is now enforceable is directly contrary to the

statute’s recognition that staying the enforceability of water rights approved by the FFOD may

result in damages “by reason of the determination not being enforced.” ORS 539.180.

        Finally, UBC seek to justify their failure to comply with ORS 539.180 by suggesting that

the determination of damages would be speculative because damages will be affected by

24
          UBC attempts to veil their failure to meet the requirements of ORS 539.180 by suggesting that it is the
burden of the United States and the Project users to establish that the nominal security provided by UBC is
insufficient. See UBC Memo at 8 (Claimants must demonstrate what, if any, damages beyond the nominal amount
of $500 result from the stay); UBC Memo at 11 (it will be difficult for Claimants to meet their burden of
substantiating amount of damages).

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numerous factors affecting the availability and use of water. See UBC Memo at 10-11. The fact

that estimating potential damages over the life of the requested stay is somewhat complicated

and necessarily involves making certain assumptions does not allow UBC to duck the question

by its unsupportable and unbelievable conclusion that damages would be nominal. As explained

immediately below, Mr. Marc E. Van Camp and Dr. Richard E. Howitt took on the task of

estimating potential damages to Project lands by making reasonable assumptions based on

standard engineering and economic practices. In addition, Mr. George Moss Driscoll applied the

Van Camp and Howitt analyses to the Lower Klamath cooperative farm lands employing

reasonable and, indeed, conservative assumptions. The Court should reject UBC’s suggestion

that their requested stay be secured by a nominal sum out of hand and utilize the assessments of

Mr. Van Camp, Dr. Howitt, and Mr. Driscoll in setting the amount of the bond.

              4.       The Van Camp, Howitt and Driscoll Declarations present highly
               credible expert analyses of damages that should be utilized by this Court is
               setting the bond amount.

       As presented by the Declarations of Mr. Van Camp and Dr. Howitt, damages are

appropriately determined based on estimating the loss in the yield of the Project water rights that

will result due to UBC’s continued out-of-priority diversions during the term of the stay, and

determining the economic damage caused by the loss of water to the Project lands. These expert

declarations present highly credible, professional estimates of potential damages to the Project

users. In addition, Mr. Driscoll utilized his professional experience and expertise to apply these

analyses to the Lower Klamath cooperative farm lands and calculate the additional economic

damages from loss of Project water to irrigate those lands. These analyses of the potential

damages that would be caused by the requested stay are the only analyses before the Court and

should be utilized by the Court in prescribing the bond amount.



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         While the amount of damages that will accrue during the term of the stay cannot, of

course, be definitively established, the Court has a fundamental responsibility to set the bond

amount based on the need to reasonably guarantee payment of all potential damages. See

539.180. It is therefore necessary to carry out an assessment of those potential damages, based

on appropriate and necessary assumptions. As explained by Mr. Van Camp:

         The available water supply for diversion under water rights at [the Project’s points
         of diversion] is affected by precipitation and runoff (rain and snowpack /
         snowmelt), Klamath Project operations, and upstream water use. None of these
         factors can be predicted with absolute certainty. However, there are standard
         engineering tools and practices, widely used in the engineering and water
         resources planning fields, that allow for conclusions to be drawn regarding the
         subjects of my declaration, including the impact of water use under junior rights
         on water availability for KPWU.

Van Camp Declaration at 6 ¶ 12.

                a.   Van Camp Analysis of Water Shortage and Amounts That Can Be
                Made Up by Enforcement.

         Rather than avoiding the question as does UBC, Mr. Van Camp makes reasonable

assumptions based on accepted engineering practices and estimates the loss of yield to the

Project lands under a stay of enforcement of the Project water rights. Mr. Van Camp analyzed

the loss of supply to the Project water rights in two broad steps: (i) analysis of the water

shortages to the Klamath Project assuming there is no restriction on upstream uses, Id. at 6-8 ¶¶

13-17; and (ii) determination of the amount of water used under junior water rights that could

become available to the Klamath Project if water rights are regulated in the Basin, Id. at 8-19 ¶¶

18-48.

                                (i)     Analysis of Water Shortage.

         In carrying out this first step of analyzing water shortages to the Project in an unregulated

system, Mr. Van Camp evaluated historical hydrologic conditions, and specifically the quantity



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of inflows to Upper Klamath Lake (UKL). Id. at 6 ¶ 13. Mr. Van Camp utilized Reclamation’s

Water Resources Integrated Modeling System planning model, referred to as the Klamath Project

Planning Model (KBPM), to simulate Klamath Project operations using historic inflows and

demands while imposing current or proposed operating criteria or constraints. Id. at 7 ¶ 14. Mr.

Van Camp simulated water availability with KBPM using variable assumptions as inputs,

including the runoff and inflow to UKL, and operation of Project facilities taking into account

the constraints imposed on Project operations by the ESA.25 Id. at 7 ¶ 15. Mr. Van Camp

identified a five-year historic period that was relatively dry (1990 – 1994) in order to utilize

hydrologic conditions that actually occurred during these consecutive years as a reasonable and

useful planning period for identifying shortage that could realistically occur in an upcoming

period. Id. at 7-8 ¶ 16. Using the KBPM and based on BA operations, Mr. Van Camp identified

water shortages to the Project under hydrologic conditions of the planning period, assuming no

ability to make water right calls, at 67,000 acre-feet, 139,000 acre-feet, 223,000 acre-feet, zero,

and 149,000 acre-feet, over those five consecutive years, resulting in a total shortage of 578,000

acre-feet over that five-year period. Id. at 8 ¶ 17.

                                  (ii)     Analysis of Amounts of Water That Can Be Made Up
                                           By Enforcement.

        Mr. Van Camp then moved to the second step of his analysis, the determination of the

amount of water used under junior water rights that could become available to the Klamath

Project if water rights are regulated in the Basin. In carrying out this part of the analysis, Mr.

Van Camp: (i) identified the upstream junior water right lands, Id. at 9-13 ¶¶ 19-27; and (ii)


25
        More specifically, Mr. Van Camp assumed operations of the Project under the Final Biological
Assessment; The Effects of the Proposed Action to Operate the Klamath Project From April 2013 Through March
31, 2023, on Federally-Listed Threatened and Endangered Species, USBR December 2012. The Biological
Opinions incorporating Project Operations as described in the Final Biological Assessment were issued on May 31,
2013.

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estimated consumptive use of applied surface water, taking into consideration the effects of

natural and sub-irrigation, Id. at 8-19 ¶¶ 18-48. Based on all these analyses, Mr. Van Camp

concluded that a conservative estimate of the quantity of water that would become available to

the Project during the April through October irrigation season if the Project’s water rights were

enforced against upstream junior rights is 90,000 acre-feet per year. Id. at 20-21 ¶¶ -54-55.

Applying this figure to the five years in the representative five-year period, a call by the Project

water rights could mitigate shortages to the Project by 67,000 acre-feet, 90,000 acre-feet, 90,000

acre-feet, zero, and 90,000 acre-feet, over those five consecutive years, resulting in a total

increase in Project deliveries of 337,000 acre feet over that five-year period. Id. at 8 ¶ 17, at 20-

21 ¶ 54. See also Howitt Declaration at 8 ¶ 20.

                       b.     Howitt Analysis of Economic Damages That Will Accrue if
                       Project Water Rights Are Stayed.

       Dr. Richard E. Howitt then analyzed the economic damages that would result to Project

water users by allowing continued out-of-priority water use. In analyzing economic damages,

Dr. Howitt utilized two alternative methods to derive the value of the water that would be lost to

the Project if its water rights were enjoined, including (i) econometric analysis to estimate the

cost to agricultural production, and (ii) statistical analysis of water market data. Howitt

Declaration at 3 ¶ 6.These two economic analysis methods are based on observed data on how

farmers have responded in the past to water reductions and the actual economic decisions they

have made over 16 years. Id. at 4 ¶ 9.

                               (i)     Econometric Approach – Cost to Agricultural
                                       Production.

       The econometric approach for estimating the cost to agricultural production utilizes a

statistical regression based on the time series of crop acreages grown in the areas served by the



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Klamath Project over the years 1993 to 2012. Id. at 4 ¶ 8. Dr. Howitt utilized 16 years of data

on the areas of crops grown within the Project, yields, prices, water deliveries, and precipitation

to estimate the effect of changes in deliveries on changes in crop acreage grown, while isolating

the effects of other factors such as precipitation and revenues. Id. at 4-5 ¶ 10. He developed

regression equations estimate the effect on crop acreage of different annual quantities of surface

water deliveries, annual returns to the crop, and precipitation. Id. at 4 ¶ 8. The statistical

relationship is the basis for calculating the percentage change in the acreage of a given crop for a

percentage change in delivery quantity. Id. The results represent an aggregate measure over all

agricultural water users of the most likely crop acreage response to shortages in deliveries, given

that the physical distribution infrastructure and operating rules used in the past are maintained in

the future. Id. at 4-5 ¶ 10. Dr. Howitt then utilized the returns to land and management (gross

margin) from crop budgets generated by the extension services in Oregon State University and

University of California at Davis to value the call shortage. Id. at 4 ¶ 8. Dr. Howitt multiplied

the predicted change in crop acreage by the returns to land and management (gross margin) to

generate the estimated benefits foregone due to the call shortages. Id. Dr. Howitt then

calculated the expected present value of the annual losses over the five-year period, and

determined the total loss of benefits from foregone crop production to the farmers served by the

Klamath Project as $35.13 million. Id. at 8-9 ¶¶ 20-22.

                               (ii)    Water Market Approach – Value of Water Lost Due to
                                       Non-Enforcement.

       The water market based method utilizes the willingness to be paid to reduce water use by

the water users served by the Klamath Project, as revealed by the bids that individuals offered to

the land idling program of a “water bank” operated by Klamath Water and Power Agency

(KWAPA) in 2010, 2012 and 2013. Id. at 3-4 ¶ 7. This water bank program invites individual


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farmers to enter into agreements to forebear from irrigation, or substitute groundwater use for

surface water, to reduce diversions of water from the Klamath system. Id. at 9 ¶ 24. Dr. Howitt

converted the farmers’ bids to forego irrigation that are based on dollars per acre, to dollars per

acre-foot of consumptive use, by dividing the bid per acre by the consumptive use per acre as

determined in MBK Engineers report titled Summary of the Klamath Project Water Bank

Activities, September 2011, prepared for KWAPA and Reclamation. Id. at 10 ¶ 26. Dr. Howitt

then calculated the quantity of water associated with individual bids by multiplying the number

of acres offered in the bid by the consumptive use per acre. Id. The analysis utilized a total of

531 bids received over the three years: 244 in 2010, 189 in 2012, and 98 in 2013. Id. at 10 ¶ 27.

This data set reveals the price and quantity of water at which different growers were willing to

forego irrigation on their lands in those years and based on this substantial number of

observations on the real willingness of Project farmers to accept payment instead of irrigation

water, and as such, provides a strong database for the production based analysis. Id. From this

data, Dr. Howitt calculated the present value of the annual water losses incurred by Project users

over the five-year period and determined that the total loss is $44.41 million. Id. at 12 ¶ 32.

                               (iii)    Howitt Conclusions as to Damages.

       Dr. Howitt noted that, despite the completely different sets of economic data utilized in

the two approaches, the econometric crop production approach and the water marked based

method result in similar estimated values, i.e., $35.13 million and $44.41 million, respectively.

Id. at 12 ¶ 33. Dr. Howitt then concluded that since both methods are valid approaches, in his

professional opinion, it is appropriate to use the average of the two approaches, i.e., $39.77

millions as the value of losses to the Project lands over this five-year period. Id.

                       c.      Driscoll Analysis of Additional Damages to Refuges.



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       Mr. George Moss Driscoll utilized the analyses of Mr. Van Camp and Dr. Howitt to

calculate the economic damages that would result to the Lower Klamath cooperative farm lands

if the Project water rights were not enforced. Mr. Driscoll carried out his analysis in two steps:

(i) determination of water shortage to Lower Klamath cooperative farm lands that could be made

up by enforcement of the Project water rights; and (ii) calculation of economic damages that

would result by allowing continued out-of-priority water use.

                               (i)    Water Shortage That Can Be Made Up By
                                      Enforcement.

       Mr. Driscoll determined that there are 4,474.4 acres of Lower Klamath cooperative farm

lands irrigated on the Lower Klamath National Wildlife Refuge that receive irrigation water

through the Project when the collective demands of the Project users on Project lands are being

satisfied. Driscoll Declaration at 4 ¶ 8. Mr. Driscoll noted that, if the water shortages to Project

lands are less than the 90,000 acre-feet shortage that can be made up by enforcing the Project

water rights, additional water can be delivered the Lower Klamath cooperative farm lands. Id. at

4-5 ¶¶ 9-10. Mr. Driscoll observed that, for instance, in year one of the five-year dry period

utilized by Mr. Van Camp, the shortage to Project lands was 67,000 acre-feet and that there

would therefore be an ability to call for an additional 23,000 acre-feet. He determined that,

based on the water duty of 3.5 acre-feet per acre adjudicated by the POD, the 4,474.4 acres of

Lower Klamath cooperative farm lands would require 15,660.4 acre-feet. Id. at 5 ¶ 10. Mr.

Driscoll therefore concluded that in a year such as year one of this five year dry period, the entire

water demand of the 4,474.4 acres of Lower Klamath cooperative farm lands could be satisfied

by enforcing the Project water rights. Id. Although the Project’s water rights are satisfied in

year four of the five-year period analyzed by Mr. Van Camp, that analysis did not indicate

whether there would be sufficient water to meet the additional requirements of the Lower


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Klamath cooperative farm lands in such a year. Id. Mr. Driscoll, therefore, did not address those

additional potential damages. Id. at 5-6 ¶ 10.

                               (ii)    Cost of Non-Enforcement to Agricultural Production.

       Mr. Driscoll calculated the economic damage that would result from non-enforcement

relative to the Lower Klamath cooperative farm lands. Id. at 6-8 ¶¶ 11-14. Mr. Driscoll utilized

Dr. Howitt’s analysis based on the econometric crop production approach and the water market

based method. Id. at 6 ¶ 11. Mr. Driscoll determined that, based on Dr. Howitt’s analyses, the

production based value associated with each acre-foot of irrigation water within the Project is

$113.93, and the cost to agricultural production is $191.97 per acre foot of water. Id. at 6-7 ¶ 12.

Mr. Driscoll then calculated that the average damages between Dr. Howitt’s econometric

approach and the water bank statistical approach is $152.95 per acre-foot of water. Id. at 7 ¶ 12.

Finally, Mr. Driscoll multiplied this value of $152.95 per acre-foot by 15,660.4 acre-feet,

resulting in a total damage sum of $2.39 million. Id. at 7 ¶ 13. Mr. Driscoll concluded that this

figure is the estimate of the minimum economic damages that would result to the Lower Klamath

cooperative farm lands from non-enforcement of the Project water rights for the Lower Klamath

Refuge. Id. at 7-8 ¶ 14.

                       d.      Total damages.

       Based on these expert analyses, if the Court considers granting the requested stay, the

Court should determine the bond amount based on these analyses and set the bond based on the

sum of damages to the Project lands, $39.77 million, and to the Lower Klamath cooperative lease

lands, 2.39 million, for a total bond of $42.16 million.

           5.      If UBC are unwilling or unable to post a bond that covers expected
       damages during the term of the requested stay, the Petition must be denied.




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       The ability or willingness of petitioners to cover potential damages cannot drive the

Court’s determination of the amount of the bond the Court should prescribe. See note 21, supra.

Nor does the allegation that enforcement of water rights would threaten the economic livelihood

of some petitioners justify capping petitioners’ liability in direct contravention of the statute. To

the contrary, the tenuous economic viability of petitioners and their alleged inability to continue

their businesses under the prior appropriation system dictates that the Court give keen scrutiny to

ensuring that the amount of the bond covers all potential damages. The United States and

Project users can only be kept whole if the amount of the bond is set at a sum that covers all

potential damages and if the stay and required security is conditioned on the requirement that

petitioners will pay all damages that ultimately accrue.

       If UBC are unable or unwilling to meet the requirements of ORS 539.180 by securing all

the damages that may accrue under the requested stay, the Petition must be denied. If the Court

considers granting the stay, a minimum initial bond of $42.16 million must be required.

IV.    CONCLUSION

       The Petition for Stay must be denied.

       In the alternative, if the Court determines that a stay may potentially be issued upon the

filing of a proper bond, the Court should require UBC Petitioners first file a bond or irrevocable

letter of credit in an initial amount of not less than $42.16 million., such amount subject to

increase for cause, and the stay conditioned on the requirement that Petitioners will pay all

damages that may accrue by reason of the POD not being enforced, with the liability of

Petitioners, including their successors and assigns, being joint and several.




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       Respectfully submitted this 10th day of June, 2013.


By the United States:

Robert G. Dreher
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By Trial Counsel


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 1
                           IN THE CIRCUIT COURT OF THE STATE OF OREGON
 2
                                      FOR THE COUNTY OF KLAMATH
 3
                                                            Case No. WA1300001
 4    IN THE MATTER OF THE WATERS
      OF THE KLAMATH RIVER BASIN
 5                                                          DECLARATION OF RODNEY CHEYNE
                                                            IN SUPPORT OF KLAMATH
 6                                                          IRRIGATION DISTRICT’S MOTION
                                                            FOR PRELIMINARY INJUNCTION
 7

 8

 9

10

11
               I, Rodney Cheyne, hereby declare as follows:
12
               1.         I am a farmer who is a member of the Klamath Irrigation District (“KID”). I have
13
      personal knowledge and am competent to testify to the facts set forth below.
14
               2.         I am a fourth generation independent farmer in the Klamath Basin in Oregon. My
15
      great-grandfather began farming on the acreage my family owns in 1909. I personally own 227
16
      acres of farmland here in the Klamath Basin. Other members of my family own another 80 acres
17
      or so of farmland on top of that that I also farm. We sometimes operate under the “doing
18
      business as” name of Rodney Cheyne Farms.
19
               3.         I run the farm with my father and uncle. I manage the finances for the farm, and
20
      am very familiar with how the business operates, the debt the farm carries, the revenues
21
      generated in a typical year, and the overall financial health of the farm.
22
               4.         I farm hay, grass, wheat, alfalfa, barley, and other grains. Additionally, I have
23
      had a herd of Angus cattle that we have continuously managed since 1936. My herd currently
24
      has about a hundred head of cattle.
25

26


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Page 1 -    DECLARATION OF RODNEY CHEYNE
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 1             5.         Beyond the farming I do on my family’s property, I also farm approximately 700

 2    acres of rented land. I also do custom haying and farming on approximately another 1,000 acres.

 3    In total, I manage approximately 2,000 acres of farmland.

 4             6.         Some of the crops we raise are annual crops, and some are perennial.           In

 5    particular, the grass and alfalfa we grow are multi-year crops. Because of this, water shortages

 6    in a particular year can impact not only year-to-year crops, but crops that require a longer-term

 7    investment and commitment.

 8             7.         The land I farm is irrigated by the Klamath Project.        Under the Klamath

 9    Adjudication, I have an adjudicated right to use 3.5 acre-feet of water per acre over the course of

10    an irrigation season for the acreage I own. The irrigation season usually begins right around

11    April 15, and runs through October 15. I use the water rights I have whenever I am permitted to,

12    and that full amount of water is particularly necessary if the weather is hot and dry or if our cattle

13    are pastured on the fields.

14             8.         Because, in recent years, water availability has been reduced by Reclamation, the

15    financial health of the farm has suffered significantly. Currently, I have only one full-time

16    employee, and I hire no seasonal laborers.           I would hire more employees, but with the

17    uncertainty around water availability, I can’t take the risk of hiring additional employees I might

18    not be able to pay.

19             9.         Farming involves significant up-front costs with long delays before the crops

20    actually result in revenue. I have very substantial and fixed costs that must be paid, regardless of

21    whether I am permitted to irrigate in a given year. These include mortgages on the farmland,

22    servicing debt on my farming equipment, expenses for seed (since most of my planting must

23    occur before I find out whether Reclamation is planning to flush stored water down the river),

24    fertilizer, power, and water.        Fees associated with water include assessments paid to the

25    irrigation districts to maintain canals and drains, which must be kept in working order even if no

26    water flows through them that year.


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 1             10.        In a good year of farming, my farm produces approximately $700,000 to

 2    $800,000 in gross revenue.

 3             11.        I have, however, operated at a net loss in each of the prior several years. These

 4    losses are due to the lack of water available to me. My 2020 taxes showed a loss of $37,862.

 5    My 2019 taxes showed a loss of $65,255. My 2018 taxes showed a loss of $149,702.

 6             12.        My farm has at least $200,000 in fixed costs annually, particularly payments on

 7    mortgages and equipment. This does not include the cost of living for myself, my wife, or my

 8    four children.

 9             13.        Land idling and financial programs help to offset the losses, but they do not

10    resolve the problem and they do not result in the farm turning any type of a profit. For instance,

11    in 2020, I idled 257 acres, and received approximately $185 per acre for idling the land.

12    However, much of the idled land was rented at a price of $200 per acre, meaning I lost money on

13    the rent alone. This is still better than idling the land owned by my farm, which is mortgaged,

14    because the mortgage costs approximately $300 per acre.

15             14.        The financial relief we do receive is not guaranteed, and is nowhere near the value

16    of my water rights. An acre of crops that I grow with that water generates anywhere between

17    $500 and $1,400 in revenue.

18    ///

19    ///

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1
                           TN THE CIRCUIT COURT OF THE STA TE OF OREGON
2
                                       FOR THE COUNTY OF KLAMATH
3
                                                             Case No. WA1300001
4     IN THE MATTER OF THE WATERS
      OF THE KLAMATH RIVER BASIN
5                                                            DECLARATION OF KEN SCHELL IN
                                                             SUPPORT OF KLAMATH IRRIGATION
6                                                            DISTRICT'S MOTION FOR
                                                             PRELIMINARY INJUNCTION
7

 8

 9

10

11
12              I, Ken Schell , hereby declare as follows:

13              1.         I am a farmer who is a member of the Klamath Irrigation District ("KID") . I have

14    personal knowledge and am competent to testify to the facts set forth below.

15              2.         I am the owner and operator of Schell Ranch. I'm a third generation fam1er in the

16    Klamath region. My grandfather started this ranch in 1962. I have been on my ranch for 58

17    years.

18              3.         The ranch we own consists of 110 acres. We also typically rent land to farm on,

19    which has, until recently , included 400 acres of pasture and 300 acres of alfalfa and hay .

20              4.         I predominantly raise hay and cows. My herd historically has been anywhere

21    between 150 to 200 mother cows at a time . The cows calve in the spring, and so I often have

22    more than 200 cows at a time, including the calves. I have had a herd of cows for 50 years now.

23              5.         Because of the water shortages induced by Reclamation, how ever, I am giving up
24    on raising cows entirely. Reclamation sends the stored water that I and others are suppos ed to

25    use down the river for the fish, and that has left us unable to irrigate. Because the pasture land I

26    keep the cows on cannot be irrigated , due to Reclamation flushing our water down the river , I am

      being forced to sell my entire herd. I expect it to be fully liquidated by next January.
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1             6.          For the last twenty years, Klamath farmers such as myself have not known

2    whether we will have wat er, how much water we will have, when we will get the water , or when

3    it will be turned off. It is simply not possible to have a successful farming business or to raise

4    livestock in those conditions.

5              7.         When the pastures can't be irrigated , the cows can't eat. Even when I can find

6    feed for the cows, the water shortages caused by Reclamation in recent years have been so severe

7     that I have been unable to even put water in the ditches to allow the livestock to drink.

8              8.         One of the fields l pastured my cows on had a well , which allowed me to at least

9     get the cows water to drink. Other lands that 1 have rented do not have this. In that situation ,

1O    even if I could find feed for the cows , I would need to truck water in to give them water to drink.

11    It is simply not sustainable.

12             9.         Last year is a good example of the difficulties I have had raising cows . Last year

13    I moved the cows to three different ranches trying to find enough feed for them to survive on.

14    Each time I move the cows , I have to round them up and load them into a trailer , which can only

15    hold 30 to 33 of them at a time. Thus , moving them requires a considerable number of trips and

16    comes at great expense. It is also stressful and difficult on the animals.

17             10.        The added costs that I have because of Reclamation ' s water shortages have raised

18    my cost of raising a calf significantly , up to almost $800 per calf. Since a calf only sells for

19    between $800 and $1,000, and some calves inevitably die during a year , no matter what you do,

20    this cost is too much for my business to bear. Because of that , I am liquidating my herd.

21              11.       I do not want to sell my cow herd off. I have had a herd for 50 years , and love

22    farming cows. However , I am forced to liquidate the herd to avoid going broke.

23              12.       I have a considerable investment in the cows that will be liquidated.          This
24    includes not only the cows themselves, but the equipment to use in connection with them ,

25    including stock trailers, chutes, and other items , all of which I will end up selling .

26              13.       This is not a decision I came to lightly, but it was necessary in light of the water

      shortages that Reclamation has been causing over the past 20 years, which only seem to be
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 1    getting worse. It has been a strnggle to operate this farm, and I can only do it for so long with

 2    the frequent water shortages Reclamation causes.

 3               14.       The problem with the water shortages Reclamation causes aren't new. Things

 4     have been bad enough in the past that I have, at times, had to work a full-time job just to

 5     subsidize the farm. When the water shortages first started, I went and worked on a crew rnnning

 6     an excavator, which I would do from the early mornings through mid-day, and then come home

 7     and farm. I did that for five years.

 8               15.       Even today, my wife works in a dentist's office . Without her income, it would be

 9     difficult for us to get by. The gross revenue from the farm in a good year is between $150,000

10     and $225,000.        But many of the more recent years have not been good years, because of the

11     water shortages caused by Reclamation. Two years ago, I lost $10,000. Last year, I lost between

12     $6,000 and $8,000. This means that the farm is not generating any money for me to live off of.

13     In fact, it isn't even generating enough money to pay for itself.

14               16.       Because I am liquidating half of my business , I can likely make it through three

15     years with Reclamation flushing our stored water down the river and allowing us to use only

16     small amounts before I go under. If Reclamation actually prevents us from irrigating at all, it

17     won't even be that long. And this is only because I'm already in the process of liquidating much
18     of my farm.

19     Il l

20     III

21    Il l
22    Il l
23    Il l
24    Il l

25    Il l

26    Il l

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Page 3 -      DECLARATION OF KEN SCHELL                                                              Rietmann Law P.C.
                                                                                                  1270 Chemeketa St. NE
                                                                                                   Salem, Oregon 97301
                                                                                                       503-551-2740
                                                                                                  nathan @rietmannlaw.com
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  1             17.       Something I would like this court to know is that late starts to the irrigation

  2    season are almost as devastating to hay and grass farmers as no irrigation seasons are. When I

  3    get a late stai1 in irrigating , the grass has mostly gone dormant, and can't easily be woken back

  4    up and convinced to grow again.        I lose all or most of the first cutting, which is usually the

  5    biggest yield. When the yield is cut back that far, there simply isn't a way to make it up that

  6    year.

  7             I declare under penalty of perjury under the laws of the State of Oregon that the foregoing

  8    is true and correct.

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 10                                                          ~0- ~~
                                                              Ken Schell
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Page 4 -    DECLARATION OF KEN SCHELL                                                              Rietmann Law P.C.
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      .-:<141B-:;7:8-;<1+1,-<75)3-=8.7:<0-,)5)/-+)=;-,*A<0-4)+37.?)<-:

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      ;=884A 7. 8:7,=+< <7 5--< <0-1: 6--,; )6, ?0-6  +)667< /:7? +:78; ,=- <7 ) ?)<-: ;07:<)/-

     <0-A+7>-:<0-1:6--,;*A+76<:)+<16/?1<07<0-:;=8841-:;?07+)6/:7?+:78;!6+-F>-47;<

     <07;-+=;<75-:;1<1;,1..1+=4<7:1587;;1*4-<7/-<<0-5*)+3<0-6-@<A-):65A-@8-:1-6+-

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                           . #-+4)5)<176 +:-)<-; ) ?)<-: ;07:<)/- <01; A-):  ?144 *- .7:+-, <7 )<<-58< <7

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      ?)<-:<0:7=/0<0-1:?-44)6,<:)6;87:<1<<75A+:78;.<0)<+)667<7:,7-;67<0)88-6.7:;75-

      :-);76 5A +:78; ?144 ;1584A ,1- 7..  1<0-: ->-6< ?7=4, .=44A ,-84-<- 5A )>)14)*4- +);0

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     )447.5A+);0:-;-:>-;5-)6;<0)<1.<0-:-1;)67<0-:?)<-:;07:<)/-6-@<A-):?7=4,+-:<)164A

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      .16)6+1)4);;1;<)6+-5A*=;16-;;?7=4,*->-:A4=+3<7;=:>1>-<01;A-):)6,)67<0-:A-):?1<0)

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                                                  WA1300001



 1
                           IN THE CIRCUIT COURT OF THE STATE OF OREGON
 2
                                       FOR THE COUNTY OF KLAMATH
 3
                                                            Case No. WA1300001
 4    IN THE MATTER OF THE WATERS
      OF THE KLAMATH RIVER BASIN
 5                                                          DECLARATION OF GENE SOUZA IN
                                                            SUPPORT OF KLAMATH IRRIGATION
 6                                                          DISTRICT’S MOTION FOR
                                                            PRELIMINARY INJUNCTION
 7

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12             I, Gene Souza, hereby declare as follows:

13             1.         I am the executive director of the Klamath Irrigation District (“KID”). I have

14    served as the executive director and district manager of KID, as well as the operations committee

15    chair of the Klamath Water Users Association (“KWUA”), since February 2019, following my

16    retirement from the U.S. Army. I hold a B.A. from the University of Oregon and an M.A. from

17    the American Military University. I have personal knowledge and am competent to testify to the

18    facts set forth below.

19             2.         In my role with KID, I am ultimately responsible for all operational aspects of the

20    District, including district operations, maintenance and use of irrigation works, water delivery,

21    and other affiliated tasks. Because of my global responsibilities for ensuring that irrigators

22    receive their water, I keep close track of and monitor our system on a daily basis. This includes

23    daily references to the measured and estimated inflows into Upper Klamath Lake (“UKL”), as

24    well as outputs through both the A Canal and the Link River Dam.

25             3.         The A Canal is the main diversionary works for irrigation water for KID and other

26    districts to whom it transports water.


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                                                                                                     Rietmann Law P.C.
Page 1 -    DECLARATION OF GENE SOUZA
                                                                                                  1270 Chemeketa St. NE
                                                                                                   Salem, Oregon 97301
                                                                                                       503-551-2740
                                                                                                  nathan@rietmannlaw.com
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 1             4.         The Link River Dam is the dam that impounds water in UKL. It is owned by

 2    Reclamation. Reclamation controls when, how, and how much water is released through the

 3    Link River Dam.

 4             5.         Additionally, because of my responsibilities with KID, I am very knowledgeable

 5    about the Klamath Adjudication, which began in 1975 and was initially completed in 2013. I am

 6    also very familiar with the Amended and Corrected Findings of Fact and Order of Determination

 7    (“ACFFOD”) issued by the Oregon Water Resources Department (“OWRD”) in 2014. Since

 8    2014, the ACFFOD has governed water rights in the Klamath Basin. The ACFFOD is presently

 9    being reviewed by the Klamath County Circuit Court as part of the judicial phase of the Klamath

10    Adjudication.

11             6.         KID delivers water to its own members as well as other landowners and districts

12    outside its own boundaries. In 2020, KID and its constituent members received less than their

13    adjudicated water right permits them to receive over the course of the irrigation season. KID

14    members and the landowners and districts it serves outside its boundaries own water rights that

15    entitle them to use up to 3.5 acre-feet of water per acre per irrigation season. In 2020, the amount

16    of water KID members were actually permitted to use was significantly lower, around 2 acre-feet

17    per acre. Meanwhile, KID was unable to deliver more than 0.25 acre feet of water per acre for

18    many of the lands KID is contractually obligated to serve outside its boundaries, including:

19    10,342 acres of land in Klamath Basin Improvement District, 3,991 acres of land in Shasta View

20    Irrigation District, 2,981 acres of land within Enterprise Irrigation District, 904 acres of land in

21    Pine Grove Irrigation District, as well as other lands in Poe Valley Improvement District,

22    Sunnyside Irrigation District, and numerous individuals to whom KID owes water delivery

23    obligations. The reason these districts/individuals did not receive additional water deliveries,

24    whereas KID lands received some, is the various contractual arrangements between the parties

25    are understood to give KID priority to water delivery in times of shortages. But, as noted above,

26    circumstances in 2020 were so dire, due to the amount of stored water Reclamation unlawfully

      diverted from UKL without a water right contrary to the ACFFOD, that even depriving all of
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Page 2 -    DECLARATION OF GENE SOUZA
                                                                                               1270 Chemeketa St. NE
                                                                                                Salem, Oregon 97301
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 1    these districts and farmers of water delivery did not enable KID to fully satisfy the water rights

 2    demands of its own landowners.

 3             7.         In April 2020, Reclamation orchestrated the release of approximately 32,889 acre-

 4    feet of stored water from UKL in a spring “flushing flow,” purportedly to help improve juvenile

 5    salmon survival rates. No water rights holder requested this release of water. This release was

 6    far in excess of total inflows into UKL at that time of year, and therefore necessarily included the

 7    release of stored water. In total, this release included approximately 30,000 acre-feet of stored

 8    water. However, neither Reclamation nor PacifiCorp have the right to the beneficial use of

 9    stored water in UKL.

10             8.         Although I caused KID as an organization to notify OWRD that this release was

11    not permitted under the ACFFOD, OWRD did not take any action to stop Reclamation from

12    flushing stored water down the river. In fact, Reclamation continued to discharge stored water

13    from UKL throughout the irrigation season, ultimately using approximately additional 90,414

14    acre-feet of stored water for instream purposes without a water right contrary to the ACFFOD.

15    This 123,303 acre-feet of water would have been sufficient to irrigate 45,668 acres of land within

16    KID and the lands outside its boundaries it is contractually obligated to serve.

17             9.         KID ultimately ended up filing suit against OWRD to compel it to act. Although

18    the Marion County Circuit Court found in KID’s favor, to my knowledge, OWRD has yet to take

19    any actions to force Reclamation to stop releasing stored water. In fact, a hearing is set for May

20    on an order to show cause in re: contempt against OWRD for failing to comply with that court’s

21    prior orders.

22             10.        Similar releases of stored water—which were flushed through Link River Dam

23    and down the Klamath River for Reclamation’s purposes, and not based on a request from a

24    water rights holder—also occurred in 2019.

25             11.        The bulk of KID’s water shortages in 2019 and 2020 were due to the release of

26    stored water in UKL through Link River Dam by Reclamation. Significant quantities of stored

      water were released, not to satisfy any water right recognized in the ACFFOD, but simply for
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                                                                                                   Rietmann Law P.C.
Page 3 -    DECLARATION OF GENE SOUZA
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                                                                                                 Salem, Oregon 97301
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 1    Reclamation’s own purposes to protect salmon species. Had the extra stored water not been

 2    flushed down the river and instead released to irrigators, KID’s farmers would largely have been

 3    able to irrigate as normally permitted under their water rights.

 4             12.        In the past, Reclamation has obtained a limited license of water rights in order to

 5    meet its needs to supplement flow levels in the Klamath River. True and correct copies of such

 6    documents granting such limited licenses of water rights are included as Exhibit A and Exhibit

 7    B to this declaration.

 8             13.        Reclamation did not offer in 2020 to purchase or lease water rights held by KID

 9    and its members. Instead, it simply released the stored water it wanted to release down the

10    Klamath River.

11             14.        The 2021 irrigation season will begin in April 2021, and Reclamation is clearly

12    planning to release stored water for instream purposes without purchasing or leasing any water

13    rights again. Documents circulated by Reclamation to Klamath Basin water users concerning the

14    forthcoming water year show a dramatic, temporary rise in Link River flows in April 2021. A

15    true and correct copy of these documents are included at Exhibit C to this declaration. This is

16    intended to reflect the “flushing flow” that Reclamation will release. Since the release will

17    vastly exceed the inflows to UKL, it necessarily includes a release of vast amounts of stored

18    water which should be directed to Klamath Project irrigators, under the ACFFOD.

19             15.        These extremely large spring flows are not released to meet any call from a water

20    rights holder, but are instead released to support Reclamation’s own interests in providing

21    adequate flows for salmon species.

22             16.        Reclamation has indicated in other conversations that we can expect it to continue

23    releasing stored water for its own purposes throughout the 2021 irrigation season.

24             17.        Additionally, at a meeting on March 11, 2021 and at other meetings conducted

25    throughout the spring of 2021, Reclamation officials have made clear that even if OWRD orders

26    Reclamation to stop releasing stored water without a corresponding water right to use that stored


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Page 4 -    DECLARATION OF GENE SOUZA
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 1    water, Reclamation will not comply with that order. As such, the only avenue of relief left to

 2    KID is to seek an injunction from this court.

 3             18.        As part of preparing to sign this declaration, I have reviewed the declarations of

 4    Rodney Cheyne, Justin Grant, Shane Cheyne, Paul Crawford, Andy King, Grant Knoll, and Ken

 5    Schell, all of whom state that they will likely either go under this year, be on the brink of

 6    insolvency, or be forced to liquidate parts of their farm if Reclamation continues to appropriate

 7    water rights unlawfully as it has been doing. This is not surprising to me. I am aware of

 8    numerous farmers among our members who suffer from similar risks of bankruptcy.

 9             I declare under penalty of perjury under the laws of the State of Oregon that the foregoing

10    is true and correct.

11

12                                                             ____________________________________
                                                               Gene Souza
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Page 5 -    DECLARATION OF GENE SOUZA
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                                                                  0043961




                                                                  EXHIBIT A
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                                                                   EXHIBIT A
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                                                                  EXHIBIT A
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                                                                  EXHIBIT A
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                                                                  0043965




                                                                  EXHIBIT A
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                                                                   0038177




                                                                  EXHIBIT B
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                                                                  EXHIBIT B
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                                                                  EXHIBIT B
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                                                                  EXHIBIT B
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    2021 Hydro Outlook
    February 23, 2021




1


                                                                                       EXHIBIT C
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UKL current hydro conditions




2


                                                                                EXHIBIT C
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    NRCS Upper Klamath Basin Snow/Water Report




3


                                                                                      EXHIBIT C
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                              NRCS SWE Chart

as of 2/23/21




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                    Klamath Basin Climate Stations


    as of 2/23/21




5


                                                                                               EXHIBIT C
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             Williamson River Flows




6


                                                                              EXHIBIT C
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             Williamson River Flows
                                       POR Minimum
                                                            WY 2021 Daily
          Date          POR Year          Daily
                                                             Mean (CFS)
                                        Mean (CFS)
          10/31             1995             514                513

           11/9             1938             520                517

          11/10             1938             531                518
          11/11             1995             532                517

          11/12             1937             537                514
          11/26             1995             540                526
          11/30             2005             524                516

           12/1             1937             525                517
           12/2             1934             549                509
           12/3             1937             543                520

           12/4             1937             520                518
          12/29             1991             520                500
           1/24             1937             543                543

           1/26             1949             540                528
           1/27             1933             537                497
           2/1              1933             549                545

           2/8              1933             549                541

           2/20             1933             555                555
7          2/21             1932             561                556

                                                                              EXHIBIT C
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                             UKL Cumulative Net Inflow
                               Oct 1 – Feb 22 POR & WY2021
    as of 2/23/21
                           Cumulative UKL Net                                Cumulative UKL Net
           WY                                                 WY
                              Inflow (TAF)                                      Inflow (TAF)
           2021                  350.002                      1995                477.803
           1992                  356.788                      2003                477.954
           1991                  375.983                      1981                489.794
           1994                  381.860                      2015                503.977
           2014                  393.090                      2002                520.656
           2020                  401.075                      2007                522.718
           2005                  408.592                      1988                525.827
           1993                  411.928                      2011                540.348
           2019                  413.819                      1987                570.340
                                                              2017                599.848
           2018                  416.980
                                                              2000                623.304
           2010                  428.035
                                                              1998                649.394
           2012                  435.690
                                                              1985                696.014
           2001                  454.756
                                                              1983                696.599
           2009                  455.011
                                                              1999                705.910
           2013                  458.963
                                                              1986                716.991
           1989                  459.192
                                                              2006                770.784
           2008                  459.383                      1996                780.029
           1990                  461.818                      1984                797.972
           2004                  462.024                      1982                810.775
           2016                  475.786                      1997                1019.652



8


                                                                                                  EXHIBIT C
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    as of 2/23/21




9


                                                                                              EXHIBIT C
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     as of 2/23/21




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 Forecasted 2021 hydro conditions




11


                                                                                 EXHIBIT C
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     2021 NRCS Upper Klamath Lake Water Supply Forecast




     Mid‐month forecast are unofficial and not used in water supply allocation calculations




12


                                                                                              EXHIBIT C
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                         2021 Water Supply Outlook
                           UKL Supply, EWA, Project Supply
                                    NRCS Feb 1
     as of 2/23/21

     TAF

     Exceedance                                30%                     50%                  70%
     NRCS Mar-Sep
                                                480                     390                 300
     Forecast*
     UKL Supply                                 604                     518                 432

     EWA                                        400                     400                 400

     Total Augmentation                          40                       0                     0
     Project Supply                             181                     118                     32
     *NRCS forecast issuance date: February 3, 2021




                          These projections are provisional and subject to change
13


                                                                                                     EXHIBIT C
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                         2021 Water Supply Outlook
                           UKL Supply, EWA, Project Supply
                             NRCS February Mid-Month
     as of 2/23/21

     TAF

     Exceedance                                30%                     50%                  70%
     NRCS Mar-Sep
                                                520                     430                 335
     Forecast*
     UKL Supply                                 642                     556                 468

     EWA                                        400                     400                 400

     Total Augmentation                         43.7                     40                     0
     Project Supply                             217                     133                     68
     *NRCS forecast issuance date: February 15, 2021




                          These projections are provisional and subject to change
14


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                             UKL Elevation
      2021 NRCS Feb 1 30%, 50% & 70% Exceedances
                  Operational Default




               These projections are provisional and subject to change
15


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                           Iron Gate Flow
      2021 NRCS Feb 1 30%, 50% & 70% Exceedances




               These projections are provisional and subject to change
16


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                               UKL Elevation
     2021 NRCS Mid-February 30%, 50% & 70% Exceedances
                     Operational Default




                 These projections are provisional and subject to change
17


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                            Iron Gate Flow
     2021 NRCS Mid-February 30%, 50% & 70% Exceedances




                 These projections are provisional and subject to change
18


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                                                  UKL Elevation
                            2021 NRCS Feb 1 50% & 70% Inflow Exceedance
                                         UKL Optimization

     • Delayed Project start date to June 1                        •PC Borrow/Payback
     • Flushing flow removed                                              •Total borrow = 15 TAF in March
     • IGD miminums reduced by 200 cfs/day in March                       •Total payback = 15 TAF during June - August




                                  These projections are provisional and subject to change
19


                                                                                                                         EXHIBIT C
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                         Iron Gate Flows
           2021 NRCS Feb 1 50% & 70% Exceedance
                     UKL Optimization




               These projections are provisional and subject to change
20


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                                                UKL Elevation
                      2021 NRCS Mid-February 50% & 70% Exceedance
                                    UKL Optimization
     • Delayed Project start date to June 1                            •PC Borrow/Payback
     • Flushing flow removed                                                  •Total borrow = 15 TAF in March
     • IGD miminums reduced by 200 cfs/day in March                           •Total payback = 15 TAF during June - August




                                  These projections are provisional and subject to change
21


                                                                                                                       EXHIBIT C
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                         Iron Gate Flows
     2021 NRCS Mid-February 50% & 70% Exceedance
                   UKL Optimization




               These projections are provisional and subject to change
22


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                                                    UKL Elevation
                                 2021 NRCS Feb 1 50% & 70% Exceedance
                                          River Optimization
     • Delayed Project start date to June 1                                   •PC Borrow/Payback
     • Flushing flow triggered on April 15                                           •Total borrow = 15 TAF in April into May
     • Flushing flow daily volumes maximized based on max LRD                        •Total payback = 15 TAF during June - August
       releases




                                      These projections are provisional and subject to change
23


                                                                                                                          EXHIBIT C
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                         Iron Gate Flows
           2021 NRCS Feb 1 50% & 70% Exceedance
                    River Optimization




               These projections are provisional and subject to change

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                                                     UKL Elevation
                           2021 NRCS Mid-February 50% & 70% Exceedance
                                        River Optimization
     • Delayed Project start date to June 1                                  •PC Borrow/Payback
     • Flushing flow triggered on April 15                                          •Total borrow = 15 TAF in April into May
     • Flushing flow daily volumes maximized based on max LRD releases              •Total payback = 15 TAF during June - August




                                       These projections are provisional and subject to change
25


                                                                                                                            EXHIBIT C
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                         Iron Gate Flows
     2021 NRCS Mid-February 50% & 70% Exceedance
                  River Optimization




               These projections are provisional and subject to change
26


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                                              WA1300001



 1
                         IN THE CIRCUIT COURT OF THE STATE OF OREGON
 2

 3                                  FOR THE COUNTY OF KLAMATH

 4      In the Matter of the Determination of the Relative Rights of the Waters of the Klamath River,
                                      A Tributary of the Pacific Ocean
 5

 6
      In Re: WATERS OF THE KLAMATH RIVER Case No. WA1300001
 7    BASIN.
                                         NOTICE OF APPEARANCE OF COUNSEL
 8                                       AND SUBSTITUTION OF COUNSEL FOR
                                         KLAMATH IRRIGATION DISTRICT
 9

10

11

12

13
      A.     NOTICE OF APPEARANCE OF COUNSEL FOR KLAMATH IRRIGATION
14           DISTRICT
15           Notice is hereby provided to the Court and parties that the following attorneys hereby
16
      appear for Klamath Irrigation District in Case No. WA1300001. Contact information for notice,
17
      service, and otherwise is listed below:
18

19           RIETMANN LAW, P.C.
20           Nathan R. Rietmann (OSB #053630)
             1270 Chemeketa Street NE
21           Salem, OR 97301
             Phone: (503) 551-2740
22           Email: nathan@rietmannlaw.com
23
                             DATED this 29th day of March, 2021
24

25

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     Page 1 – NOTICE OF APPEARANCE OF COUNSEL
            COUNSEL FOR KLAMATH IRRIGATION DISTRICT                                        Rietmann Law P.C.
                                                                                         1270 Chemeketa St. NE
                                                                                          Salem, Oregon 97301
                                                                                              503-551-2740
                                                                                        nathan@rietmannlaw.com
           Case 1:21-cv-00504-AA   Document 1-1   Filed 04/05/21   Page 291 of 292




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2                                                 RIETMANN LAW, P.C.

3
                                                  s/ Nathan R. Rietmann
4                                                 _______________________________
                                                  Nathan R. Rietmann, (OSB #053630)
5
                                                  Attorney
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     Page 2 – NOTICE OF APPEARANCE OF COUNSEL
           COUNSEL FOR KLAMATH IRRIGATION DISTRICT                            Rietmann Law P.C.
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                                                                             Salem, Oregon 97301
                                                                                 503-551-2740
                                                                           nathan@rietmannlaw.com
             Case 1:21-cv-00504-AA           Document 1-1         Filed 04/05/21      Page 292 of 292



                                        CERTIFICATE OF SERVICE
1

2             On March 30, 2021, I caused to be served a true and correct copy of NOTICE OF
3     APPEARANCE OF COUNSEL FOR KLAMATH IRRIGATION DISTRICT to be served using the
4     Oregon Judicial Department Odyssey File and Serve system for service to the electronic service
5     contacts registered in this case at the email addresses as recorded on the date of service in the eFiling
6     system, and by first class mail on those listed on the current service list at the postal addresses provided
7     by the Klamath County Circuit Court.
8
      DATED: March 29, 2021                            RIETMANN LAW P.C.
9
                                                       s/Nathan R. Rietmann
10
                                                       Nathan R. Rietmann, OSB #053630
11                                                     1270 Chemeketa St. NE
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     Page 3 – NOTICE OF APPEARANCE OF COUNSEL
            COUNSEL FOR KLAMATH IRRIGATION DISTRICT                                                  Rietmann Law P.C.
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